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       1         IN THE UNITED STATES DISTRICT COURT
       2       FOR THE WESTERN DISTRICT OF LOUISIANA
       3                     MONROE DIVISION
       4                        ---o0o---
       5
       6
            STATE OF MISSOURI, et al.,                  )
       7                                                )
                                  Plaintiff,            )
       8                                                )
                      vs.                               )   Case No.
       9                                                )   3:22-cv-01213
            JOSEPH R. BIDEN, JUNIOR, et                 )   -TAD-KDM
      10    al.,                                        )
                                                        )
      11                          Defendants.           )
                                                        )
      12
      13
      14
      15                        ---o0o---
      16              TUESDAY, NOVEMBER 29, 2022
      17     ZOOM VIDEOTAPED DEPOSITION OF ELVIS CHAN
      18                        ---o0o---
      19
      20
      21
      22
      23
      24    REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR
      25



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       1                   A P P E A R A N C E S
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       1                       A P P E A R A N C E S
       2                               ---o0o---
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      12                Analysis of Social Media Companies
                        And U.S. Government Efforts to
      13                Combat Russian Influence Campaigns
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      14                Elvis M. Chan Dated September 2021
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            2           Email Correspondence, First Email             287
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            6           Defendants' Amended Combined                  169
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      22                Transcript Dated October 28
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            23          Email Correspondence, First Email             196
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       1        REMOTE VIA ZOOM, CALIFORNIA, NOVEMBER 29, 2022
       2                               ---o0o---
       3                BE IT REMEMBERED that on Tuesday, the 29th
       4    day of November 2022, commencing at the hour of
       5    9:07 a.m. thereof, remotely via Zoom, California,
       6    before me, Balinda Dunlap, a Certified Shorthand
       7    Reporter in and for the County of San Francisco,
       8    State of California, remotely appeared:
       9                THE VIDEOGRAPHER:       Okay.    Good morning,
      10    everyone.      We are on the record.        Today's date is
      11    November 28 -- I'm sorry, 29th, 2022.             The time is
      12    9:07 a.m.
      13                This is the video-recorded deposition of
      14    Elvis Chan in the matter of State of Missouri
      15    versus Joseph R. Biden, filed in U.S. District
      16    Court for the Western District of Louisiana, Monroe
      17    Division.
      18                This deposition is being held at the U.S.
      19    Attorney's Office, Northern District of California,
      20    in San Francisco.
      21                The reporter's name is Balinda Dunlap.            My
      22    name is Ruslan Gurzhiy.         I am the legal
      23    videographer.      We are here with Lexitas Legal.
      24                Will the attorneys present please
      25    introduce themselves and the parties they



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       1    represent.
       2                MR. SAUER:     John Sauer on behalf of the
       3    Missouri Attorney General's Office and State of
       4    Missouri.       I am joined by my colleagues Ken Capps
       5    and Todd Scott, as well as John Burns and Jenin
       6    Younes on behalf of private plaintiffs.
       7                MR. SUR:    I am Indraneel; my last name is
       8    Sur, S-u-r.      I'm at the Phoenix Department of
       9    Justice, Civil Division, Federal Programs Branch,
      10    representing the defendants in this matter.
      11                    (Discussion off the record.)
      12                THE VIDEOGRAPHER:       Okay.    Any feedback
      13    now?    Okay.    Somebody hold this.        Please continue.
      14                MR. SUR:    I am Indraneel; my last name is
      15    Sur, S-u-r.      I am at the United States Department
      16    of Justice, Civil Division, Federal Programs
      17    Branch; and we are representing the defendants
      18    today, and some of my colleagues are as well.
      19                MR. BERGER:     Okay.    I am just announcing
      20    myself.     I don't know if I am out of order, though.
      21    Berger, Lawrence Berger.         I represent Elvis Chan.
      22                    (Discussion off the record.)
      23    //
      24    //
      25    //



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       1                               ELVIS CHAN
       2                called as a witness by the Plaintiff,
       3    having been sworn to tell the truth, the whole
       4    truth, and nothing but the truth, was examined and
       5    testified as follows:
       6                     EXAMINATION BY MR. SAUER
       7         Q.     Would you please state your name for the
       8    record.
       9         A.     My name is Elvis Chan, E-l-v-i-s, C-h-a-n.
      10         Q.     And what's your occupation, sir?
      11         A.     My title is the Assistant Special Agent in
      12    Charge of the Cyber Branch for San Francisco
      13    Division of the Federal Bureau of Investigation.
      14         Q.     How long have you worked for the San
      15    Francisco Division of the FBI?
      16         A.     I have worked for the FBI for over 17
      17    years.
      18         Q.     Have you been in San Francisco the whole
      19    time?
      20         A.     Minus three years at headquarters.
      21         Q.     Was that in Washington, D.C.?
      22         A.     Yes.   From 2011 to 2014.
      23         Q.     Have you ever given a deposition before?
      24         A.     No, I have not.
      25         Q.     Is this your first deposition?



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       1         A.     Yes.   This is my first civil deposition.
       2         Q.     How about criminal depositions?
       3         A.     I have not given criminal depositions
       4    before.
       5         Q.     Can I just go over a few kind of common
       6    ground rules with you?
       7                First of all, as I'm asking the questions
       8    today, can you listen carefully to the question
       9    that I'm asking and answer the question that I ask?
      10    Can you do that?
      11         A.     Yes.
      12         Q.     And if you don't understand the question,
      13    could you please ask me for clarification instead
      14    of guessing at what my meaning might be in
      15    responding to a question that you're not sure is
      16    what I'm asking?       Can you do that?
      17         A.     Yes.
      18         Q.     And can you and I be careful not to
      19    interrupt each other, just because that makes the
      20    record unclear and life difficult for the court
      21    reporter?
      22         A.     Yes.
      23         Q.     Also, could you be careful to respond with
      24    actual oral responses, not with head-shakes and
      25    "huh-uhs" and "uh-huhs" and things like that, just



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        1    so that the record's clear?          For example, "yes" and
        2    "no," not "uh-huh" and not nodding or shaking the
        3    heads; can you do that?
        4         A.    Yes.
        5         Q.    And in addition, let's both -- I think we
        6    both are fast talkers, especially me.            Can we both
        7    make an effort to talk slowly enough today so that
        8    the court reporter has a chance to take down what
        9    we're saying?
      10          A.    Yes.
      11          Q.    Can you describe your educational
      12     background?
      13          A.    I graduated from the University of
      14     Washington with a bachelor of science degree in
      15     chemical engineering and chemistry, and then I
      16     graduated from the Naval Postgraduate School with a
      17     master of arts in homeland security studies.
      18          Q.    When did you graduate from the Naval
      19     Postgraduate School?
      20          A.    Last year, 2021, in September.
      21          Q.    Oh, and you got a -- did you say you got
      22     an MA there?
      23          A.    Yes.
      24          Q.    Did you do a thesis in connection with
      25     that -- that degree?



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        1         A.    Yes, I did.
        2         Q.    What was the title of the thesis?
        3         A.    "Fighting Bears and Trolls:"          Russian
        4    disinformation against the 2020 elections and the
        5    social media companies and U.S. government
        6    countermeasures.
        7         Q.    I am showing you a document previously
        8    marked as Exhibit 1.        Is this, in fact, a copy of
        9    that thesis?
      10                    (Reporter marked Exhibit No. 1 for
      11                     identification.)
      12                THE WITNESS:      Yes, that is a copy of that
      13     thesis.
      14          Q.    BY MR. SAUER:      Okay.    You are listed as
      15     the sole author there on the first page?
      16          A.    That is correct.
      17          Q.    Okay.    And again, as you've noted earlier,
      18     this is, I think, dated just over a year ago,
      19     September of 2021, correct?
      20          A.    That is correct.
      21          Q.    Can I just -- can you kind of generally
      22     characterize what this thesis is about?             You know,
      23     what's the topic?       What are you investigating,
      24     researching or defending?
      25                MR. SUR:     Objection; compound.



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        1         Q.    BY MR. SAUER:      You may answer.
        2         A.    Okay.    So my thesis, the synopsis of it is
        3    I examined Russian malign-influence activities,
        4    specifically on social media platforms, ahead of
        5    and during the 2020 elections.          And then I examined
        6    the actions taken by three social media companies;
        7    specifically Google; Meta, which was previously
        8    Facebook; and Twitter; and then I also examined the
        9    U.S. government's countermeasures against Russian
      10     actions.
      11          Q.    When you say "Google," do they operate
      12     YouTube?
      13          A.    Yes, they do.
      14          Q.    So your reference to Google would
      15     encompass YouTube; investigating, you know, these
      16     kinds of issues on YouTube as well?
      17          A.    That is correct.       And if I may add, when I
      18     reference Meta or Facebook, I mean all of the
      19     Meta-associated products, which include Facebook,
      20     Instagram and WhatsApp.
      21          Q.    Would that include Nextdoor too?
      22          A.    It would not include Nextdoor.
      23          Q.    Is that is not a Meta app?
      24          A.    It is not a Meta-owned company.
      25          Q.    Okay.    You referred to, I think, Russian



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        1    malign-influence activities.          Can you describe what
        2    -- what does that mean?
        3         A.    So there are -- in my thesis, there are --
        4    there's a description of two types of Russian
        5    malign-influence activities.          I am specifically
        6    talking about online activities.
        7               The first type of activity is what is
        8    known generally as a hack-and-dump activity.              I
        9    think the best example I would have of that is the
      10     hack of the Democratic National Committee and the
      11     DCCC, the Democratic Congressional Campaign
      12     Committee, in 2016; hacking of their servers; and
      13     then the leaking or dumping of their information on
      14     the Internet over the course of the 2016 election
      15     season.    That is one type of Russian malign
      16     influence, but I do not focus on that in the
      17     thesis.    I do reference it.
      18                The second type of Russian malign
      19     influence that I discuss in the thesis itself is on
      20     the social media platforms and on fake news
      21     websites that the Russians have created.
      22          Q.    And is there a connection between those?
      23     Like, the fake news sites, do those get, you know,
      24     boosted up to social media platforms by the
      25     Russians?



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        1         A.     Yes.   From my thesis, I was able to
        2    determine that the social media platforms were used
        3    to direct viewers from the social media platforms
        4    to the fake news sites being controlled by Russian
        5    state-sponsored actors.
        6         Q.     And those viewers, I take it, would
        7    include American citizens who were being
        8    principally targeted by these activities?
        9                MR. SUR:    Objection; vague.
      10          Q.     BY MR. SAUER:     Were they --
      11          A.    I am not sure, but it would be -- I'm not
      12     sure of who the viewers would be, but whoever would
      13     look at the fake Russian accounts and click on the
      14     link or be directed to the website.            But I do not
      15     know who the specific users are.
      16          Q.     Does your thesis have evidence that people
      17     actually did that?       In other words, that people
      18     actually clicked through and accessed the Russian
      19     fake news sites?
      20                MR. SUR:     Objection; compound.
      21                THE WITNESS:      So my thesis -- my thesis
      22     was based on the report of both the social media
      23     companies as well as third parties, such as
      24     Graphika.      So I relied on their analysis of the
      25     direct data.



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        1         Q.    BY MR. SAUER:      Did their analysis indicate
        2    that there had been, in fact, that kind of
        3    engagement of viewers of the social media accounts
        4    to go through to the fake news sites?
        5         A.    From both the social media company
        6    standpoint, the answer is yes; but in general, I
        7    was told that it was a, quote/quote, low
        8    engagement, from what they could tell.
        9               And then from the third-party reports,
      10     they did not characterize it as much.            They said
      11     that they believed that viewers could be directed,
      12     but they did not say who the amount were or the
      13     percentage of any of those viewers.
      14          Q.    And did your research indicate a higher
      15     level of engagement with the kind of fake social
      16     media accounts operated by the Russians than the
      17     fake news websites?
      18          A.    Yes.    In general, yes.
      19          Q.    Let me ask this:       You referred a minute
      20     ago to U.S. government countermeasures, I believe.
      21     Can you describe, just generally, what sort of U.S.
      22     government countermeasures do you discuss in the
      23     thesis?
      24          A.    So there were three U.S. government
      25     countermeasures that I discussed in the thesis.



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        1    Number one was an initiative that the FBI took
        2    called the Protected Voices Initiative.             That was
        3    actually focused on hack-and-dump operations.              And
        4    the Protected Voices Initiative was cybersecurity
        5    briefings and awareness training provided for all
        6    the national-level political committees, such as
        7    the RNC, the DNC, the RSCC, the DCCC.            Briefings
        8    were provided by our Washington field office.
        9               And then briefings were also provided to
      10     the vast majority of the presidential candidates
      11     for the 2020 election season.          I think there were
      12     approximately two dozen of those presidential
      13     candidates that were provided -- them and their
      14     senior staff were provided cybersecurity briefings.
      15     That was one of the measures that was taken.
      16                A second measure that was taken was the
      17     information sharing with the private sector
      18     companies, where we shared both strategic-level
      19     information as well as tactical information.
      20                And then the third -- the third measure I
      21     think I mentioned in the thesis was that -- the
      22     CISA Act, the formation of the Cybersecurity and
      23     Information Security Agency in 2018 and their
      24     ability to provide state, county and local election
      25     officials with both grants, federal grants to



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        1    improve their infrastructure as well as with
        2    cybersecurity training.
        3         Q.    Okay.    That was -- you said a lot there,
        4    and I just want to ask you a few follow-up
        5    questions to kind of unpack it.
        6               I think you said the second U.S.
        7    government countermeasure was information sharing;
        8    is that right?
        9         A.    That's correct.
      10          Q.    What is a --
      11          A.    I might have the order incorrect.           I
      12     haven't looked in my thesis since over a year, but
      13     yeah.
      14          Q.    Well, let me ask you this:          Information
      15     sharing, you know, is that information sharing
      16     between federal agencies and social media
      17     platforms?
      18          A.    That is information sharing between the
      19     FBI and the -- in the thesis I focus on the three
      20     social media companies.
      21          Q.    So -- so specifically your thesis focuses
      22     on information sharing between the FBI and
      23     basically Facebook, Google and Twitter, right?
      24          A.    That is correct.
      25          Q.    Yeah.    Is there other information sharing



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        1    that happened by other federal agencies on issues
        2    that relate to this?
        3               MR. SUR:     Objection; lacks foundation,
        4    vague.
        5         Q.    BY MR. SAUER:      If you know.
        6         A.    I am generally aware that other federal
        7    agencies want to do private sector engagement, but
        8    I am not familiar with the frequency of the
        9    information sharing or the type of information
      10     sharing.
      11          Q.    Do you know which other federal agencies
      12     do that?
      13                MR. SUR:     Objection; vague, lacks
      14     foundation.
      15                THE WITNESS:      I have been -- I am aware
      16     specifically that CISA, the Cybersecurity and
      17     Infrastructure Security Agency, does information
      18     sharing in terms of elections with the social media
      19     companies.
      20          Q.    BY MR. SAUER:      To the extent you know,
      21     what kind of information sharing do they do?
      22          A.    All of the information that I have
      23     personally witnessed comes through what CISA has
      24     called the "industry working group."            That includes
      25     the three social media companies I mentioned.              And



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        1    the type of information that they have shared is
        2    generally about when the primaries for each state
        3    happen and then to highlight anything that they
        4    believe is a -- unique or different from
        5    standard -- or from what is considered normal.
        6                For example, like an Iowa caucus is not a
        7    normal type of primary.        Most states do not run
        8    caucuses, so they will highlight something like an
        9    Iowa caucus.     They will also highlight the election
      10     methods that are used in different states, whether
      11     it be a paper ballot or an electronic device, like
      12     a touch-screen device.
      13          Q.     That industry working group, do you
      14     personally participate in that?
      15          A.    I have participated in several of them.
      16          Q.     How often do they occur?
      17          A.    For the year 2020, I think for the first
      18     half of the year they occurred quarterly.             So I
      19     think, you know, every three months.
      20                And then for the last half of the year, I
      21     want to say around the June, July time frame, it
      22     moved to monthly.
      23          Q.     How about in 2022?
      24          A.    In 2022 I believe they were about the
      25     same.     It happened quarterly.       And then I believe



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        1    ahead of the midterm elections they moved to
        2    monthly; except due to my conflicting schedule, I
        3    believe I was only able to attend about three of
        4    the meetings this year.
        5         Q.    When you say "attend," are these all done,
        6    you know, by Zoom?       Or are there -- is there a big
        7    kind of in-person meeting?
        8         A.    And I have attended via videoconference,
        9    and it's not Zoom.       It's typically whatever the
      10     private sector companies want to use.            So I have
      11     seen Cisco Webex or BlueJeans.          Those are the two I
      12     remember.
      13          Q.    Do a lot of companies participate in these
      14     meetings?
      15          A.    Yes.    Several companies participate in
      16     these meetings.
      17          Q.    Okay.    But which ones, do you recall?
      18          A.    I do -- I do recall.        I don't know if
      19     that's law enforcement sensitive or not.             I don't
      20     know if the companies want to be disclosed.
      21          Q.    Please tell us on the record what
      22     companies participated.
      23          A.    Meta --
      24                MR. BERGER:      Yeah, Elvis, is this -- is it
      25     classified or protected?         How do you -- what's your



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        1    understanding of the classification of this
        2    information?
        3               THE WITNESS:      My understanding is that
        4    this is -- that this is sensitive information and
        5    that the --
        6               MR. BERGER:      All right.      I'll direct
        7    you -- I'll direct you not to disclose it.             We'll
        8    have to take it to the judge.
        9               MR. SAUER:     Okay.    Is this a -- okay.       You
      10     realize the government has already disclosed that
      11     information in interrogatories for this case.
      12                    (Discussion off the record.)
      13                MR. SAUER:     You realize this information
      14     has already been disclosed by the government in
      15     their interrogatory responses in this case.
      16                And in addition to that, there is no
      17     privilege of law enforcement sensitive.             There is a
      18     law enforcement investigative files privilege that
      19     is clearly inapplicable here.
      20                And also, are both counsel going to
      21     instruct the witness not to answer questions here?
      22                MR. BERGER:      Well, if it's already been
      23     disclosed in interrogatories, why don't you ask him
      24     based on -- you know, give him the names that have
      25     already disclosed.



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        1               MR. SAUER:     I'd like to cross-verify the
        2    information I got from the government from someone
        3    who personally participated in the meetings, and
        4    I'm entitled to do that.
        5               MR. SUR:     Counsel, if I may, I -- do you
        6    think it would be helpful to have a break at this
        7    point to sort this out?
        8               MR. SAUER:     Yeah.    We can go off the
        9    record.
      10                MR. SUR:     Okay.
      11                MR. SAUER:     Okay.
      12                THE VIDEOGRAPHER:       Off the record -- off
      13     the record at 9:27 a.m.
      14                    (Whereupon a recess was taken.)
      15                THE VIDEOGRAPHER:       We are back on the
      16     record at 9:37 a.m.
      17                MR. SAUER:     So, Counsel, where are we?
      18     Are you standing on that objection?
      19                MR. BERGER:      I withdraw the objection.         Go
      20     ahead.
      21                MR. SAUER:     Yeah.    Thank you.     As a
      22     process point, I am requesting that one attorney
      23     make the objections and represent him in this
      24     deposition, not two.        Now, I have no problem if
      25     Mr. Berger wants to flag something for Mr. Sur.



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        1    But I understand that Mr. Sur is defending the
        2    deposition, not Mr. Berger.          So if you've got an
        3    issue, I don't mind if you guys want to talk about
        4    it, but I don't want to have multiple -- multiple
        5    attorneys objecting and instructions being started.
        6    Can we proceed on that basis from now on?
        7               MR. SUR:     We intend to do so.       There my be
        8    some exceptional circumstances that warrant a
        9    different approach, but that's how we expect to
      10     proceed.
      11                MR. SAUER:     I am fine to hear that.         You
      12     know, if things come up that raise an issue, you
      13     know, we can -- we can raise them.           But, yeah,
      14     anyway, all right.       I mean, to be clear, you know,
      15     any law enforcement privilege is held by the
      16     government, not by Mr. Chan's personal capacity,
      17     and Mr. Sur is the one who is there to represent
      18     the government today.
      19          Q.    So -- but anyway, okay.          Mr. Chan, or
      20     Agent Chan, who do you recall on the social media
      21     platform side participating in these -- in these
      22     working group meetings that you have been
      23     testifying about from 2020 and 2022?
      24          A.    The companies that I remember attending
      25     the meetings are Facebook; Microsoft; Google;



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        1    Twitter; Yahoo!, which may have been known as
        2    Verizon Media at the time; Wikimedia Foundation and
        3    Reddit.
        4         Q.    Do you remember any others at this time?
        5         A.    I think I listed seven.          I -- those were,
        6    like, the regular participants that I can remember.
        7         Q.    How about on the U.S. government side,
        8    what agencies were represented at these meetings?
        9         A.    At these meetings, CISA is the host and
      10     facilitator for the meeting.          They also invite
      11     another component of Department of Homeland
      12     Security called Intelligence and Analysis, I&A, so
      13     DHS I&A I know attends.        The Office of the Director
      14     of National Intelligence, ODNI, attends.             And then
      15     from the FBI there is typically a representative
      16     from the FBI's Foreign Influence Task Force, which
      17     you will hear me abbreviate as FITF regularly.              And
      18     then I attend from FBI San Francisco when I am
      19     available.
      20          Q.    And why are you included in particular?
      21          A.    The reason that I attend these meetings is
      22     because the way the FBI works is FBI field offices
      23     are responsible for maintaining the day-to-day
      24     relationships with the companies that are
      25     headquartered in their area of responsibility,



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        1    which I may occasionally abbreviate to AOR.              And
        2    all of the companies that have been listed, with
        3    the exception of Microsoft, are all headquartered
        4    in FBI San Francisco's territory.
        5         Q.    Now, where is Microsoft headquartered?
        6         A.    They are headquartered in Redmond,
        7    Washington.
        8         Q.    And then on the CISA side in particular,
        9    what individuals participate in these meetings?
      10          A.    Typically there are senior-level -- what I
      11     believe are senior-level officials.            The two that I
      12     specifically remember are Matt Masterson and Brian
      13     Scully.
      14          Q.    Is that Matt Masterson, did you say?
      15          A.    Yeah.    Yeah, Matthew Masterson and Brian
      16     Scully are the two regular attendees.            And they are
      17     usually -- one or both of them -- one -- either one
      18     of them is usually emceeing the meeting.
      19          Q.    So Brian Scully, do you know him
      20     personally?
      21          A.    I know him just through work.
      22          Q.    Okay.    In what connection at work?
      23          A.    And I only know -- I only know
      24     Mr. Masterson through work as well.
      25          Q.    When you say you know him through work,



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        1    did you work together on anything other than these
        2    meetings?
        3         A.    So we have met -- I want to say I have met
        4    in person with each of those individuals, twice in
        5    person; but they are primarily through either the
        6    preparatory calls for these meetings that they are
        7    hosting or the meetings themselves.
        8         Q.    So you work with CISA in preparatory calls
        9    for these industry working group meetings?
      10          A.    Yes.
      11          Q.    And in that connection, you've met Brian
      12     Scully and Matt Masterson, correct?
      13          A.    Yes.
      14          Q.    And Brian Scully is involved in kind of
      15     leading or emceeing these meetings; is that right?
      16                MR. SUR:     Objection; vague.
      17          Q.    BY MR. SAUER:      Or is he the -- is he the
      18     leader of the meeting when it convenes?
      19          A.    For the 2020 election cycle, Mr. Masterson
      20     was the primarily -- he was primarily the
      21     facilitator.      Ahead of the 2022 midterm elections,
      22     Mr. Scully has been the primary facilitator.
      23          Q.    Was that because Mr. Masterson left CISA
      24     in the -- in the intervening time?
      25          A.    Yes.



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        1         Q.    Do you know where he works now?
        2         A.    Yes.    I believe he works at Microsoft now.
        3         Q.    Do you -- do you interact with him now as
        4    a representative of a -- of a tech company?
        5               MR. SUR:     Objection; vague.
        6               THE WITNESS:      I have only interacted with
        7    him on two occasions.        One was when he showed up at
        8    one of the more recent industry meetings ahead of
        9    the 2022 midterm elections.          That is when I
      10     discovered that he went to Microsoft.            And then I
      11     asked him to send me his new contact information
      12     during the call, and then he sent me an email and
      13     provided me with his new contact information.
      14          Q.    BY MR. SAUER:      You work with CISA on these
      15     industry working group meetings to help prepare
      16     them, what's the nature of your involvement in
      17     preparing for these meetings?          Do you kind of set
      18     the agenda or -- you know, what's your involvement?
      19                MR. SUR:     Objection; vague and compound
      20     and implicates the deliberative process privilege.
      21                MR. SAUER:     Let me rephrase the question.
      22          Q.    Are you involved in preparing for these
      23     meetings?
      24          A.    No.    I participate in the preparation
      25     meetings, but I do not provide any agenda items.



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        1         Q.    Do you remember anyone else at CISA
        2    besides Mr. Scully and Mr. Masterson who
        3    participates in these meetings?
        4         A.    I don't recollect any other people's names
        5    at this time.
        6         Q.    Were there others who participated in --
        7    but you just don't remember who they were?
        8         A.    Yes, that is correct.
        9         Q.    Okay.    Let me -- do you still have Exhibit
      10     1 on the screen in front of you, your thesis?
      11          A.    Yes.
      12          Q.    Okay.    Let me ask -- let's turn back to
      13     that for a little while.         And if we could, I am
      14     going to scroll ahead to your abstract on Page v.
      15     Can you see that clearly, Roman numeral v.
      16                MR. SUR:     Roman numeral v.       Okay.
      17                THE WITNESS:      Yes, I see it now.
      18          Q.    BY MR. SAUER:      And can you see it also on
      19     the screen share as well as on the iPad?               I want to
      20     make sure you can see the document in both places
      21     as we go forward today.
      22          A.    I can see the bottom half of one
      23     paragraph, and then -- wait, now -- now I see --
      24     yeah, I see the bottom paragraph of the --
      25          Q.    Actually, can I -- can I direct your



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        1    attention this sentence here in your abstract that
        2    I am highlighting?       I guess, actually, for context,
        3    if you see above -- actually, just focus on that
        4    sentence.      "This" -- you say, "This thesis finds
        5    that the Russians shifted their tactics from 2016
        6    to 2020," right?
        7         A.    Correct.
        8         Q.    And then you say, "Still, the U.S.
        9    government and social media companies effectively
      10     impeded their influence campaigns primarily through
      11     information sharing and account takedowns,
      12     respectively," correct?
      13          A.    Correct.
      14          Q.    What do you mean by "information sharing"
      15     here?
      16          A.    So "information sharing" is meant --
      17     there -- as I mentioned previously, there are two
      18     types of information that the U.S. government,
      19     specifically the FBI, shares with the social media
      20     companies.     The first type of information, the
      21     strategic information, which discusses the tools,
      22     tactics or processes, shortened to be TPPs, used by
      23     the Russians.
      24                The second type of information shared by
      25     the U.S. government is tactical information.              And



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        1    when I mean tactical information, I specifically
        2    mean indicators or selectors.          And both of those
        3    are a term of art within the cybersecurity
        4    industry.      And indicators or selectors include IP
        5    addresses, email accounts, social media accounts,
        6    well, website domain names, and, like, file hash
        7    values.
        8         Q.    Sorry.     Say the last thing.       What kind of
        9    hash values?
      10          A.    File, like electronic file hash values.
      11          Q.    Okay.    And so, yeah, I take it the
      12     strategic information is kind of high-level advice
      13     to the social media platforms about, you know, the
      14     kinds of -- kinds of campaigns the Russians might
      15     be conducting; is that fair to say?
      16                MR. SUR:     Objection; lacks foundation.
      17                THE WITNESS:      I would not -- I would not
      18     characterize the information we share as advice.
      19          Q.    BY MR. SAUER:      Okay.    Then in that case it
      20     is sort of -- is it high-level general information
      21     about what FBI understands the Russians are
      22     engaging in when it comes to social media influence
      23     campaigns?
      24                MR. SUR:     Objection; lacks foundation.
      25                THE WITNESS:      Yes.



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        1         Q.    BY MR. SAUER:      And then -- go ahead.
        2    Sorry.    Go ahead.
        3         A.    I can provide an example if that would be
        4    illustrative.
        5         Q.    That would be super helpful.          Please do.
        6         A.    I had the 2020 elections, through our
        7    investigation of the Internet Research Agency, we
        8    discovered that they were trying to set up a base,
        9    as it were, or set up offices in western Africa.
      10     We shared this type of strategic information with
      11     the social media companies.          They were able to use
      12     whatever detection methods they have to discover
      13     that there were Russian troll farms being set up
      14     specifically in Ghana and Nigeria.
      15          Q.    Okay.    And so you mentioned earlier that
      16     tactical -- that would be strategic information?
      17          A.    That would be strategic.         To summarize, an
      18     example would be we believe the Russian troll
      19     farms, specifically the Internet Research Agency,
      20     is trying to make inroads in western Africa.
      21          Q.    Got you.     And then tactical information
      22     would be much more specific.          Here are specific --
      23     I think you said IP addresses, websites, social
      24     media accounts, that are actually -- the FBI has
      25     concluded are being operated by the Russians.              Is



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        1    that what tactical information is?
        2         A.    That is correct.
        3         Q.    So there is -- and so is there information
        4    sharing from the FBI to social media platforms
        5    providing that kind of specific tactical-level
        6    information?
        7         A.    Yes, there is.
        8         Q.    And I think your -- that then the timeline
        9    in your thesis goes on specifically with
      10     "information sharing and account takedowns."              Does
      11     "account takedowns" refer to the social media
      12     platforms kind of taking down those social media
      13     accounts where the FBI identifies them as being
      14     operated by Russian actors?
      15                MR. SUR:     Objection; lacks foundation.
      16                THE WITNESS:      So the FBI shares
      17     information with the social media companies, no
      18     strings attached, so that the social media
      19     companies can protect their platforms as they deem
      20     appropriate.     And from what I have observed and
      21     what they have told me when we have provided them
      22     with high confidence of Russian selectors, that
      23     they have been able to discover fake Russian
      24     accounts and take them down.
      25          Q.    BY MR. SAUER:      So you don't control what



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        1    they do, correct?
        2         A.    I do not control what they do.
        3         Q.    But you provide them with information that
        4    they don't have about the source of certain -- you
        5    called them selectors or social media accounts,
        6    correct?
        7         A.    Correct.
        8         Q.    And when you provide them with that
        9    information, they take it and they pull down those
      10     accounts, at least sometimes, fair to say?
      11                MR. SUR:     Objection; lacks foundation.
      12                THE WITNESS:      If I can clarify, what they
      13     do is they take the information that we share, they
      14     validate it through their own means.            And then if
      15     they determine that these are accounts being
      16     operated by Russian state-sponsored actors, then
      17     they have taken them down.
      18          Q.    BY MR. SAUER:      Oh, okay.     And then -- and
      19     that's, I -- I take it, part of the point of your
      20     sharing the information with them, right?             So that
      21     they can assess and evaluate and then ultimately,
      22     if they agree with your conclusion, take them down,
      23     correct?
      24          A.    Correct.
      25          Q.    In other words, the purpose of the



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        1    information sharing on the FBI's side is to have
        2    the inauthentic Russian accounts taken down so that
        3    they are not influencing political discourse in the
        4    United States, correct?
        5                MR. SUR:    Objection; lacks foundation,
        6    calls for speculation.
        7                THE WITNESS:     I would characterize it as
        8    the FBI provides information to these companies so
        9    that they can protect their platforms as they deem
      10     appropriate, and they can take whatever actions
      11     they deem appropriate without any suggestion or
      12     interference from the FBI.
      13          Q.     BY MR. SAUER:     But my question's a little
      14     different, which is what -- my question is:              Part
      15     of the purpose from the FBI's perspective is to
      16     give them the tools to assess and potentially take
      17     down accounts that the FBI has deemed to be
      18     inauthentic, correct?
      19                MR. SUR:     Objection; lacks foundation,
      20     calls for speculation.
      21          Q.     BY MR. SAUER:     You may answer.
      22          A.    So I would say -- inauthentic -- so my
      23     focus is on Russian state-sponsored, -controlled
      24     accounts.      And so whether the companies take them
      25     down or not, it's their own choice.



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        1         Q.    Right, but is it your purpose in giving
        2    them the information that the FBI believes or has
        3    concluded that they are Russian-operated accounts,
        4    is it your purpose to equip them to take them down
        5    if they end up agreeing with your assessment?
        6               MR. SUR:     Objection; lacks foundation,
        7    calls for speculation.
        8               THE WITNESS:      My purpose is to share the
        9    information with them so that they can protect
      10     their platforms as they deem appropriate.
      11          Q.    BY MR. SAUER:      And one way to protect
      12     their platforms is to take down these accounts,
      13     correct?
      14          A.    That is correct.
      15          Q.    And, in fact, that's what you say here in
      16     this sentence, right?        You say that, "the U.S.
      17     government and social media companies effectively
      18     impeded their influence campaigns...through
      19     information sharing and account takedowns," right?
      20          A.    I said that.      You can see -- I put
      21     "respectively" because it was the U.S. government,
      22     specifically the FBI, sharing information; and it
      23     was the social media companies doing the account
      24     takedowns.
      25          Q.    Right.    And the joint result of that was



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        1    effectively impeding Russian influence campaigns,
        2    correct?
        3         A.    Correct.
        4         Q.    And -- and that's FITF's goal, right?            To
        5    effectively impede Russian influence campaigns,
        6    right?
        7               MR. SUR:     Objection; lacks foundation,
        8    calls for speculation.
        9               THE WITNESS:      Yeah, FITF -- my
      10     understanding of FITF's goal is to counter malign
      11     foreign-influence campaigns.
      12          Q.    BY MR. SAUER:      Does that include
      13     effectively impeding their influence campaigns, as
      14     you say in your thesis?
      15          A.    Yes.
      16          Q.    Does that include doing so through account
      17     takedowns by information sharing with social media
      18     platforms?
      19                MR. SUR:     Objection; lacks foundation,
      20     mischaracterizes the testimony.
      21                THE WITNESS:      Yeah, I believe you're
      22     mischaracterizing.       So like I said before, the FBI
      23     shares information with no strings attached and no
      24     expectations to -- for the companies.            And the
      25     companies, they can protect their own platforms.



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        1               MR. SAUER:     I am going to jump ahead to
        2    page little Roman xvii.
        3               You can see there, Indraneel, it's going
        4    to be on Page 19 of the PDF.           See that?
        5               MR. SUR:     Yep.   Yeah, we're on it.
        6         Q.    BY MR. SAUER:       Okay.   I believe this is a
        7    kind of summary section of your thesis.             You talk
        8    about in this paragraph here that begins with, "The
        9    U.S. government's response," that I have
      10     highlighted; do you see that?
      11          A.    Yes.
      12          Q.    And you say, "The U.S. government's
      13     response to the Russian influence campaign appeared
      14     more robust before the 2020 elections than in the
      15     2016 or 2018 elections," correct?
      16          A.    Correct.
      17          Q.    And then in the next sentence, you say,
      18     "The most important actions taken by the U.S.
      19     government may have been the information sharing
      20     with the social media companies to expose Russia's
      21     different operations and shut down its accounts,"
      22     correct?
      23          A.    Correct.
      24          Q.    So the information sharing was done, "To
      25     expose Russia's different operations and shut down



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        1    its accounts," right?
        2         A.    Correct.
        3         Q.    And then "its" refers to Russia, right?
        4    So (as read) "to expose Russia's different
        5    operations and shut down Russia's accounts,"
        6    correct?
        7         A.    Correct.
        8         Q.    I am going to jump ahead a few pages to
        9    Page xxii.
      10                MR. SAUER:     And, Indraneel, if you're
      11     following on your iPad, that's going to be Page 24
      12     of the PDF.
      13          Q.    There's a reference here in the
      14     acknowledgments where you refer to, "My colleagues
      15     back at headquarters who were in the trenches with
      16     me as we worked to protect the 2020 elections."
      17     See that?
      18          A.    Yes.
      19          Q.    Okay.    What are you talking about there
      20     where it says (as read), "in the trenches with you
      21     as you worked to protect the 2020 elections"?
      22          A.    I'm referring to my colleagues
      23     specifically at the Foreign Influence Task Force
      24     who participated in the meetings with me, who
      25     provided briefings to the companies and who



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        1    coordinated the information sharing.
        2         Q.    And so you said you had meetings with the
        3    companies.      What meetings did you have?
        4         A.    We had -- let me be more clear.           I hosted
        5    meetings, bilateral meetings between each of the
        6    companies I mentioned and the Foreign Influence
        7    Task Force.
        8               And we would also bring in field offices
        9    that had investigations related to malign foreign
      10     influence by state-sponsored actors.            We would also
      11     bring in field offices that had cyber
      12     investigations.      And when I mean cyber
      13     investigations, I mean state-sponsored actors that
      14     the FBI was investigating that we believe were
      15     capable of hack-and-dump campaigns that we observed
      16     in the 2016 election.
      17          Q.    Okay.    Let me unpack that a bit.
      18                First of all, you said there were meetings
      19     with social media companies, between you and social
      20     media companies during the 2020 election cycle,
      21     correct?       Is that what we're talking about?
      22          A.    Yes, that is correct.
      23          Q.    Now, did those meetings also continue in
      24     the 2022 election cycle?
      25          A.    Yes.    They occur at roughly a quarterly



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        1    cadence.
        2         Q.    And then do they -- does the cadence
        3    increase as elections get close?
        4         A.    Yes, they do.      And --
        5         Q.    Now, does that become monthly as the
        6    election nears and then weekly very close to the
        7    elections?
        8         A.    Ahead of the 2020 elections, that is
        9    correct.       Ahead of the 2022 elections, we moved it
      10     from quarterly to monthly, and then we just had one
      11     meeting a week ahead of the midterm elections.
      12          Q.    I'm sorry.     You said you had one weekly
      13     meeting ahead of the midterm elections?
      14          A.    Right.    We had one meeting a week before
      15     the midterm elections.
      16          Q.    Oh, and how long was the -- how long was
      17     that period of weekly meetings?             Was that, like,
      18     the month before or the three months before?
      19          A.    No.    Just the week before the election
      20     itself.
      21          Q.    Oh, okay.     There was one weekly meeting,
      22     right, the week before the election?
      23          A.    Yeah.    There was -- yeah.        So there was a
      24     monthly meeting in October; and then we had another
      25     meeting out of -- you know, out of cadence the week



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        1    before the election, so the end of October.
        2         Q.    And then are these meetings going back to
        3    quarterly now that the election has passed?
        4         A.    That is correct.
        5         Q.    And so you're -- you'll have quarterly
        6    meetings with the social media companies going
        7    forward until the 2024 election cycle gets closer?
        8         A.    That is what I anticipate.
        9         Q.    And then as that election gets closer,
      10     then you'll move to monthly and eventually weekly a
      11     couple years from now, or in the fall of 2024; is
      12     that fair to say?
      13                MR. SUR:     Objection; calls for
      14     speculation.
      15                THE WITNESS:      That is what I anticipate.
      16          Q.    BY MR. SAUER:      Let me ask you this:        What
      17     social media companies are involved in these
      18     meetings?
      19                MR. SUR:     Objection; vague.
      20                THE WITNESS:      Currently or in 2020?
      21          Q.    BY MR. SAUER:      Well, let's start with
      22     2020.     I'd like to know both.       Let's start with
      23     2020, please.
      24          A.    So for the 2020 elections, we regularly
      25     met with Facebook, Google, Twitter, Yahoo!, Reddit



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        1    and LinkedIn.
        2         Q.    Okay.    And then who did you -- which
        3    social media companies did you meet with in 2022?
        4         A.    The same companies; and we -- less -- not
        5    on a quarterly basis, but on a periodic basis,
        6    maybe twice this year, we also met with Apple and
        7    Wikimedia Foundation.
        8         Q.    Does Apple operate social media platforms?
        9         A.    They do not.
      10          Q.    Then why did they get added to this -- the
      11     list?
      12          A.    They were added because they are a cloud
      13     infrastructure company; and we believe that
      14     tactical information, specifically indicators that
      15     we shared with them related to
      16     foreign-state-sponsored actors, might pop up on
      17     any -- any screening they do on iCloud.
      18          Q.    How about in the 2018 election cycle, did
      19     these meetings happen back then?
      20          A.    Yes, they did.      On a quarterly cadence.
      21          Q.    And did they ever get to monthly or weekly
      22     back then?
      23          A.    I don't recollect.        They may have, but I
      24     don't recollect at this time.
      25          Q.    You -- what -- let me ask this:           What



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        1    kinds of people are you meeting with from these
        2    social media platforms?        Is this members of the
        3    trust and safety teams of these platforms?
        4               MR. SUR:     Objection; vague.
        5               THE WITNESS:      There are typically two
        6    types of people that we meet at these companies --
        7    and when I mean types, I mean roles.            So as you
        8    mentioned, one role of person that we typically
        9    meet is a trust and safety or site integrity or
      10     cybersecurity.      Like, so a security function person
      11     or team of people.
      12                And then we meet with their attorneys too.
      13     So typically there is a security counsel or trust
      14     and safety counsel.
      15          Q.    BY MR. SAUER:      And those trust and safety
      16     and site integrity teams, they are responsible for
      17     defending those platforms from kind of hacking
      18     attempts and things like that, right?
      19                MR. SUR:     Objection; vague, assumes facts
      20     not in evidence.
      21                THE WITNESS:      That is my understanding.
      22          Q.    BY MR. SAUER:      And then they are also, I
      23     take it, in charge of enforcing the -- you know,
      24     the terms of service or the content modulation
      25     policies at those platforms; is that right?



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        1         A.    That is my understanding.
        2         Q.    Let me ask you this:        With respect to
        3    Facebook, who do you meet with on the trust and
        4    safety team?
        5         A.    In what context?       Specifically for the
        6    FITF meetings?
        7         Q.    Well, let's start with those, and then
        8    I'll ask you about other contexts.           Yeah, these
        9    sort of quarterly, monthly, then weekly cadence
      10     meetings we have been talking about, who attends
      11     from the kind of trust and safety or site integrity
      12     group from Facebook?
      13          A.    From, yeah, the trust and safety side of
      14     that house, the people that I typically meet with
      15     are Emily Vacher, Ryan Kelly, Mike Devilotski, Mike
      16     Torrey.    The -- those are the senior-level
      17     officials.     They are either manager- or
      18     director-level officials.         And typically the --
      19     they have investigators or analysts under them, but
      20     that's kind of rotating and on an ad hoc basis --
      21     on an as-needed basis.        I don't recollect the names
      22     of most of the analysts.
      23          Q.    Do you interact with Facebook employees in
      24     other contexts?
      25                MR. SUR:     Objection; vague.



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        1               THE WITNESS:      Yeah.    The majority of my
        2    interaction with Facebook is not in the
        3    disinformation or malign-foreign-influence realm.
        4    It is actually for things related to my -- to the
        5    Cyber Branch, which are specifically cyber
        6    investigations.
        7         Q.    BY MR. SAUER:      How about Twitter?       Who do
        8    you meet with at Twitter when it relates to
        9    disinformation and malign-foreign-influence
      10     operations?
      11          A.    The same as with Facebook.          I meet with
      12     trust and safety/site integrity people, and then I
      13     meet with their security counsel.
      14          Q.    And then what -- what human beings at
      15     Twitter from the trust and safety/site integrity
      16     group do you meet with?
      17          A.    The head of site integrity until the day
      18     after the midterm elections that I met with was
      19     Yoel Roth, and his senior manager is Will Newland.
      20     But they have both told me they are no longer with
      21     the company.
      22          Q.    Do you have any new contacts at Twitter
      23     now?
      24          A.    I was provided their counterpart in the
      25     Dublin, Ireland, office; and I believe his name was



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        1    Aaron Roderick.      I have only exchanged like two
        2    emails with him.
        3         Q.    So but up until quite recently, your
        4    principal trust and safety contacts at Twitter were
        5    Yoel Roth and Will Newland?
        6         A.    That is correct.
        7         Q.    But they are both senior- or
        8    management-level officials in site integrity or
        9    trust and safety?
      10          A.    That is my understanding.
      11          Q.    Anyone else at Twitter that -- who would
      12     participate in meetings that relate to malign
      13     foreign influence or disinformation?
      14          A.    Yes.    On the attorney side, they regularly
      15     had several security counsels attend.            And the
      16     senior official at the time of the 2020 elections
      17     was Angela Sherrer, but she is also no longer with
      18     the company.
      19          Q.    Okay.    And then how about Google, who do
      20     you -- or who do you meet with at Google about
      21     disinformation and malign-foreign-influence
      22     activities?
      23          A.    On the site integrity/trust and safety
      24     side, the senior director of that group is Shane
      25     Huntley.



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        1         Q.    Anyone else besides -- is that a
        2    Mr. Huntley?
        3         A.    Yeah.    Mr. Shane Huntley.
        4         Q.    And then is there anyone else at Google
        5    who you meet with?
        6         A.    Yes.    Up until recently, I would say
        7    earlier this year, the senior attorney that we met
        8    with was Richard Salgado, but he has since retired.
        9         Q.    Anyone else besides those two individuals?
      10          A.    Those are the two senior officials.            The
      11     other officials that I would meet with regularly on
      12     the attorney side include Harold Chun and Mike
      13     Maffei.
      14          Q.    Sure.
      15          A.    But I believe both of them are senior
      16     security counsels.
      17          Q.    How about Yahoo!, who do you meet with on
      18     the site integrity or trust and safety side from
      19     Yahoo! as it relates to malign foreign influence
      20     and disinformation?
      21          A.    The head of the group that we met with --
      22     they are colloquially known as "The Paranoids" --
      23     is named Chris Kieft.
      24          Q.    Why are they called "The Paranoids"?
      25          A.    I believe it was -- I'm not sure, but I



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        1    believe it was a previous chief information
        2    security officer who said that it was the job of
        3    his team to be paranoid in order to protect their
        4    platform.
        5         Q.    Are they paranoid in your view?
        6               MR. SUR:     Objection; calls for
        7    speculation.
        8               THE WITNESS:      They are very good people to
        9    work with.
      10          Q.    BY MR. SAUER:      I'm sorry.      Tell me their
      11     names again?
      12          A.    Chris Kieft is the director of that group,
      13     and then the senior manager is Suruchi Chen.
      14          Q.    Is there anyone else on the trust and
      15     safety/site integrity side from Yahoo! that you
      16     meet with?
      17          A.    There are different investigators that
      18     they will have briefing different things, but I
      19     don't recollect any of their names at this time.
      20          Q.    Okay.    And then how about Reddit, who do
      21     you meet with from Reddit on the site
      22     integrity/trust and safety side as it relates to
      23     disinformation or malign foreign influence?
      24          A.    His name is Tyler Otto.          He is the head of
      25     data sciences at Reddit.



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        1         Q.    Anyone else at Reddit who you meet with
        2    about those topics?
        3         A.    Yes.    The -- his senior manager is named
        4    Aylea Baldwin.
        5         Q.    Is that A-l-i-a?
        6         A.    A-y-l-e-a.
        7         Q.    All these officials you have talked about
        8    from these various social media platforms --
        9    Facebook, Google, Twitter, Yahoo!, Reddit -- these
      10     are all people that would have authority over
      11     enforcing terms of service at their respective
      12     platforms, correct?
      13                MR. SUR:     Objection; mischaracterizes the
      14     testimony and calls for speculation.
      15                THE WITNESS:      That is my understanding.         I
      16     don't know if they have the authority, but they
      17     will at least inform the decision-makers, whoever
      18     they may be.
      19          Q.    BY MR. SAUER:      But they'd be directly
      20     involved in the enforcement of terms of service for
      21     these various platforms; is that fair to say?
      22          A.    That is my understanding.
      23          Q.    And that includes, of course, content
      24     modulation of content on the platforms, right?
      25                MR. SUR:     Objection; vague, calls for



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        1    speculation.
        2               THE WITNESS:      That is my understanding.
        3         Q.    BY MR. SAUER:      Turning back to your
        4    thesis, you talk about (as read) "being in the
        5    trenches with you as you worked to protect the 2020
        6    elections."       Were there any other steps you took in
        7    the trenches other than those -- these, I guess,
        8    information sharing meetings you have described
        9    with those, I think, seven platforms?
      10                MR. SUR:     Objection; vague.
      11                THE WITNESS:      Yes.    One of the things that
      12     I did more frequently was San -- FBI San
      13     Francisco's territory includes 16 counties.              So I
      14     provided them, the county registrar or county
      15     clerk's offices, their information security
      16     personnel, with monthly cybersecurity updates and
      17     guidance.
      18          Q.    BY MR. SAUER:      And so that would involve
      19     advising county clerks and registrars how to fend
      20     off hacking attempts?
      21          A.    Yes.    I would -- I would share indicators
      22     with them -- I would share the same type of
      23     information that I shared with social media
      24     companies, to a more limited extent.            I would share
      25     strategic information about what we saw



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        1    foreign-state-sponsored actors doing.
        2               And then where appropriate, we would share
        3    indicators with companies, but these were not --
        4    these would primarily be IP addresses and domain
        5    names so that they could see if they were popping
        6    up anywhere on their networks.
        7         Q.    I am going to jump ahead in your thesis to
        8    Page 17 of the main text.
        9               MR. SAUER:     And Indraneel, if you're --
      10     are you following along on your iPad?
      11                MR. SUR:     I am trying, yes.
      12                MR. SAUER:     I think this is going to be
      13     Page 41 of -- Page 41 of the -- of the PDF.
      14          Q.    Agent Chan, can you see the screen share
      15     in front of you well?        I have made it a little
      16     smaller to make it easier for me to read.
      17          A.    Yeah.    I can see the -- there's part of
      18     one paragraph and the beginning of a second
      19     paragraph.
      20          Q.    Can you see there that there's -- you
      21     refer to "DiResta" there at the top of the page?
      22     Do you see what I've highlighted?
      23          A.    Correct.
      24          Q.    Who is DiResta?
      25          A.    Renée DiResta is a researcher at the



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        1    Stanford Internet Observatory.
        2         Q.    And -- and so do you know her personally?
        3         A.    I have engaged with her on phone calls.
        4         Q.    What were the nature of those phone calls?
        5         A.    The nature of these phone calls were
        6    actually related to threats being directed at her
        7    as well as about Russian disinformation.
        8         Q.    Okay.    And you -- threats being directed
        9    at her, you mean someone had personally made
      10     threats at her, and you were, as an FBI agent,
      11     relating them back with her; is that fair to say?
      12          A.    That is -- that is correct.          And the
      13     threats would be --
      14          Q.    And were the threats -- I don't want to --
      15          A.    The threats were --
      16          Q.    Go ahead.     Sorry.    I didn't mean to
      17     interrupt you.
      18          A.    The threats were of an online nature that
      19     were -- that she was concerned may be
      20     state-sponsored in nature.
      21          Q.    Oh, okay.     Okay.    And that -- what -- and
      22     then what was the second thing that you said that
      23     you were engaged with her on?
      24          A.    A lot of conversations about Russian
      25     disinformation.



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        1         Q.    Yeah.    What did you say to each other
        2    about Russian disinformation?
        3         A.    I was mostly listening, but -- and I would
        4    ask her for her thoughts about what she was seeing
        5    from the Internet Observatory.
        6         Q.    Did you have these conversations in
        7    connection with writing your thesis, or was it in
        8    connection with your work as an FBI agent in the
        9    field?
      10          A.    It was connected to my work as an FBI
      11     agent in the field.
      12          Q.    When did you talk to Renée DiResta?
      13          A.    I want to say maybe in 2019.
      14          Q.    Would that be the only time?
      15          A.    Yeah.    I can only recollect two phone
      16     calls that I had with -- with her.
      17          Q.    And those would have been in 2019?
      18          A.    Yes.
      19          Q.    Do you know why you called her?
      20          A.    She called me on the first call to --
      21          Q.    Why did she call you?
      22          A.    To -- she had been given my contact
      23     information by the head of the Stanford Internet
      24     Observatory, and she was concerned about Russian
      25     actors either providing her -- or -- giving her



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        1    online threats or potentially slotting her.
        2         Q.    Okay.    Who is the head of the Stanford
        3    Internet Observatory?
        4         A.    Alex Stamos.
        5         Q.    Do you know Mr. Stamos?
        6         A.    I do.
        7         Q.    How do you know him?
        8         A.    I know him from his time as the chief
        9    security officer for Facebook.
      10          Q.    And was he one of the Facebook officials
      11     that you interacted with in your professional
      12     capacity as an FBI agent when he was there?
      13          A.    Yeah, when he was there, but he was not --
      14     he left before the 2020 election cycle.
      15          Q.    Was he involved in any of the meetings
      16     you've talked about where malign-foreign-influence
      17     activities were discussed?
      18          A.    He was involved in a few, but he left it
      19     to the people that I mentioned who reported to him.
      20          Q.    So when did he leave Facebook?
      21          A.    I can't remember, but it was ahead of the
      22     2020 election cycle.
      23          Q.    So -- do you think he would have left
      24     before 2020 began or during 2020?
      25          A.    I think he left well before 2020.           I think



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        1    he left after the midterms, but I can't remember.
        2         Q.    You mean the 2018 midterms?
        3         A.    I'm sorry.     Yeah.    The 2018 midterm
        4    elections.
        5         Q.    Okay.    Have you had any discussions with
        6    Mr. Stamos since he left Facebook?
        7         A.    Yes.    But not about Russian
        8    disinformation.
        9         Q.    Generally what have they been about?
      10          A.    Cybersecurity and trust and safety.
      11          Q.    What is trust and safety?
      12          A.    Trust and safety is protecting platforms
      13     from hacking and -- yeah, I -- primarily hacking.
      14          Q.    Have you had any discussions with him
      15     about protecting platforms from, you know,
      16     malign-foreign-influence activities?
      17          A.    No.
      18          Q.    No?
      19          A.    Not since -- not since the -- you know,
      20     before the 2018 midterm elections.           Not in his
      21     current capacity at the Stanford Internet
      22     Observatory.
      23          Q.    Lower down on the page you see I have
      24     highlighted a reference to Professor Kate Starbird.
      25     Do you see that?



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        1         A.    Yes.
        2         Q.    Do you know Kate Starbird?
        3         A.    I do not know her personally.
        4         Q.    Have you ever talked to her to your
        5    recollection?
        6         A.    I have never talked to her.
        7         Q.    Okay.     So you're -- you only -- you only
        8    reference her research in your thesis, but you have
        9    never talked to her?
      10          A.    That is correct.
      11          Q.    Are you familiar with the Stanford
      12     Internet Observatory and the University of
      13     Washington teaming up on something called the
      14     "Election Integrity Partnership"?
      15          A.    I am generally aware of that.
      16          Q.    Okay.     What do you know about the Election
      17     Integrity Partnership?        What is it, if you know?
      18                MR. SUR:     Objection; vague.
      19                THE WITNESS:      My knowledge is just
      20     general.       So I knew they partnered on election
      21     integrity and I knew that there was research
      22     involved, but that's the extent of my knowledge.
      23          Q.    BY MR. SAUER:      How do you know that?
      24          A.    I think I read it somewhere in a news
      25     article.



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        1         Q.    Have you ever talked to anyone involved in
        2    the Election Integrity Partnership?
        3         A.    Not that I'm aware of.
        4         Q.    Did you have any involvement in it?
        5         A.    No.   I would have known.        So no, not that
        6    I'm aware of.
        7         Q.    How about any other federal agencies, are
        8    you aware of them being involved or working with
        9    the Election Integrity Partnership?
      10          A.    I am not aware of any other federal
      11     agencies.
      12          Q.    And then would that include the FBI?            Do
      13     you know if the FBI has had or if it is involved in
      14     any way with the Election Integrity Partnership?
      15          A.    I do not have any knowledge of that.
      16     However, I know that my colleagues at FBI
      17     headquarters regularly meet with researchers much
      18     more frequently than I do.
      19          Q.    So is it possible that your colleagues at
      20     FBI headquarters meet with Alex Stamos?
      21                MR. SUR:     Objection; calls for
      22     speculation.
      23          Q.    BY MR. SAUER:      If you know.
      24          A.    Not to my knowledge, because since Alex
      25     Stamos is at Stanford and Stanford is located in



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        1    FBI San Francisco's territory, it is common
        2    courtesy to ask the field office to broker the
        3    meeting or to at least make them aware that they
        4    are coming into the territory.          So I am not aware
        5    of any of them meeting with Alex Stamos.
        6         Q.    What researchers out there in California
        7    are you aware that they have met with other than
        8    Mr. Stamos?
        9         A.    I am aware that they have at least had
      10     discussions with a researcher at University of
      11     California at Berkeley, Professor Hany Farid.
      12          Q.    How do you spell that?
      13          A.    H-a-n-i [verbatim]; and I believe his last
      14     name is F-a-r-e-e-d, but it could be F-a-r-i-d.               I
      15     am not sure.
      16          Q.    Any other researchers you are aware of
      17     them meeting with?
      18          A.    That's the only one in my territory that I
      19     am aware of them meeting with.
      20          Q.    How about Kate Starbird, do you know if
      21     they've ever met with her at FBI headquarters?
      22          A.    I am not aware.
      23          Q.    I want to jump ahead in your thesis to
      24     Page 25.
      25                MR. SAUER:     And, Indraneel, it is Page 49



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        1    in the PDF.
        2         Q.    Earlier, Agent Chan, you testified that
        3    there is kind of two kinds of Russian influence
        4    operations that you discussed in the thesis.              I
        5    think you referred to hack-and-dump operations,
        6    right?
        7         A.    That's correct.
        8         Q.    And that's a -- a reference to hackers
        9    reaching into a computer network, stealing data and
      10     then kind of publicizing it, right?
      11          A.    Yeah, that's correct.
      12          Q.    And then here you also refer to "attempted
      13     hacks on the" -- "the actual voting systems," but
      14     you say that that's not the focus of your thesis,
      15     right?
      16          A.    Yeah, that is correct.
      17          Q.    Then here, I think in this next paragraph,
      18     where you refer to "Online social media influence
      19     campaigns," that's what's your thesis actually
      20     focuses on in this document, right?
      21          A.    That is correct.
      22          Q.    Okay.    At a high level, can you describe
      23     what sorts of online social media influence
      24     campaigns have been conducted by the Russians?
      25          A.    So broadly speaking, they have -- they --



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        1    and when I mean "they," I mean the Internet
        2    Research Agency and other Russian state-sponsored
        3    actors -- have news -- have created fake social
        4    media accounts, and they have either generated
        5    disinformation themselves or they have amplified
        6    existing content from current users of the social
        7    media platforms.
        8         Q.    So they generate their own disinformation.
        9    What does that entail?
      10          A.    So they make their own content.
      11          Q.    Okay.    So can you -- can you give us a
      12     specific example of what that might look like?
      13          A.    Like -- like they -- they will make their
      14     own Facebook postings.        They will -- they will copy
      15     other people's Facebook postings.           And they will --
      16     I mean, when I say "content," they try to find what
      17     are the hot-button or current issues in the news
      18     around the time frame they're looking at, and then
      19     they will try to either generate content --
      20          Q.    Okay.
      21          A.    -- themselves related to that or they will
      22     amplify existing content.
      23          Q.    Okay.    So they might -- we'll say -- or
      24     suppose there's a hot-button issue, and they will
      25     create some inflammatory Facebook post and push



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        1    that out into social media, that's one thing they
        2    do?
        3          A.   Yes.
        4          Q.   And I take it the goal there is they are
        5    trying to get ordinary, real people on social
        6    media, including Americans, to kind of interact
        7    with or engage with that content, right?
        8               MR. SUR:     Objection; vague, calls for
        9    speculation.
      10                THE WITNESS:      That is my understanding, is
      11     that in general the Russian government and the
      12     Internet Research Agency want to sow discord in the
      13     American online environment.
      14           Q.   BY MR. SAUER:      So the goal there is to
      15     have -- they post messages that they anticipate
      16     will be divisive and try and get Americans to
      17     engage with them, right?
      18           A.   Yeah.    That is my understanding.
      19           Q.   And "engagement," I take it, can mean
      20     multiple things on a social media platform.              That
      21     might mean reading the post.          That would be a form
      22     of engagement, right?
      23           A.   Yes, sir.     Yeah.    The -- so the
      24     companies -- I use the companies' definition.              And
      25     when they say "engagement," they do -- they mean



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        1    different things as well.         Like you said, viewing
        2    is one of the types of engagement.           And they will
        3    let us know, "Hey, Elvis.         You shared this IP
        4    address with us.      We found these accounts, and they
        5    had low-level engagement."
        6               And when I ask, "What is low-level
        7    engagement?" they will typically characterize it
        8    as, "Oh, there was, you know, a dozen views."
        9         Q.    Right.    Whereas high-level engagement
      10     might be a million views, right?
      11          A.    Yes.
      12          Q.    Okay.    Or 100,000 views might be a
      13     high-level engagement, fair to say?
      14          A.    Yeah.    Yeah, that's fair.
      15          Q.    And then, you know, liking or disliking a
      16     post is another kind of engagement; is that fair to
      17     say?
      18          A.    For the Facebook and Instagram platforms
      19     specifically.
      20          Q.    Yeah.    Or -- and then doesn't Twitter have
      21     a kind of function that you can kind of express
      22     approval or disapproval in that way?
      23          A.    Yeah.    I believe so.
      24          Q.    Is that -- do you know what that's called?
      25          A.    I can't remember the name for it.



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        1         Q.    And it's the equivalent of liking
        2    something on Facebook.        You could, you know, like a
        3    tweet, essentially; is that fair to say?
        4               MR. SUR:     Objection; vague.
        5               THE WITNESS:      I would assess them as being
        6    similar.
        7         Q.    BY MR. SAUER:      Yeah.    And then there's --
        8    again, and obviously reposting it is another form
        9    of engagement, right?
      10          A.    That is correct.
      11          Q.    And also there's reposting it with
      12     commentary as well, right?
      13          A.    That is correct.
      14          Q.    And I take it these are all forms of
      15     engagement that these social media influence
      16     campaigns that you are referring to in your thesis
      17     are kind of designed -- at least they are trying to
      18     get people to do that, at least regular, you know,
      19     kind of not real users, not bots; the Russians are
      20     trying to get people to engage on their divisive
      21     content, right?
      22                MR. SUR:     Objection; calls for
      23     speculation.
      24                THE WITNESS:      Yeah.    So it is my opinion
      25     that, you know, based on what I know, that that is



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        1    what the Russians -- Russians are attempting to do.
        2         Q.    BY MR. SAUER:      I take it from your thesis
        3    that they have met with mixed success in these
        4    efforts, right?       In some of their efforts they were
        5    highly effective in getting high levels of those
        6    kinds of engagements, whereas others it would --
        7    kind of fizzled; is that fair to say?
        8         A.    Yes.    I would say it was hit and miss.
        9         Q.    And I think you -- in your thesis you talk
      10     about how in 2016 they had high, high levels of
      11     success, right, because there were essentially no
      12     countermeasures taken by social media platforms?
      13          A.    That is correct.
      14          Q.    And I think you cite examples of
      15     situations where there are Russian-originated
      16     content with hundreds of thousands or -- I think
      17     you talk about millions of Americans interacting
      18     with it, you know, liking it, disliking it,
      19     reposting it and all that; is that fair to say?
      20                MR. SUR:     Objection; compound.
      21                THE WITNESS:      That is for the 2016
      22     election cycle.
      23          Q.    BY MR. SAUER:      And then I take it maybe
      24     there was -- there was some engagement in the 2018
      25     and 2020 election cycles, but probably not quite as



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        1    much as in 2016, right?
        2         A.    That is correct.
        3         Q.    How would you kind of characterize the
        4    levels of engagement?        You know, the various forms
        5    of engagement I have talked about -- reading it,
        6    liking it or disliking it, reposting it or
        7    reposting it with commentary -- how do those levels
        8    of engagement in general with the kind of Russian
        9    malign content, what levels were those at in 2016
      10     and 2018?
      11                MR. SUR:     Objection; compound.
      12                THE WITNESS:      Well, on Page 35 I give one
      13     example where you can see how IRA controlled
      14     accounts and the numbers of users they reached.
      15     And so -- on Page 35, you see that table, right?
      16                So those are the types of numbers.            And
      17     then after that, you know, when we compare to 2020,
      18     it's less.
      19          Q.    BY MR. SAUER:      Okay.    It is not --
      20          A.    But those are the numbers that were, you
      21     know, provided.      I think these -- I think that I
      22     footnoted that it's from -- it's from the special
      23     counsel's report.
      24          Q.    I got you.     That's from Robert Mueller's
      25     report?



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        1         A.    That is correct.
        2         Q.    That indicates that there were really a
        3    very high level of number of users reached from
        4    Facebook, 126 million users reached by 2016 Russian
        5    messages, fair to say?
        6         A.    Yes.
        7         Q.    And I take it that, you know, some subset
        8    of those people are reading it, or at least
        9    clicking on it to read it; is that fair to say?
      10          A.    Yeah.    So the "Number of Users Reached,"
      11     my interpretation is that is views.
      12          Q.    Got you.
      13          A.    Unique views, yeah.
      14          Q.    Some of them, but we just don't know how
      15     many, but some of them would have liked it or
      16     disliked it, fair to say?
      17          A.    Yeah, I have no idea how many would have
      18     liked it or disliked it.
      19          Q.    And then some of them -- some may have
      20     reposted it, right?
      21          A.    They may have, but I don't know.
      22          Q.    And then that Twitter figure shows -- what
      23     is it -- about 1.4 million Twitter users were
      24     reached by these activities in 2016?
      25          A.    Yes, that is correct.



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        1          Q.   Let's -- I am going to flip back to Page
        2    29.    You've got this kind of graphic picture of --
        3    of Hillary Clinton with a black kind of "X" painted
        4    on her face.      Do you see that?
        5          A.   Yes.
        6          Q.   And I take it this is an example of
        7    something that was -- it is actually
        8    Russian-originated content kind of masquerading as
        9    something posted by an American, right?
      10           A.   Yeah.    That is an example.
      11           Q.   And this is the sort of thing that
      12     might -- is this the sort of thing that would have
      13     resulted in engagements by users?
      14                MR. SUR:     Objection; vague, calls for
      15     speculation.
      16                THE WITNESS:      Well, from this one, there
      17     appeared to be 763 reactions.
      18           Q.   BY MR. SAUER:      Do you know what
      19     "reactions" mean?       Is that liking or disliking, or
      20     is that something else?
      21           A.   I am not -- I am not familiar.
      22           Q.   Okay. So that might mean -- might mean
      23     liking or disliking, but it might also mean
      24     reposting?
      25           A.   Yeah.    I don't know.



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        1         Q.    So at least 763 people for this example
        2    did something more than just reading it, right, or
        3    viewing it?
        4               MR. SUR:     Objection; calls for
        5    speculation.
        6               THE WITNESS:      Yeah.    I don't know what a
        7    reaction means.       It could just mean viewing it, but
        8    it could mean taking some further action.
        9         Q.    BY MR. SAUER:      And the next step, 76
      10     people commented on this, right?
      11          A.    Yes.
      12          Q.    And then those comments are people who
      13     presumably said something, whether they agree or
      14     disagree or just want to say something about this
      15     kind of political ad, fair to say?
      16                MR. SUR:     Objection; calls for
      17     speculation.
      18                THE WITNESS:      Yeah.    I don't know what the
      19     nature of the comments are, but your
      20     characterization is probable.
      21          Q.    BY MR. SAUER:      The accounts -- I suppose
      22     you have talked about account takedowns earlier.
      23     If this account that posted this ad is taken down,
      24     do all those comments get taken down with it?
      25                MR. SUR:     Objection; calls for



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        1    speculation.
        2               THE WITNESS:      I don't know.
        3         Q.    BY MR. SAUER:      Oh, so you think that the
        4    comments may stay up with the account gone?
        5         A.    I -- to be honest with you, I do not use
        6    any social media.
        7         Q.    I see.    So you don't know if -- you don't
        8    know if the comments kind of remain floating out on
        9    Twitter when the underlying picture of Hillary
      10     Clinton with black paint on her face is taken down?
      11          A.    I do not know.
      12          Q.    Turning to the next page of your thesis,
      13     Page 30, here in this Subsection a you talk about
      14     "The IRA's Social Media Activities," right?
      15          A.    Correct.
      16          Q.    Okay.    And the "IRA" is the "Internet
      17     Research Agency," right?
      18          A.    In this context, correct.
      19          Q.    Right.    Not in the Ireland separatist
      20     context.
      21                Just generally speaking, can you describe
      22     what the IRA is in this context?
      23                MR. SUR:     Objection; vague.
      24                THE WITNESS:      So in this paragraph I
      25     describe the three lines of activities that I



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        1    observed the IRA doing in terms of malign-influence
        2    campaigns.
        3         Q.    BY MR. SAUER:      Okay.    And the first one
        4    you say is they "made and maintained fake user
        5    accounts and pages on social media platforms that
        6    covered a range of political issues," right?
        7         A.    That is correct.
        8         Q.    And that's a bit like what we have already
        9    been talking about, where they're -- I take it they
      10     are creating fake accounts and pages and trying to
      11     gather American viewers to review and engage with
      12     their content, right?
      13                MR. SUR:     Objection; vague, calls for
      14     speculation.
      15                THE WITNESS:      That is my assessment, yeah.
      16          Q.    BY MR. SAUER:      And it says, "For these
      17     accounts and pages, the IRA employees generated
      18     organic content to ingratiate themselves with
      19     online communities and amplify or steer the themes
      20     discussed in those communities," correct?
      21          A.    Yes, that is what I wrote.
      22          Q.    And they were trying to influence online
      23     conversations involving real American citizens,
      24     right?
      25          A.    That was my assessment and is my



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        1    assessment.
        2         Q.    All right.     So that, I take it, would
        3    involve the kind of active engagement that we
        4    talked about a minute ago:         not just reading what
        5    they say, but maybe reposting it, commenting on it,
        6    you know, and having a higher level of engagement
        7    than just viewing it, right?
        8               MR. SUR:     Objection; compound and calls
        9    for speculation.
      10                THE WITNESS:      That would be my
      11     understanding.
      12          Q.    BY MR. SAUER:      You go on to say,
      13     "Second" -- and this ties back to something I think
      14     you foreshadowed a minute ago -- "IRA employees
      15     used social media bots, i.e., computer programs
      16     which control social media accounts, to amplify
      17     existing content," right?
      18          A.    That is correct.
      19          Q.    What is it to "amplify existing content"?
      20          A.    It is to do the things that you had
      21     mentioned.     Depending on what the social media
      22     platform were, they include things like liking it
      23     or reposting it.
      24          Q.    So social media bots, those are kind of
      25     fake accounts, right, that don't have real human



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        1    beings behind them; is that what that means?
        2         A.    Yes.    They are controlled by computer
        3    programs.
        4         Q.    And so -- and -- and sometimes they will
        5    have, like, a fake picture so it looks like a real
        6    human being; but actually it is just a computer
        7    program, right?
        8         A.    That is correct.
        9         Q.    And so the social media -- I take it the
      10     IRA-generated social media bots to go out there,
      11     find the divisive messages that the IRA wanted to
      12     sort of amplify, and have them engage with those
      13     posts, correct?
      14                MR. SUR:     Objection; compound, calls for
      15     speculation.
      16                THE WITNESS:      I wouldn't say they
      17     generated the bots.       In general, people rent bots.
      18          Q.    BY MR. SAUER:      That's interesting.        How do
      19     you rent a bot?
      20          A.    In the cybersecurity industry, there is a
      21     role called a bot herder, so someone who develops
      22     malicious software and finds unprotected devices
      23     and infects them with malicious software, also
      24     known as malware; and then they will advertise on
      25     the dark web that, you know, you can rent a botnet



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        1    for -- you know, a botnet of a certain size for a
        2    certain amount of money.
        3               And that is what I am assessing the
        4    Internet Research Agency did.
        5         Q.    Got you.     Okay.    So do you know for sure
        6    whether they generated their own or bought them on
        7    the dark web or rented them?
        8         A.    So I'm not -- I'm not sure how they
        9    acquired them.      I was just -- I didn't feel
      10     comfortable saying they generated their own.
      11     Somehow they were able to get control of a botnet
      12     and then use them to amplify.
      13          Q.    And then "amplify," I take it that means
      14     things like liking and reposting and taking steps
      15     like that that make it -- is that fair to say?
      16     It's liking, reposting, stuff like that; is that
      17     right?
      18                MR. SUR:     Objection; vague, calls for
      19     speculation.
      20                THE WITNESS:      Yeah.    That would be my
      21     assessment.
      22          Q.    BY MR. SAUER:      Okay.    And so I take it the
      23     Russian bots go out there and they find the
      24     divisive messages that the Russians want to push,
      25     and then they amplify them by having fake user



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        1    accounts like them or retweet them or repost them
        2    on Facebook, fair to say?
        3         A.    I don't think the bots do that themselves.
        4    The bots don't have any intelligence.            I would -- I
        5    believe that a human being, an actual Internet
        6    Research employee would find divisive content or --
        7    yeah, divisive content or users who had lots of
        8    followers and then deploy the bots to amplify those
        9    users' messages or content.
      10          Q.    And part of this, I take it, is the bots,
      11     the fake accounts, having their own followers,
      12     trying to collect their own real followers, right?
      13          A.    In my experience, the bots typically don't
      14     care how many followers they have.           Their primary
      15     job is to amplify other content.
      16          Q.    I got you.     So in other words, suppose --
      17     and when you say "other content," this is content
      18     that wasn't originated by Russians or the IRA but
      19     is generated by American citizens with views that
      20     the IRA likes or wants to push, right?
      21                MR. SUR:     Objection; vague, calls for
      22     speculation, assumes facts not in evidence.
      23                THE WITNESS:      By "other content," I mean
      24     content not generated by the bots.
      25          Q.    BY MR. SAUER:      And that's because the --



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        1         A.    Because bots -- yeah.        Bots will generate
        2    their own content, but they're -- it is usually
        3    nonsense talk or just, like, random images.              The --
        4    that's what I meant by "other."
        5         Q.    Right.     And then -- I think that -- and
        6    that's what you referred to in the previous
        7    sentence as "organic content," right?
        8         A.    Yeah.    "Organic content," I mean that it
        9    is actually generated by Internet Research Agency
      10     employees.
      11          Q.    Oh, okay.     So "existing content" in this
      12     sentence that I have highlighted is different than
      13     "organic content."       "Existing content" is stuff
      14     that is already out there on the social media
      15     platforms; is it fair to say?
      16          A.    That is correct.
      17          Q.    That would be stuff that can be posted by
      18     other users or come from any other source, but it
      19     is just stuff --
      20          A.    Yeah.
      21          Q.    -- that they like and they want to push
      22     those messages, right?
      23                MR. SUR:     Objection; vague, compound.
      24                THE WITNESS:      Yes.    I mean not generated
      25     by the Internet Research Agency.            That is what I



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        1    mean by "other content."
        2         Q.    BY MR. SAUER:      If a bot that's operated by
        3    the Internet Research Agency were to repost, like,
        4    a -- an American citizen's tweets or Facebook page
        5    and then that bot account were taken down or shut
        6    off, would that reposting or amplification of that
        7    message then go away?
        8               MR. SUR:     Objection; compound and
        9    hypothetical.
      10          Q.    BY MR. SAUER:      If you know.
      11          A.    I don't know.
      12          Q.    Now, then suppose there's John Smith, who
      13     is an American citizen who posts an aggressive,
      14     pro-Second Amendment message.          And the Russian bot
      15     identifies that as something to amplify and
      16     retweets it, and then the Russian bot account is
      17     shut down.     There's an account takedown.          Does that
      18     retweeting of John Smith's pro-Second Amendment
      19     message go away from Twitter if there's no account
      20     there anymore to retweet it?
      21                MR. SUR:     Objection; hypothetical, calls
      22     for speculation, assumes facts not in evidence.
      23          Q.    BY MR. SAUER:      If you know.
      24          A.    Yeah.    I don't know.      I don't know what
      25     happens to the retweet.



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        1               MR. SUR:     Counsel, if I may, are we at a
        2    near or natural breaking point?             We have been in
        3    this session for now approaching one hour and a
        4    little bit past that.        Why don't we take a break
        5    if --
        6               MR. SAUER:     Yeah.    That's -- now is as
        7    good a time as any.
        8               MR. SUR:     Thank you.
        9               THE VIDEOGRAPHER:       Off the record -- off
      10     the record at 10:45 a.m.
      11                    (Whereupon a recess was taken.)
      12                THE VIDEOGRAPHER:       Back on record at 10:58
      13     a.m.
      14          Q.    BY MR. SAUER:      Agent Chan, sticking to
      15     Page 30 of your thesis, I want to direct your
      16     attention to this next sentence, where you say (as
      17     read), "Third, IRA employees covertly purchased
      18     online advertisements from social media companies
      19     to enhance their organic content and drive online
      20     traffic to the sites controlled by them," right?
      21          A.    Yeah.    That is what I wrote.
      22          Q.    Yeah.    And you agree with it, right?
      23          A.    Yes.    You will see the footnote that it
      24     was by Professor Howard, but I agree with it.
      25          Q.    Okay.    And then so the idea is the -- that



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        1    they would purchase ads that would drive traffic by
        2    real people to their -- their sites, basically
        3    their accounts and their websites as well, right?
        4         A.    Yes.    This is in the 2016 election
        5    contest.
        6         Q.    Okay.    So why do you say -- did something
        7    different happen in 2018 and 2020?
        8         A.    Yes.    From my meetings with the companies,
        9    they shared with me that they had changed their
      10     policies to do more intensive validation of people
      11     trying to purchase political advertisements.
      12          Q.    And so it was harder for them to buy ads
      13     basically in the later election cycles?
      14          A.    That is my understanding.
      15          Q.    But either way, the purpose here is for
      16     them to be driving or achieving engagement by real
      17     users, right?
      18                MR. SUR:     Objection; vague, calls for
      19     speculation.
      20                THE WITNESS:      Yes.    I believe the purpose
      21     was for the Internet Research Agency, who are
      22     comprised of Russian citizens, to drive engagement.
      23          Q.    BY MR. SAUER:      Got you.      And if you skip
      24     ahead a couple more pages, to Page 32, do you see
      25     these ads that you've identified in your thesis in



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        1    Figure 3 and Figure 4?
        2         A.    Yes, I see those ads.
        3         Q.    Okay.    And these are, I take it -- you
        4    talk about how they have, like, left-wing content
        5    that's actually designed to -- to depress voter
        6    turnout among minority communities, right?
        7         A.    This was what the research that I reviewed
        8    said.
        9         Q.    Yeah.    And you look at Figure 3 -- well,
      10     let me ask you this.        You talk about the research
      11     you reviewed.      You also are personally involved in
      12     this, quote, in the trenches, right?
      13                MR. SUR:     Objection; vague, misstates the
      14     record.
      15                THE WITNESS:      Can you clarify that
      16     question?
      17          Q.    BY MR. SAUER:      Let me ask this:       Is the
      18     research -- you said this is what your research
      19     indicated.     Is the research in your thesis
      20     consistent with your experience as an FBI agent who
      21     deals with disinformation and
      22     malign-foreign-influence campaigns?
      23          A.    So the research, to include this reporting
      24     from the House Permanent Select Committee on
      25     Intelligence as well as what was conveyed to me by



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        1    the social media companies, was this content.              I
        2    would otherwise not know because -- I mentioned to
        3    you I do not go on any social media platforms
        4    myself.
        5         Q.    So but your understanding, for example, is
        6    Figure 3 is Russian-originated content.             Your
        7    understanding of that is based on information
        8    obtained from the social media platforms or from
        9    other federal government officials, correct?
      10          A.    Yeah.    This information is specifically
      11     from the HPSCI report that I cited in the footnote.
      12          Q.    Got you.     And just looking at this, for
      13     example, in Figure 3 on the right, there's a Black
      14     Matters ad, correct?
      15          A.    Yeah.    "Figure 3.     Facebook Political Ads
      16     Targeting Black voters."
      17          Q.    And that one indicates that 223,799 people
      18     had liked it, right, on Facebook?
      19          A.    Yes.    That is what the image on the right
      20     says.
      21          Q.    And so that would be a high level of
      22     engagement based on what you said earlier, right?
      23          A.    I would not consider 223 views as being
      24     high.
      25          Q.    Oh, is it 223,799?



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        1         A.    No.    This one, the -- I see "223," and
        2    then I see a slash, "99 people like this."
        3         Q.    Oh, is that what that means?          I thought
        4    that was a "7."       So you say -- what is -- do you
        5    know -- how do you read that?          What does that mean?
        6         A.    Yeah.    I read that as 223 viewed it and 99
        7    of those 223 like it.        That is how I interpret
        8    this.
        9         Q.    So that would be a low level of
      10     engagement, correct?
      11          A.    That is how I would personally
      12     characterize it.
      13          Q.    And then below there, in Figure 4 there's
      14     a Secured Borders ad on the left with a "No
      15     Invaders Allowed" sign in front of the border.              Do
      16     you see that one?
      17          A.    Yes.
      18          Q.    In that one, it looks like 134,943 people
      19     liked that, correct?
      20          A.    Yes.
      21          Q.    And if that ad were taken down because it
      22     was identified to be part of a
      23     malign-foreign-influence campaign, all those likes
      24     would disappear from Facebook as well, correct?
      25                MR. SUR:     Objection; calls for



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        1    speculation, assumes facts not in evidence.
        2               THE WITNESS:      Yeah.    I do not know what
        3    happens to the likes if the ad disappears, but I
        4    know that the ad disappears.
        5         Q.    BY MR. SAUER:      Right.    You think that
        6    likes may stay out there, floating in -- floating
        7    in the social media platform, not addressing
        8    anything that's still there?
        9         A.    I don't know.
      10          Q.    Let me ask this:       A like is a way of
      11     expressing --
      12          A.    I don't know what happens.
      13          Q.    A like is a way of expressing approval of
      14     something, right?       It's basically saying "I agree
      15     with this" or "I like it," right?
      16          A.    Yes.    But I don't -- what I'm saying to
      17     you, Mr. Sauer, is I don't know what happens to
      18     those likes.
      19          Q.    The -- but you know that the ad
      20     disappears?
      21          A.    Well, for example, if you're -- if you're
      22     a -- if you're a user --
      23                    (Discussion off the record.)
      24                MR. SUR:     Sorry.    We are having difficulty
      25     hearing you, Mr. Sauer.        It may be a connection



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        1    problem.
        2                    (Discussion off the record.)
        3               MR. SAUER:     Can you hear me now?
        4               MR. SUR:     Yeah, that's better.
        5         Q.    BY MR. SAUER:      Okay.    Go ahead, Mr. Chan.
        6               MR. SUR:     Okay.
        7               THE WITNESS:      So I don't know what
        8    happens.       So, for example, if you were a user and
        9    you like this ad, I don't know, does it stay on
      10     your account?      Or I don't know if it disappears
      11     from your account.       I don't know what happens on
      12     the ad itself.      So I don't know.        I don't know
      13     the -- I don't know the mechanics of how online
      14     advertisements for these platforms work.
      15          Q.    BY MR. SAUER:      If you look at the ad to
      16     the right of that, the pro-Second Amendment ad that
      17     says "Defend the 2nd"?
      18          A.    Yeah.
      19          Q.    And do you see at the bottom it says,
      20     "96,678 people like this"?
      21          A.    Yes.
      22          Q.    Would that be a high level of engagement?
      23          A.    I would characterize that as high.
      24          Q.    And it's your testimony that you don't
      25     know what happens if that ad is pulled down to all



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        1    those likes?
        2         A.    And then --
        3         Q.    Do you think it is going to continue to be
        4    in people's individual feeds?
        5         A.    Yeah, I do not know what happens to the
        6    likes.
        7         Q.    Jumping ahead a couple pages, I think this
        8    is the page that you referred to earlier.             You
        9    talked about how there was a very high level of
      10     engagement by the IRA in -- in 2016, right?
      11          A.    Yes.    Where it says, "The sheer magnitude
      12     of the IRA's social media campaign," that sentence?
      13          Q.    Correct, yeah.
      14          A.    Yeah, yes, that is what I wrote.
      15                MR. SUR:     To clarify for the record, this
      16     is on Page 34 of the thesis?
      17                MR. SAUER:     Yeah.    That would be Page 58
      18     of the PDF.     Indraneel, do you see where we are?
      19                MR. SUR:     Yes, yeah.
      20          Q.    BY MR. SAUER:      It's the bottom paragraph
      21     there.    "The sheer magnitude of the IRA's social
      22     media campaign targeting the United States was
      23     unparalleled in the digital age," right, Mr. Chan?
      24          A.    That was my characterization of it.
      25          Q.    And it -- the research indicated that the



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        1    IRA had uploaded a thousand videos on YouTube.              Do
        2    you know what the level of engagement for those
        3    videos was?
        4         A.    I don't.     And you can see from the
        5    citation that I am citing research done by Renée
        6    DiResta and her team.
        7         Q.    Got you.     And that research indicates that
        8    the IRA had, quote, reached a significant number of
        9    American users:      59 percent on Facebook, 19 percent
      10     on Instagram and two percent on Twitter, right?
      11          A.    That is what Renée DiResta and her team
      12     found.
      13          Q.    So 59 percent.      And this isn't just sort
      14     of bots, she found that specifically as to American
      15     users, in other words, real social media platform
      16     human beings, real people using social media
      17     platforms in America, right?
      18          A.    That is what I recollect.         And this is in
      19     the context of the 2016 elections.
      20          Q.    Correct.     And that -- that's 59 percent of
      21     Americans on Facebook were reached in some way, had
      22     some level of engagement with -- with
      23     IRA-originated content; fair to say?
      24          A.    That is her calculation.
      25          Q.    And you cite it as a reputable source in



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        1    your thesis, right?
        2         A.    Yes, I do.
        3         Q.    And do you know how much of that is --
        4    obviously we talked earlier how there's different
        5    kinds of engagement, like reading, liking,
        6    reposting, reposting with commentary, commenting.
        7    Do you know how much of that is -- that reaching of
        8    American users breaks down into those various
        9    categories?
      10          A.    I do not.     I was not able to find that
      11     level of detail.
      12          Q.    Okay.     Next page.    You've referred to
      13     Table 1 before on Page 35 that points out that 126
      14     million --
      15          A.    Yeah.
      16          Q.    -- American Facebook users were reached in
      17     some way by content, right?
      18          A.    Yes, yeah.     I was able to extract that
      19     from the report.
      20          Q.    Right below that you refer again to "the
      21     second line of effort," where they (as read)
      22     "amplified real user accounts whose identities,
      23     behavior, and content aligned with their strategic
      24     goals," right?
      25          A.    So yes.    You can see I cited the Mueller



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        1    report.    That's special counsel's report.
        2         Q.    And then you go on to cite a Clemson
        3    University study indicating that over 100,000 real
        4    people had their postings amplified by
        5    IRA-controlled social media bots, right?
        6         A.    Yes, that is correct.
        7         Q.    And you don't know what happens to those
        8    amplifications when the bots are detected and shut
        9    down?
      10          A.    I do not.
      11          Q.    I think in the thesis you talk generally
      12     about how there was virtually no reaction by the
      13     social media platforms in the 2016 election cycle
      14     to this Russian activity; is that right?
      15          A.    That is correct.
      16          Q.    But that changed, I take it, in the 2018
      17     and 2020 election cycles, at least to some degree?
      18          A.    That is correct, yes.
      19          Q.    How did it change?
      20          A.    Well, what I was told -- what I was told
      21     by the companies was that they used both technology
      22     as well as human beings to moderate or protect
      23     their platforms.
      24          Q.    Okay.    And then can you break down that
      25     for me?    On the technological side, what did they



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        1    tell you they did?
        2         A.    So they tell me that they used a different
        3    detection method.       The shorthand for that is
        4    algorithms.     But they will not get into any of the
        5    details about the algorithms.          And we have probed
        6    them to ask for details, but it has never been
        7    shared with us.
        8         Q.    What -- you say you probed them to ask
        9    about the details.       What did you ask?
      10          A.    I can't remember exactly, but we would
      11     ask, for example, "What are the parameters that you
      12     use to develop the algorithm?          Or what are the
      13     factors that you use?"        And they would not share
      14     any of that information with us.
      15          Q.    Why did you want to know that?           Did you
      16     want to know -- did you want to ascertain if the
      17     algorithms were effective?         Or why would you ask
      18     them a question like that?
      19          A.    The reason that I would ask that question
      20     is so that we could make sure that we were sharing
      21     the most effective and actionable type of
      22     information with them.
      23          Q.    Explain that to me.        What -- if you know
      24     how their algorithm operates, how does that help
      25     you share actionable information?



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        1         A.    So, for example, if a platform doesn't
        2    need a telephone number for an account, then
        3    providing them with Russian telephone numbers would
        4    not be useful.      Or if providing them with an email
        5    account is not something that the platform saves,
        6    then that would not be useful.          So those are two
        7    examples.
        8         Q.    Uh-huh.    But they just tell you, "We use
        9    algorithms to detect kind of Russian-originated
      10     content," but they tell you nothing about how the
      11     algorithms operate?
      12          A.    That is correct.
      13          Q.    When did these conversations occur?
      14     Did -- where you're asking them about their
      15     algorithms and they are declining to provide
      16     information.     Did they occur in those weekly,
      17     monthly and quarterly meetings we talked about
      18     earlier?
      19          A.    I would characterize it as occurring early
      20     in those quarterly meetings in the 2017 time frame;
      21     and after we asked the different companies and
      22     found that none of them were willing to share in
      23     those earlier meetings, we stopped asking.
      24          Q.    And then you mentioned human -- I think
      25     you mentioned human beings involved in their -- in



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        1    their activities.       Tell us, what did they tell you
        2    about that?
        3         A.    In general, what the companies tell us is
        4    the technology or the algorithms will flag specific
        5    content, and certain content that looks like spam
        6    is, I believe, taken down.
        7               However, if something is flagged that
        8    requires a higher level of decision-making, that is
        9    when it is sent to a content moderator.
      10          Q.    So a human being, a content moderator
      11     would be looking at, like, an account that was
      12     flagged by an algorithm as potentially involving
      13     malign, inauthentic activity and take a closer look
      14     at it?
      15          A.    That is correct.
      16          Q.    Did you discuss with them what standards
      17     their content modulators use to -- to figure that
      18     out, you know, how do they make their judgment
      19     calls?
      20                MR. SUR:     Objection; compound.
      21                THE WITNESS:      So in response to your
      22     question, we would just broadly ask them what their
      23     terms of service or community standards were.
      24          Q.    BY MR. SAUER:      So how do you know that
      25     they have human beings involved in enforcing the --



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        1    reviewing and enforcing the terms of service with
        2    respect to particular content?
        3         A.    Through the discussions that we had at the
        4    meetings.
        5         Q.    And what you have been saying, is this
        6    true of all the -- all the platforms?
        7         A.    I do not know.      I am specifically thinking
        8    of two platforms that use human being content
        9    moderators.
      10          Q.    Which two are those?
      11          A.    I am specifically thinking of Facebook and
      12     YouTube.
      13          Q.    How about Twitter?
      14          A.    I don't know if they use human -- I have
      15     never -- I don't recollect discussing that with
      16     them.
      17          Q.    How about the others?        You mentioned, I
      18     think, Yahoo! and Reddit, Instagram.            Do they use
      19     human content moderators?
      20          A.    I don't recollect discussing that with
      21     them.
      22          Q.    You mentioned their terms of service.            You
      23     know, did you ever discuss with them what their
      24     terms of service are or should be?           Did you ever
      25     make recommendations that they change terms of



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        1    service to make them more effective in addressing
        2    malign-foreign-influence activities?
        3               MR. SUR:     Objection; compound and vague.
        4               THE WITNESS:      I will answer the last part
        5    of your compound question, which is no, we never
        6    told the companies to modify their terms of service
        7    or community standards.
        8         Q.    BY MR. SAUER:      Do you know how they
        9    developed their terms of service or community
      10     standards?
      11          A.    Only from what they discussed with me in
      12     those meetings.
      13          Q.    What did they say to you in those
      14     meetings?
      15          A.    So --
      16                MR. SUR:     Objection; vague.
      17                THE WITNESS:      So in those meetings, we
      18     would not discuss them.        We would ask them, "What
      19     are your terms of service related to detecting
      20     Russian troll accounts?"
      21                And then they would share with us that
      22     the -- the two terms that come up regularly are
      23     "coordinated," which I interpret to mean across
      24     many accounts, and "inauthentic," which means the
      25     user is pretending to be someone they are not.



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        1               And so those were the two primary
        2    terms-of-service violations that I remember being
        3    discussed.
        4         Q.    BY MR. SAUER:      What does "coordinated"
        5    mean?
        6         A.    Like, as I mentioned before, it was
        7    activities across multiple accounts, the -- similar
        8    activities across multiple accounts.
        9         Q.    How does that violate terms of service?
      10          A.    So in the cybersecurity context, you will
      11     have a botnet that will push ads, for example,
      12     Canadian pharmacy ads, to hundreds and thousands of
      13     users.    That is coordinated behavior.          That is
      14     illegal.       Because if you wanted to push ads on a
      15     platform, typically you have to purchase online
      16     advertising.
      17          Q.    Okay.     Got you.    And then what was the
      18     second category you mentioned of provisions of
      19     terms of service that these activities would
      20     violate?
      21          A.    Inauthentic.
      22          Q.    Yeah.     And what is -- what is inauthentic?
      23          A.    Inauthentic is a user pretending to be
      24     someone they are not.
      25          Q.    And I take it that you got that in these



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        1    Russian malign-foreign-influence activities, right?
        2         A.     Yes.
        3         Q.     We have been talking about Russia
        4    principally because that's your thesis, but do
        5    other countries try and do these kinds of
        6    disinformation malign operations on social media
        7    platforms as well?
        8                MR. SUR:    Objection; vague.
        9                THE WITNESS:     Yes.
      10          Q.     BY MR. SAUER:     What countries are involved
      11     in them?
      12          A.    The two countries that we focus on are
      13     China and Iran, outside of Russia.
      14          Q.     Are there any others?
      15          A.    Not to --
      16                MR. SUR:     Objection; Counsel, we're at the
      17     law enforcement privilege.
      18                MR. SAUER:     I am going to withdraw the
      19     question.      I don't concede the privilege applies,
      20     but I will withdraw the question if you guys --
      21     yeah.
      22          Q.     Just generally speaking, you mentioned,
      23     say, Iran and China and, frankly, they are also
      24     referred to in your publicly-available thesis.              Are
      25     the sorts of activities that they engage in similar



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        1    to what Russia does, you know, in the -- the way of
        2    generating fake accounts, generating inauthentic
        3    content and trying to get Americans to interact
        4    with it?
        5               MR. SUR:     Objection; vague and compound.
        6               THE WITNESS:      In my experience, the
        7    Chinese state-sponsored activity and the Iranian
        8    state-sponsored activity share similarities to the
        9    Russian state-sponsored activities.
      10          Q.    BY MR. SAUER:      We were talking -- moving
      11     back to what we were talking about a minute ago,
      12     you talked about how there are two general
      13     categories of content-modulation policies --
      14     coordinated activity and inauthentic activity --
      15     that get cited most frequently to remove this
      16     content; is that right?
      17          A.    In my personal experience, yes.
      18          Q.    And your personal experience is based on
      19     these meetings and conversations with
      20     representatives of the social media platforms,
      21     correct?
      22          A.    That is correct.       You broke up on me, but
      23     I believe that is correct.
      24          Q.    I'm -- I'm sorry.       Again, you can't hear.
      25     I am hearing you fine.        Can you hear me okay?



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        1         A.    Now I can.
        2         Q.    Okay.    Let me ask you this:        Do they --
        3    when you have these information exchanges, you
        4    provide the social media platforms with tactical
        5    information, which includes -- you know, identifies
        6    specific accounts and user -- or not users, but
        7    specific accounts and URLs that you have concluded
        8    are Russian-originated, right?
        9         A.    Can you repeat the question?          You have
      10     been breaking up on me.
      11                MR. SAUER:     Should we go off the record?
      12                THE VIDEOGRAPHER:       Off the record at 11:22
      13     a.m.
      14                    (Whereupon a recess was taken.)
      15                THE VIDEOGRAPHER:       We are back on record
      16     at 11:27 a.m.
      17          Q.    BY MR. SAUER:      Agent Chan, circling back
      18     to where we were a moment ago, I wanted to ask you,
      19     when you have these information sharing sessions
      20     with various social media platforms, you testified
      21     earlier that you give them tactical information,
      22     right?
      23          A.    Yes.
      24          Q.    Yeah.    And tactical information includes
      25     identifying specific social media accounts and URLs



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        1    and things of that nature, right?
        2         A.    Yes.
        3         Q.    Yeah.    How often has that happened?          I
        4    know in your thesis you refer to four
        5    publicly-available instances where there was that
        6    kind of information sharing.          How often does it
        7    happen that the FBI will give a list of specific
        8    tactical information for the social media platforms
        9    to consider?
      10                MR. SUR:     I am going to object on the
      11     basis of the law enforcement privilege.             And you
      12     can answer without -- insofar as you can without
      13     disclosing any particular investigation.
      14          Q.    BY MR. SAUER:      Yeah, I don't want to know
      15     any particular URL, but just generally how often
      16     does that happen?
      17          A.    I would say in general it happens between,
      18     I don't know, one to five times per month.
      19          Q.    Okay.    And then how many --
      20          A.    From different investigations.
      21          Q.    Oh, got you.      Okay.    And then how -- and
      22     does this actually occur at these meetings we've
      23     talked about, or are there separate communications
      24     where you pick up the phone and call the site
      25     integrity people and tell them, "Here are some bad



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        1    URLs"?
        2         A.    So --
        3               MR. SUR:     Objection; mischaracterizes the
        4    record, compound.
        5         Q.    BY MR. SAUER:      If you know.
        6         A.    From my understanding of your question, we
        7    will typically share information either right
        8    before or after one of our quarterly meetings.
        9    That is pretty standard.         Otherwise we will just
      10     share information from different investigations as
      11     deemed appropriate by the field offices running the
      12     investigations and FBI headquarters.
      13          Q.    So -- so it would be both, I take it,
      14     there would be -- in every quarterly meeting you
      15     might identify -- or you do identify tactical
      16     information about foreign-originated URLs and user
      17     accounts, correct?
      18          A.    I don't know if it happens at every single
      19     quarterly meeting, but I would say most of them.
      20          Q.    And then -- and then apart from the
      21     quarterly meetings, I think you said one to five
      22     times a month there would be a communication of
      23     that nature through another channel, right?
      24          A.    Correct.     What I would typically do is
      25     send an email to the recipients at the companies



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        1    and inform them that I would be using a secure file
        2    transfer application within the FBI that is called
        3    Teleporter.     And then the reason I would send them
        4    a heads-up email is because the Teleporter email
        5    with a link looks like spam, so I don't want them
        6    to think it's spam.
        7         Q.    Okay.    And that Teleporter email, if they
        8    open it, contains tactical information for them to
        9    consider, right?
      10          A.    The Teleporter email contains a link for
      11     them to securely download the files from the FBI.
      12          Q.    And the files contain tactical information
      13     that identifies malign foreign-originated URLs and
      14     social media accounts and things like that, right?
      15          A.    Yeah, different types of indicators.
      16          Q.    When you say "different types of
      17     indicators," indicators, I think you said earlier,
      18     refer to those specific URLs and social media
      19     accounts, right?
      20          A.    Yeah.    Those are two of them, but they
      21     also apply to IP addresses, email accounts.              You
      22     had just mentioned two of the types of indicators,
      23     but I wanted to reiterate that there are a broad
      24     range of indicators that we share.
      25          Q.    Does that Teleporter communication explain



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        1    and -- provide an explanation of the FBI's basis
        2    for thinking that those are bad accounts or bad
        3    indicators?
        4         A.     In general it will typically provide a
        5    very short summary, maybe a sentence or two, that
        6    will say, "We assess that these accounts are being
        7    controlled by the Internet Research Agency," and
        8    then provide a list of accounts, or "We assess this
        9    IP address is being used exclusively by the
       10    Internet Research Agency from this time period to
       11    that time period."        That is a typical type of
       12    information sharing.
       13         Q.     Typically how many accounts or URLs or
       14    other indicators would be identified in a
       15    communication like this?
       16         A.     It varies from one account or one selector
       17    to many, like a whole spreadsheet full of them.
       18         Q.     Can you estimate -- for example, in 2022,
       19    can you estimate how many specific indicators have
       20    been flagged for social media companies?
       21         A.     I can't really estimate that number.            I
       22    can estimate that during 2020 I shared information
       23    with the companies between one to five or one to
       24    six times per month.
       25         Q.     And you -- and they -- and there could be



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        1    anywhere from one to a very large number, a whole
        2    spreadsheet full of indicators that you'd be
        3    flagging, fair to say?
        4         A.     That is fair.      And when I say "large,"
        5    maybe hundreds, but not thousands.             I don't ever
        6    recollect anything in the thousands, but maybe
        7    hundreds.
        8         Q.     And then -- and that happened one to five
        9    times a month in 2020, correct?
       10         A.     Yes.
       11         Q.     How about in 2022, did it also happen that
       12    frequently?
       13         A.     In my recollection, maybe one to four
       14    times a month.
       15         Q.     And then there would be a similar range of
       16    the number of indicators flagged in each incident?
       17         A.     I would say for the 2022 cycle, that we
       18    would not have in the hundreds.             At the most it
       19    would be in the -- in the tens, in the dozens.
       20         Q.     And do you send these out to all the
       21    social media platforms?         I think you mentioned
       22    seven or eight that you regularly meet with.              And
       23    do they all get these Teleporter communications
       24    flagging bad indicators for them?
       25         A.     I would --



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        1                MR. SUR:    Objection; mischaracterizes the
        2    record, vague.
        3                THE WITNESS:     I would say in general that
        4    the companies I mentioned to you before would
        5    receive these.
        6                However, there would be some occasions
        7    that it would be company-specific information that
        8    we would not share across all the companies that I
        9    previously mentioned.
       10         Q.     BY MR. SAUER:      So sometimes it would
       11    relate to all of them; sometimes it might be just a
       12    Facebook issue or a Twitter issue or something like
       13    that, fair to say?
       14         A.     I would say most of the time we would
       15    share with that list of companies, and a few of the
       16    times we would share with just one company or two
       17    companies.
       18         Q.     Okay.   Do you ask them to kind of report
       19    back to you on whether they take any action on
       20    those?
       21                MR. SUR:    Objection; vague.
       22                THE WITNESS:     The typical language we
       23    would use is, "We would appreciate any information
       24    you're able to share back with us about this
       25    information and if you were to take any actions



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        1    based on this information."
        2         Q.     BY MR. SAUER:      And do they typically
        3    comply with that request?
        4                MR. SUR:    Objection; vague.
        5                THE WITNESS:     I would say sometimes.
        6    Some -- I would say at every quarterly meeting we
        7    try to follow up to ask if information we shared
        8    has been relevant if we have not received a
        9    response yet.
       10                However, the companies either say they
       11    don't have anything additional to share or they do
       12    not find anything based on the information we
       13    shared.
       14         Q.     BY MR. SAUER:      So sometimes they'll report
       15    back and say, "Hey, thanks for providing this
       16    information.      We've taken down some of the
       17    accounts," or something like that?            That happens
       18    sometimes, you say?
       19         A.     That is correct.      And when it happens,
       20    we -- I will document it, and the reason for that
       21    is because that helps us fine-tune the information
       22    that we're sharing.
       23         Q.     Uh-huh.    And then I take it sometimes they
       24    just -- they don't tell you what they did with it,
       25    right?



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        1         A.     That is correct.
        2         Q.     But then every -- I take it at every
        3    quarterly or monthly meeting, you usually follow up
        4    and ask them, "Hey, did you take any actions on
        5    these reports we made," right?
        6         A.     We try to at quarterly meetings.
        7         Q.     Right.     And I take it they don't always
        8    answer that question, fair to say?
        9         A.     They will always respond, but they will
       10    say, "Sorry.      We don't have anything to share."
       11         Q.     Okay.    And do you know why they are
       12    reluctant to tell you whether they took things down
       13    or not?
       14                MR. SUR:     Objection; vague, calls for
       15    speculation, mischaracterizes the record.
       16                THE WITNESS:      I don't know why -- I focus
       17    on when they do let us know about actions that
       18    they've taken.
       19         Q.     BY MR. SAUER:      When you say you focus on
       20    that, what do you do with that information?
       21         A.     I document it, and then I relay it back to
       22    the field office, where it gets logged where that
       23    information came from.
       24         Q.     Do essentially all these communications
       25    kind of pass through you because you are the



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        1    relevant field officer in San Francisco, where
        2    these companies are located?
        3         A.     I would say I'm one of the primary people
        4    with pass-through information.           However, we have
        5    agents on the different cyber squads and our
        6    private sector-engagement squad who also relay
        7    information to the companies.
        8         Q.     Who are those agents who relay this kind
        9    of information about a sort of problematic content
       10    on their platforms to social media?
       11                   (Discussion off the record.)
       12                   (Reporter read back as requested.)
       13                THE WITNESS:     So the question is:        Who are
       14    these agents who do that?         I would say for that
       15    sort of information it is not specifically about,
       16    quote, problematic content.          It is specifically
       17    about cyber investigations, which are different
       18    from malign-influence investigations.
       19         Q.     BY MR. SAUER:      Let me rephrase the
       20    question.      Focusing on disinformation and
       21    malign-foreign-influence operations, are there any
       22    other FBI officials besides yourself who are
       23    involved in communicating those kinds of concerns
       24    to social media platforms outside the context of
       25    the quarterly meetings you've talked about?



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        1         A.     Yes.   I have squad supervisors who are
        2    GS-14-level employees who share information to the
        3    companies as well.
        4                MR. SUR:    I'm sorry to interrupt.         The
        5    videographer is suggesting that we go off the
        6    record for technical reasons.
        7                THE VIDEOGRAPHER:       We're off the record at
        8    11:40 a.m.
        9                   (Whereupon a recess was taken.)
       10                THE VIDEOGRAPHER:       Back on the record at
       11    11:43 a.m.
       12         Q.     BY MR. SAUER:      Mr. Chan, I think you were
       13    saying you have two GS-14 officials who also
       14    communicate with social media platforms about
       15    disinformation, correct?
       16         A.     That is correct.
       17         Q.     Are those people who report to you in the
       18    San Francisco office?
       19         A.     They report to me directly.
       20         Q.     Other than those individuals, are there
       21    any other FBI officials who, to your knowledge,
       22    communicate with social media platforms about
       23    disinformation?
       24         A.     Yes.   The agents on those two supervisors'
       25    squads.



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        1         Q.     And -- I'm sorry.       What are the two
        2    supervisors' squads?        Are they located in San
        3    Francisco?
        4         A.     Yes, they are.      They are located in the
        5    San Francisco field office.
        6         Q.     Are those agents that also report to you
        7    as the ASAC?
        8         A.     That is correct.      They report to the
        9    supervisors, who report directly to me.
       10         Q.     And those supervisors are the GS-14s that
       11    you just talked about, right?
       12         A.     That is correct.
       13         Q.     How about outside the San Francisco field
       14    office, are you aware of -- well, just a second.
       15    How many agents are we talking about there in total
       16    who engage in these communications with social
       17    media platforms about disinformation from the San
       18    Francisco field office?
       19         A.     I would say the two supervisors that I
       20    already mentioned and four agents on one squad and
       21    another agent on another squad.
       22         Q.     What kinds of communications do they have?
       23    Do they just send the Teleporter links, or do they
       24    get on the phone and talk to social media
       25    platforms?     What's the nature of their



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        1    communication?
        2         A.     So both of the things that you said.            So
        3    they will give them a heads-up if they need to
        4    relay information through Teleporter; and both of
        5    those squads have active investigations where they
        6    share unclassified, strategic-level information
        7    with the companies.
        8         Q.     So they would share both strategic and
        9    tactical information?
       10         A.     That is correct.
       11         Q.     And then would they be involved in
       12    following up to find out if their -- the tactical
       13    information was acted on?
       14         A.     Yes, they would.
       15         Q.     So and that might apply to you, the two
       16    GS-14s and the six field agents on the two squads
       17    you referred to?
       18         A.     Yes, that is correct.
       19         Q.     Okay.   Then how about outside the San
       20    Francisco field office?         Are you aware of any other
       21    agents who -- are you aware of any other FBI
       22    officials who communicate with social media
       23    platforms about disinformation?
       24         A.     So I am only aware of the FBI officials or
       25    employees who we invite to provide briefings at the



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        1    quarterly meetings.
        2         Q.     Okay.   So that includes people who -- at
        3    FITF in Washington, D.C.?
        4         A.     That's correct.
        5         Q.     Is Laura Dehmlow -- she's the head of
        6    FITF, right?
        7         A.     Currently she's the section chief and head
        8    of the FITF.
        9         Q.     And does she come to all of those
       10    meetings?
       11         A.     I would say in the 2020 election cycle she
       12    had not been promoted yet and she was the unit
       13    chief for the China unit, and I would say she
       14    attended most of those quarterly meetings.
       15                Since she has been promoted to be the head
       16    of the FITF, she has not attended as frequently.               I
       17    believe she's only attended one set of meetings
       18    this year.
       19         Q.     What level of people do attend?          You know,
       20    what sorts of people attend those meetings?
       21         A.     So Laura Dehmlow would be the
       22    highest-ranking FBI official to attend.             She is the
       23    SES level.     I would be the second-highest-level
       24    attendee, as a GS-15.        And then everyone else would
       25    be below my grade, ranging from GS-14s to perhaps



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        1    GS-10 agents.
        2         Q.     How long do these meetings last typically?
        3         A.     We like to keep a tight agenda, and so it
        4    will typically last one hour.
        5         Q.     And about how many people would attend on
        6    the FBI side -- or do attend on the FBI side?
        7         A.     I would say from the Foreign Influence
        8    Task Force, between three to ten.           However,
        9    typically only one to two people from each of the
       10    three units speaks.        And then we would usually have
       11    one field office comprised of two
       12    representatives -- between one to three field
       13    offices attend.       So one to two representatives from
       14    each of those field offices.
       15         Q.     So I can't do that math in my head, but it
       16    is north of ten frequently?
       17         A.     Yeah.   If you do the math, it could be as
       18    high as a dozen.
       19         Q.     And then how many people typically attend
       20    on the social media platform side?
       21         A.     I would say a similar amount.          For the --
       22    I'm sorry.     I would say for the three larger
       23    companies -- specifically Google/YouTube, Facebook
       24    and Twitter -- it would be equal numbers or higher
       25    numbers than the FBI.



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        1         Q.     When you provide tactical information to
        2    the social media platforms -- in other words, lists
        3    of social media accounts, URLs and other things of
        4    that nature -- how do you verify that those
        5    actually are inauthentic accounts and not actual
        6    real accounts by real people?
        7                MR. SUR:    Objection; implicates the law
        8    enforcement privilege.
        9                I will ask that the witness answer only in
       10    generalities without disclosing the details of any
       11    particular investigation.
       12                THE WITNESS:     Understood.
       13                So there are -- the FBI, as the lead law
       14    enforcement agency and domestic security agency for
       15    the federal government has two types of
       16    authorities.      One, which you're very familiar with,
       17    Title 18 criminal authorities and all that
       18    entails -- subpoenas, search warrants, 2703(d)
       19    orders -- is one way that we acquire information
       20    for investigations.
       21                On the national security side, we have
       22    Title 50 authorities and then the authorities from
       23    the Foreign Intelligence Surveillance Act, from
       24    the -- from the PATRIOT Act, from Executive Order
       25    12333 that allows us to gather national security



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        1    intelligence.
        2                And so broadly we are able to use both
        3    types of techniques to gather the intelligence that
        4    we need to -- and then there is a -- in the case of
        5    the national security side, there is a
        6    declassification process that has to take place
        7    before we are allowed to share information with the
        8    social media companies.
        9         Q.     BY MR. SAUER:      Let me ask you this:       You
       10    had cited an example earlier where, for example, a
       11    Teleporter message was sent with a spreadsheet with
       12    hundreds of accounts back in 2020.            Do you remember
       13    talking about that?
       14         A.     Yes.
       15         Q.     How sure are you that every single one of
       16    those accounts is actually an inauthentic kind of
       17    Russian-originated account as opposed to, you know,
       18    actually a real account of somebody who's got a
       19    Facebook or Twitter or YouTube account?
       20                MR. SUR:    Objection; compound.
       21                THE WITNESS:     Within the U.S. intelligence
       22    committee, as you're familiar, there are different
       23    levels of confidence in terms of the information
       24    that, you know, we are reviewing in a product.               And
       25    we only share information that we have high



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        1    confidence that is attributed to a foreign-state
        2    actor.
        3         Q.     BY MR. SAUER:      Is "high confidence" always
        4    correct or usually correct, in your experience?
        5         A.     In my experience, it has always been
        6    correct.
        7         Q.     So anything for the --
        8         A.     For the selectors that we are providing.
        9    I do not remember an instance where we have
       10    provided selectors where any of the social media
       11    companies have said, "Elvis, this is actually
       12    U.S.-person information."
       13         Q.     So you are not aware of ever getting
       14    feedback from them where they said you guys
       15    accidentally identified real users?
       16         A.     That is correct.
       17         Q.     Do they always tell you -- let me ask you
       18    this:     How many of the ones that you flag do they
       19    take down?
       20         A.     I couldn't even estimate that number.
       21         Q.     How about as a percentage?
       22         A.     I couldn't even estimate.         And let me --
       23    let me tell you part of the reason is because we
       24    may share, for example, one account with them, but
       25    then they may find ten connected accounts and take



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        1    all of them down.        And they don't always tell us
        2    when -- you know, how many accounts were taken
        3    down.     Sometimes they will tell us.         Sometimes they
        4    will tell us, "Thank you, Elvis.             We were able to
        5    detect this information and took all of the
        6    accounts down."        And when we ask for the specifics,
        7    they don't necessarily tell us all the time.
        8         Q.     Right.     Okay.    But it sounds like
        9    sometimes your reports lead to more takedowns than
       10    the accounts you have -- you flagged, fair to say?
       11         A.     That is correct.
       12         Q.     How confident are you that they are not,
       13    you know, kind of making mistakes in taking down
       14    real user accounts?
       15                MR. SUR:     Objection; calls for
       16    speculation, lacks foundation.
       17                THE WITNESS:       So this is just my personal
       18    opinion, obviously not based on being able to see
       19    any of their data.        In my experience, they take
       20    account takedowns very seriously because this
       21    affects their bottom line.
       22                So no social media company wants to take
       23    down a large number of accounts, because one of the
       24    things they base their ad sales on is how many
       25    users are on their platform.           So in my opinion,



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        1    they take it very seriously.          And I would say that
        2    to the best of their ability, they are very careful
        3    before doing account takedowns.
        4         Q.     BY MR. SAUER:      I think that ties back into
        5    something you said earlier, which was in 2016 they
        6    really didn't do any account takedowns, fair to
        7    say?
        8         A.     That is correct.
        9         Q.     And it -- and I take it they may have had
       10    a -- I -- we may be speculating here, if you know.
       11    Do you know if that was because they have a
       12    financial incentive to leave those accounts up
       13    because it increases their ad revenues?
       14                MR. SUR:    Objection; calls for
       15    speculation.
       16                THE WITNESS:     I wouldn't even begin to
       17    speculate.     I don't know why.
       18         Q.     BY MR. SAUER:      Let me ask you this:       Why
       19    did things change, in your view?            I take it in 2018
       20    and 2020 there were many more account takedowns,
       21    right?
       22         A.     So there are two parts to your question.
       23    Why do I think they did it?          I can provide you with
       24    my personal opinion.
       25         Q.     Okay.



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        1          A.    My -- I believe pressure from Congress,
        2    specifically HPSCI and SSCI, may have had a part of
        3    it.
        4                And then also because I believe that they
        5    felt that this may have damaged their brands, but
        6    that is my personal opinion.
        7          Q.    Okay.   Well, let me ask you this:          When
        8    you say "pressure from Congress" and you mentioned
        9    HPSCI and SSCI, what are HPSCI and SSCI?             Are
       10    those -- are those committees?
       11          A.    I'm sorry.     HPSCI is the -- the House
       12    Permanent Select Committee on Intelligence.              And
       13    SSCI is the Senate Select Committee on
       14    Intelligence.
       15          Q.    Starting with the House Permanent Select
       16    Committee on Intelligence, what kind of pressure
       17    did they put on the social media platforms to, you
       18    know, engage more aggressively in account
       19    takedowns?
       20          A.    They compelled -- I don't know if they
       21    compelled.     They requested the CEOs for the
       22    companies that I mentioned, the -- to testify in
       23    front of their committee.
       24          Q.    And so they kind of brought in Mark
       25    Zuckerberg and Jack Dorsey and Sundar Pichai and



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        1    had them testify in front of Congress?
        2         A.     That is correct.
        3         Q.     And that happened -- that happened once or
        4    it happened multiple times?
        5         A.     To my knowledge, that happened more than
        6    once.
        7         Q.     And you believe that that -- that that
        8    kind of scrutiny and public pressure from Congress,
        9    in your view, motivated them to be more aggressive
       10    in the account takedowns?
       11                MR. SUR:    Objection; lacks foundation,
       12    calls for speculation.
       13                THE WITNESS:     That is just my personal
       14    opinion.
       15         Q.     BY MR. SAUER:      Yeah.   What is the basis
       16    for your opinion?       Has anyone at a social media
       17    platform ever made a comment to you that would
       18    reflect that -- that view?
       19         A.     I would say yes.      And the types of
       20    comments that I have received are that staffers
       21    from both of those committees have visited with
       22    those companies.       And while they would not reveal
       23    the types of discussions that they had with these
       24    House and Senate staffers, they would indicate that
       25    they had to prepare very thoroughly for these types



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        1    of meetings and that it was -- they indicated that
        2    it felt like a lot of pressure.
        3         Q.     "They" is representatives of social media
        4    platforms?
        5         A.     Yeah.   The social media companies that
        6    were visited.
        7         Q.     What -- what social media companies were
        8    visited by these HPSCI and SSCI staffers?
        9         A.     To my knowledge, it was the three
       10    companies that I've mentioned, which include
       11    Facebook, Google and Twitter.
       12         Q.     And Facebook, Google and -- Facebook,
       13    Google and Twitter employees all told you that they
       14    experienced these visits from congressional
       15    staffers as exercising a lot of pressure on them?
       16         A.     That was how I interpreted their comments.
       17         Q.     And then you infer from that that their
       18    changes in takedown policies resulted from that
       19    kind of pressure from Congress?
       20         A.     That is my personal opinion.
       21                If I can add, I think some of -- some of
       22    what was discussed -- I'm interpreting what -- some
       23    of what was discussed.         But what the -- the
       24    staffers would come and talk to us either before or
       25    after they met with those three companies.              And so



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        1    what was discussed with us was legislation that
        2    they were thinking about doing, and them asking for
        3    our opinion.
        4         Q.     Uh-huh.    When you say "legislation that
        5    they were thinking about doing," what do you mean?
        6         A.     Legislation that either HPSCI or SSCI was
        7    thinking about doing.
        8         Q.     So HPSCI and SSCI, these committees on
        9    intelligence, their staffers would be communicating
       10    to the social media platforms Facebook, Twitter and
       11    Google or YouTube that they intended to try and
       12    pass legislation?
       13         A.     So I inferred that because that is what
       14    they discussed with me personally.
       15         Q.     That is what they, the social media
       16    platforms, discussed with you, correct?
       17         A.     No, no.    That is what HPSCI and SSCI
       18    discussed with me when they were coming to these
       19    meetings.
       20         Q.     Oh, did you -- were you in on these
       21    meetings?      Like, were you included in the meetings
       22    with the congressional staffers?
       23         A.     So I and FBI San Francisco personnel would
       24    meet with the congressional staffers, typically
       25    before they met or after they met with the social



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        1    media companies.       And the reason for that is
        2    because they wanted an FBI opinion about what they
        3    had heard from the social media companies.
        4         Q.     I got you.     What did they -- first of all,
        5    when did these meetings occur?           Was this in 2017,
        6    2018, 2019, 2020?       What time frame?
        7         A.     I can't recollect, but I do -- they felt
        8    like an annual occurrence after -- after 2017.
        9         Q.     And the congressional staffers would tell
       10    you in advance, "We're going to meet with the
       11    social media companies and -- and tell them about
       12    legislation we want to advance," correct?
       13         A.     No.
       14         Q.     I'm sorry.
       15         A.     What they would say -- what they would say
       16    is they would tell us, "We plan to meet with these
       17    three companies, and what have you been doing with
       18    these three companies?"
       19                And then we would share, like, the cases
       20    or -- that we would be working on, but we would be
       21    in a classified setting.         So we would be able to
       22    speak more freely about the types of investigations
       23    that were the most prominent or the most active on
       24    our side, that they were either -- their -- their
       25    platforms were impacted at some point.             That is --



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        1    would be the nature of our discussion with the
        2    staffers.
        3                But I would not meet with the staffers and
        4    the social media companies.          The staffers had
        5    separate meetings with each of the companies.
        6         Q.     Okay.   And then after those meetings, the
        7    staffers would come to you and ask your opinion
        8    about potential legislation?
        9         A.     That is correct.
       10         Q.     What sort of legislation?
       11                MR. SUR:    I am going to object.        The
       12    deliberative process privilege extends not just to
       13    the executive branch, but all sorts of executive
       14    communications within the government.
       15                So if you can answer at a level of
       16    generality that avoids disclosing the
       17    particularities of any deliberations.             If you -- if
       18    you cannot, then I instruct you not to answer.
       19                THE WITNESS:     I cannot discuss it in
       20    general terms.
       21         Q.     BY MR. SAUER:      Okay.   Well, let me ask you
       22    this just generally.        Did the legislation relate to
       23    Section 230 of the Communications Decency Act?
       24                MR. SUR:    I am going to stand by the same
       25    objection on the grounds of deliberative process



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        1    privilege.
        2                MR. SAUER:     The deliberative process
        3    privilege does not apply, quote, when there is any
        4    reason to believe that government misconduct has
        5    occurred.      The judge by ordering this deposition
        6    has already concluded there's potential First
        7    Amendment violations in this case that need to be
        8    explored, so the privilege does not apply.
        9                MR. SUR:    We are at the -- at the pleading
       10    stage on the First Amendment violations, and the
       11    judge has not ruled on any particular privilege
       12    question.      So I will continue to assert and ask
       13    that the witness not answer the question on the
       14    grounds of the deliberative process privilege.
       15         Q.     BY MR. SAUER:      Let me ask you this:       The
       16    social media platforms talk to you -- people on the
       17    social media platforms talk to you as well, right?
       18         A.     Yes.   I talk with the social media
       19    platform personnel regularly.
       20         Q.     And I think you'd said earlier that they
       21    had kind of just made statements to you that
       22    indicated that they felt that these meetings, these
       23    annual meetings with congressional staffers put a
       24    lot of pressure on them, right?
       25         A.     That was my interpretation of their



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        1    comments.      I don't recollect any of them using the
        2    specific word "pressure," but that was how I
        3    interpreted our conversations.
        4         Q.     What congressional staffers were involved
        5    in these meetings?
        6         A.     They would be senior-level staffers.            I'm
        7    sorry.    I can't remember any of their names.            But
        8    typically it would be -- the delegation would
        9    include a senior-level staffer, I think a
       10    director-level; and then one of their attorneys,
       11    like the committee counsel or a senior counsel for
       12    the committee; and then there would be one to two
       13    other, like, line-level staffers.
       14         Q.     So there would be maybe three to five
       15    staffers total who would come to the meetings?
       16         A.     That is correct.
       17         Q.     Do you know who at the three social media
       18    platforms you referred to attended the meetings?
       19         A.     So I was told by the staffers that they
       20    met with Facebook, Google and Twitter.
       21         Q.     But then you actually talked to some
       22    people from Facebook, Google and Twitter who were
       23    at those meetings, right?
       24         A.     Yes.
       25         Q.     Who were they for Facebook, for starters?



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        1         A.     For Facebook, I would typically talk to
        2    Steven Siegel.      He's a -- a director on their
        3    attorney side.
        4         Q.     Anyone else at Facebook that was involved
        5    in the meetings with congressional staffers?
        6         A.     He would be the one that I would talk to
        7    about that.
        8         Q.     And he -- for some --
        9         A.     That's what I recollect.
       10         Q.     And specifically he was involved in those
       11    meetings, right?
       12         A.     He led me to believe that he was involved
       13    in those meetings.        Probably not just him.
       14         Q.     How about -- how about Twitter, what -- do
       15    you know who at Twitter was involved in those
       16    meetings?
       17         A.     I would have discussions with Yoel Roth or
       18    Angela Sherrer.
       19         Q.     How do you spell "Angela Sherrer"?
       20         A.     Angela, common spelling; Sherrer,
       21    S-h-e-r-r-e-r.
       22         Q.     Anyone else?
       23         A.     She is no longer -- she's no longer -- or
       24    neither of them are at Twitter anymore.
       25         Q.     Okay.   There's some turnover there?



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        1         A.     Yes.
        2         Q.     Anyone else at Twitter?
        3         A.     Those would be the two senior officials
        4    that I am aware of.
        5         Q.     How about Google?
        6         A.     I would say in my experience it would be
        7    Richard Salgado.
        8         Q.     Anyone else besides Richard Salgado?
        9         A.     I believe on some occasions Shane Huntley
       10    would attend.
       11         Q.     Anyone else at Google?
       12         A.     I can't recollect at this time, but those
       13    would be the two most senior officials attending
       14    those types of meetings.
       15         Q.     Let me ask you this:       Connecting these two
       16    things, did you observe that after those meetings
       17    where the congressional staffers came out and met
       18    with Facebook, Twitter and YouTube; that Facebook,
       19    Twitter and YouTube changed their practices and
       20    became more active in account takedowns?
       21         A.     No.    I would not connect those two events.
       22    What I would say is after 2016 -- at the end of
       23    2016 and the beginning of 2017, after those initial
       24    congressional hearings, and even prior to those
       25    congressional hearings, in my experience, the



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        1    companies did not seem to be aware of the
        2    activities going on on other platforms.             But after
        3    they became aware, they became much more active in
        4    trying to combat it.
        5         Q.     I am going to pull up your thesis again,
        6    and hopefully it won't cause audio problems.              Can
        7    you see that?
        8         A.     Can you let us know what page you're on?
        9         Q.     Yeah.   This is on Page 42.        See down
       10    there, that's Page 42?         And then that would be Page
       11    66 of the PDF.
       12         A.     Okay.   I can see one whole paragraph and
       13    parts of two paragraphs.
       14         Q.     Can you see here at the top of the page
       15    where you refer to the "Internet Research Agency's
       16    influence campaign in 2016"?
       17         A.     Yes.
       18         Q.     And then you say that the "companies
       19    allowed the IRA free rein to achieve the relevant
       20    elements of the Kartapolov Framework" in 2016,
       21    right?
       22         A.     Yeah.   That is how I characterize that.
       23         Q.     And that's a reference to, you know, "free
       24    rein," that is engaging in no takedown activity at
       25    all, but letting the Russian inauthentic content be



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        1    freely disseminated on their platforms, right?
        2         A.     That is correct.
        3         Q.     And then you go on to say, "However, later
        4    on, intense pressure from U.S. lawmakers and the
        5    media would eventually force the social media
        6    companies to examine what had taken place on their
        7    platforms and strive to ensure it did not happen in
        8    the future," right?
        9         A.     Yeah.    I wrote that.     And you can see that
       10    the footnote says I am referencing the HPSCI
       11    "Report on Russian Active Measures."
       12         Q.     So you're actually referencing HPSCI, the
       13    congressional committee that sent these staffers
       14    out to have these meetings that we just talked
       15    about, right?
       16         A.     That's correct.
       17         Q.     Do you still agree with that statement
       18    that (as read) "intense pressure from U.S.
       19    lawmakers and the media forced the social media
       20    companies to examine what had taken place and
       21    strive to ensure it did not happen in the future"?
       22         A.     Yes.    I wrote that statement, and I agree
       23    with it.
       24         Q.     That's a consistent approach with the
       25    Footnote 185 that cites the congressional reports



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        1    as well as what you said earlier about, you know,
        2    calling the tech CEOs in to testify in front of
        3    Congress and these meetings out here in San
        4    Francisco, right?
        5         A.     Yes.    That is my personal opinion.
        6         Q.     Okay.    I want to jump ahead to Page 46 of
        7    your thesis.       Can you still hear me?
        8         A.     Yes.
        9         Q.     Okay.    Do you see here on Page 46, Page 70
       10    of the PDF?
       11         A.     "Facebook stated it took a series of
       12    measures"?
       13         Q.     All right.
       14                   (Discussion off the record.)
       15                THE WITNESS:     I read the first sentence of
       16    the second paragraph.
       17         Q.     BY MR. SAUER:      Right.    If I could direct
       18    your -- can you hear me now?
       19         A.     Yes.
       20         Q.     Directing your attention higher up, at the
       21    very top of the page, you say, "Facebook and
       22    Twitter appeared to be the most detailed in sharing
       23    their changes and the most public about account
       24    takedowns," right?
       25         A.     That is correct.



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        1         Q.     And "their changes," what are those?            Is
        2    that a reference to substantive actions and policy
        3    changes to address malign foreign influence?
        4         A.     Yes.
        5         Q.     And your footnotes there I think refers to
        6    changes that they actually made to their
        7    content-modulation policies, right, their terms of
        8    service?
        9         A.     That is correct.      Whenever --
       10                   (Discussion off the record.)
       11                THE WITNESS:     Okay.    Can you -- can you
       12    scroll back to the sentence you were on, Mr. Sauer?
       13                Oh, I wanted to clarify that the
       14    substantive actions refers to, like, the
       15    technology-detection methods, right?            That is one
       16    of the substantive actions.
       17                And then, as you mentioned, yeah, the
       18    policy changes specifically to their terms of
       19    service or community standards.
       20                   (Discussion off the record.)
       21                THE WITNESS:     -- and community -- or
       22    community standards.
       23         Q.     BY MR. SAUER:      Got you.     So the policy
       24    changes are changes -- the substantive changes are
       25    their using algorithms to detect inauthentic



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        1    content, right?
        2         A.     Correct.    That is -- that is what I'm
        3    referring to.
        4         Q.     And then these -- the policy changes are
        5    actually changing their terms of service to make
        6    things -- to clarify that certain things actually
        7    violate their policies and can be taken down,
        8    right?
        9         A.     Correct.
       10         Q.     So those are kind of more robust or more
       11    aggressive content-modulation policies that they
       12    have adopted in this time frame, right?
       13         A.     Yes.
       14         Q.     And you go on to say in the next page,
       15    "Facebook and Twitter appeared to be the most
       16    detailed in sharing their changes and the most
       17    public about account takedowns," right?
       18         A.     That is correct.
       19         Q.     And the changes they shared were they
       20    shared that they had both -- well, include the
       21    policy changes, the changes to their terms of
       22    service, right?
       23         A.     Yes.   They were very public in blog posts
       24    about the terms-of-service changes --
       25                   (Discussion off the record.)



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        1                THE WITNESS:     -- is their term for it --
        2                   (Discussion off the record.)
        3                THE WITNESS:     And providing reports of
        4    account takedowns of foreign malign influence.
        5         Q.     BY MR. SAUER:      So in addition to notifying
        6    the FBI that they had taken stuff down, they would
        7    provide a public report saying, "Hey, we took down
        8    all the -- a certain number of accounts in the last
        9    quarter"; is that what they would do?
       10         A.     Yes, yes.
       11         Q.     Okay.    And you go on to say, "A possible
       12    reason could be that Facebook and Twitter faced
       13    more Congressional scrutiny than Google as their
       14    senior executives testified before Congress on
       15    three separate occasions before the midterm
       16    elections" --
       17         A.     Uh-huh.
       18         Q.     -- is that right?
       19         A.     Yes.    I do cite a news article.        I --
       20    however, I do share the opinion of that article.
       21         Q.     And that's consistent with what we just
       22    talked about a moment ago, which is that one way
       23    that these social media platforms experience
       24    pressure was Mark Zuckerberg and Jack Dorsey had to
       25    go testify in front of Congress multiple times.



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        1    And you infer from that that may have led to their
        2    changing their terms of service to be more robust
        3    and to prevent certain kinds of content from being
        4    posted; fair to say?
        5                MR. SUR:    Objection; mischaracterizes the
        6    record.
        7                THE WITNESS:     My personal opinion is that,
        8    yeah, the -- my personal opinion is that political
        9    pressure from Congress was a contributing factor.
       10          Q.    BY MR. SAUER:      On the next page, Page 47,
       11    you talk about there were a significant number of
       12    takedowns, right?       "In 2018, Twitter announced the
       13    takedown of 3,613 IRA-associated accounts."
       14          A.    Yeah.   I see that at the bottom of the
       15    first paragraph on that page.
       16          Q.    Do you have any way of knowing if all of
       17    those were actually IRA-associated or some of them
       18    might have been authentic accounts?
       19          A.    Well, I only know what Twitter has told
       20    us.
       21          Q.    Jumping ahead in your thesis to -- a
       22    couple pages, to Page 49, you talk about how
       23    something "provided politicians with the occasion
       24    to exert pressure on the companies to make
       25    constructive changes to their platforms," right?



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        1         A.     Yeah, that was my assessment.
        2         Q.     Yeah.   And in other words, this is, again,
        3    another way of saying something we have been
        4    talking about, that politicians, including members
        5    of Congress, pressured the social media companies
        6    to make changes to their platforms to address
        7    malign foreign influence, correct?
        8         A.     That is correct.
        9         Q.     And you described it as "constructive
       10    changes."      So by and large you approve of the
       11    policy changes and substantive actions that were
       12    taken after 2016, correct?
       13                MR. SUR:    Objection; lacks foundation.
       14                THE WITNESS:     The reason I said it was
       15    constructive was that it appeared the social media
       16    companies were able to detect and counter
       17    foreign-malign-influence operations on their
       18    platforms, which I believe was constructive.
       19         Q.     BY MR. SAUER:      And do you think it's
       20    constructive that they are better equipped to
       21    engage in account takedowns?
       22         A.     That is correct.      As compared to 2016 and
       23    prior.
       24         Q.     And you think it is a positive development
       25    between 2016 and 2018 that zero accounts were taken



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        1    down during the 2016 cycle but 3,613 Twitter
        2    accounts were taken down in the 2018 cycle,
        3    correct?
        4         A.     Yeah.   The higher number is better than
        5    zero, in my estimation.
        6         Q.     Because by and large you believe that
        7    malign-foreign-influence accounts should be taken
        8    down from Twitter, Facebook, YouTube and so forth?
        9         A.     Yes, that is my belief.
       10         Q.     In the next paragraph of the thesis, you
       11    talk about the Global Engagement Center.             What
       12    exactly is that?
       13         A.     So as I mentioned, it -- legislation
       14    established the Global Engagement Center within the
       15    State Department.       And based on my understanding
       16    and review of reporting about the GEC, they were
       17    primarily focused originally on countering foreign
       18    terrorist organizations' propaganda.
       19         Q.     Do you -- and then did their mission
       20    change to address malign foreign influence?
       21         A.     I -- yeah.     I would say it has now -- in
       22    my experience, it is now including malign foreign
       23    influence as well.
       24         Q.     When you say your experience, do you
       25    interact with the Global Engagement Center in your



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        1    professional role?
        2           A.   Yeah, I -- the -- yes.          Ahead of the 2020
        3    elections, I engaged with a regional representative
        4    who was based here in San Francisco.
        5           Q.   Who was that?
        6           A.   His name was Sam Stewart.
        7           Q.   Uh-huh.    Was that Samaradun Kay Stewart?
        8           A.   Yeah.   Yeah, that's his full name.
        9           Q.   What were your interactions with him?
       10         A.     I would have periodic phone calls with
       11    him.    He would meet with the social media companies
       12    separately from me.        And from what he told me, it
       13    seemed like he primarily met with policy
       14    individuals.      I -- I rarely, if ever, meet with
       15    policy individuals.
       16                As I mentioned to you before, I typically
       17    meet with the trust and safety individuals and then
       18    their associated attorneys.
       19           Q.   Did he discuss with you the nature of the
       20    meetings he had with the policy individuals at
       21    social media platforms?
       22         A.     I would say only broadly.         He discussed
       23    different initiatives that they have.
       24           Q.   Would the social media platforms --
       25         A.     And these initiatives include different



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        1    types of software made by vendors that they would
        2    pilot to see if they could detect malign foreign
        3    influence on social media platforms.            And then he
        4    would also share information from State Department
        5    employees who were at embassies, you know, boots on
        6    the ground type of information from the embassies
        7    we have around the world.
        8                That is the type of information that he
        9    would share with me and let me know that that was
       10    the type of information that he was sharing with
       11    the companies.
       12         Q.     That first piece of it is kind of
       13    interesting because it sounds like that connects to
       14    what you said earlier about the substantive actions
       15    taken by the social media platforms.            They adopted
       16    computer programs or algorithms to try and detect
       17    inauthentic foreign activity, correct?
       18         A.     Yes.   In my estimation, they use that type
       19    of technology to detect and either knock down or
       20    flag malign-foreign-influence activity.
       21         Q.     It sounds like Mr. Stewart was, based on
       22    your description, kind of offering them access to
       23    the sorts of tools they might be able to use to
       24    detect it, correct?
       25                MR. SUR:    Objection; calls for



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        1    speculation, mischaracterizes the record.
        2                THE WITNESS:     So I don't know what outside
        3    vendors any of the companies, any of the social
        4    media companies use.
        5                I do know that the -- Sam Stewart from the
        6    Global Engagement Center, he -- he would provide
        7    webinars to me from these different types of
        8    vendors, and then the vendors would just come in
        9    and share results that they have.
       10         Q.     BY MR. SAUER:      When you say "results," are
       11    these vendors who prepare computer programs to
       12    detect, you know, inauthentic activity on social
       13    media platforms?
       14         A.     That is my understanding.
       15         Q.     And you -- I take it you participated in
       16    some of his presentations, or you --
       17         A.     I would say I went to two of those
       18    webinars just to see what they were like.
       19                However, based on my viewing of those two
       20    webinars, I did not think it was useful from a law
       21    enforcement standpoint.
       22         Q.     And would it be more useful -- in other
       23    words, a more useful audience would have been the
       24    social media platforms who might use such programs?
       25                MR. SUR:    Objection; vague.



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        1                THE WITNESS:     I believe that is why Sam
        2    Stewart would share that type of information.               But
        3    the reason I did not find it useful was because, as
        4    a law enforcement agency and a domestic security
        5    service, I am focused on the malign foreign actors
        6    themselves and their activities.            And what these
        7    companies and applications did was just look at
        8    the -- look at the content and activities from a
        9    surface level.
       10                So I would be concerned that that sort of
       11    application might accidentally pick up U.S. people
       12    information, and so that is not something that I
       13    think would be useful or relevant to the FBI.
       14         Q.     BY MR. SAUER:      And so your concern -- your
       15    concern was that the GEC's kind of computer
       16    programs that they were making available to social
       17    media companies might be overinclusive and
       18    misidentify authentic accounts as inauthentic
       19    activity?
       20                MR. SUR:    Objection; lacks foundation,
       21    calls for speculation, and mischaracterizes the
       22    record.
       23                THE WITNESS:     So if I may -- if I may
       24    respond to your question.         So the State Department
       25    is primarily a foreign-focus agency.            And so in



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        1    their estimation -- I believe that in their
        2    estimation their tools would be deployed overseas,
        3    where I believe they do not have the same type of
        4    legal training that I do specifically about First
        5    Amendment protections.         And so, you know, they are
        6    overseas in embassies and their analysts are
        7    overseas in embassies, and so they don't have the
        8    same sorts of concerns that I would working at the
        9    FBI is what I -- is my personal opinion.
       10         Q.     BY MR. SAUER:      Okay.   And those concerns
       11    specifically is that it would raise a First
       12    Amendment concern if somebody's -- a real user's
       13    account got accidentally taken down because the
       14    State Department provided a computer program that
       15    was overinclusive?
       16                MR. SUR:    Objection; mischaracterizes the
       17    record and calls for a legal conclusion.
       18         Q.     BY MR. SAUER:      But if -- yeah, if that
       19    concern --
       20         A.     So I don't think the State Department was
       21    providing these programs to the companies.              I think
       22    the State Department was just providing a venue
       23    where different vendors could show off their
       24    products.      I don't think they endorsed or did not
       25    endorse these products, but they provided -- and it



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        1    wasn't just for the social media companies.
        2                They would invite all sorts of audiences,
        3    to include researchers, employees from State
        4    Department counterparts, so typically Ministry of
        5    Foreign Affairs.       They would provide -- these were
        6    open to the general public, but I believe the
        7    audience that they were going for were State
        8    Department-equivalent personnel, social media
        9    companies and researchers.
       10                MR. SAUER:     Do you want to go off the
       11    record?
       12                THE WITNESS:     That's just based on what --
       13                THE VIDEOGRAPHER:       Off the record at
       14    12:27.
       15                   (Whereupon the noon recess was
       16                     taken.)
       17                               ---o0o---
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        1        REMOTE VIA ZOOM, CALIFORNIA, NOVEMBER 29, 2022
        2                          AFTERNOON SESSION
        3                               ---o0o---
        4                THE VIDEOGRAPHER:       We are back on the
        5    record at 1:20 p.m.
        6         Q.     BY MR. SAUER:      Agent Chan, I just want to
        7    direct your attention back to your thesis, Exhibit
        8    1, for a few more questions.          Let me know if you
        9    have difficulty hearing me.
       10                Here I am on Page 61 of your thesis, which
       11    is Page 85 of the pdf.         In here you discuss the
       12    case of PeaceData, which was a website, right?
       13         A.     Yes, that is correct.
       14         Q.     What exactly was PeaceData?         Was that a
       15    Russian-originated website?
       16         A.     Yes.   For the 2020 election cycle, that
       17    was a website created by the Internet Research
       18    Agency.
       19         Q.     And it was intended to sow kind of
       20    disinformation and discord among kind of
       21    left-leaning voters in the United States, right?
       22         A.     Yes.
       23         Q.     And then here in this sentence that I am
       24    highlighting you say "Third, Reuters broke a story
       25    about the IRA posing as PeaceData staff to hire



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        1    unwitting freelance journalists, including
        2    Americans, to write articles for the site," right?
        3         A.     That is correct, and I cite the articles.
        4         Q.     Right.    And then you go on to say that
        5    "The Carnegie Endowment" "determined that at least
        6    20 freelance journalists," which includes
        7    Americans, "had been duped into writing articles
        8    for the PeaceData outlet," right?
        9         A.     That is correct.
       10         Q.     Those articles were posted on that
       11    website, right?
       12         A.     That is correct.
       13         Q.     Then that website, I take it, got taken
       14    down as a result of the revelation that it was a
       15    Russian mis- -- or Russian-originated site, right?
       16         A.     I do not believe it was taken down.            I
       17    believe it was just discredited.             It may -- I
       18    haven't checked it, but it was up for a while.
       19         Q.     And this is one of those sites that you
       20    described as achieving fairly low engagement
       21    earlier in the deposition; is that right?
       22         A.     Right.    That is correct.
       23         Q.     Was the FBI involved in the investigation
       24    of the PeaceData?
       25                MR. SUR:     Objection; vague.



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        1                THE WITNESS:     So the FBI shared
        2    information with the companies that it believed the
        3    Internet Research Agency was standing up.              Two
        4    websites.      One was PeaceData, and the other was
        5    called NAEBC, which is an abbreviation for Newsroom
        6    for American- and European-Based Citizens.              So they
        7    were supposed to be complementary news websites.
        8    But we did tip the social media companies to both
        9    of those sites.
       10         Q.     BY MR. SAUER:      Did the social media
       11    companies, to your knowledge, act on that
       12    information and take actions to restrict social
       13    media postings about those -- bombing those sites?
       14         A.     What they conveyed to me is that they
       15    identified accounts that were foreign-associated,
       16    so Internet Research Agency-associated, that were
       17    directing users on those platforms to the PeaceData
       18    website as well as the NAEBC website.
       19         Q.     So they identified.       Did they take actions
       20    against those accounts?
       21         A.     I believe they did.
       22         Q.     Okay.   So this is a situation where the --
       23    in the 2020 election cycle the tactics have evolved
       24    and the Russians have now created a website, hired
       25    Americans to write for the website and post



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        1    articles on it, and then are using fake accounts to
        2    direct ordinary users to the content on that
        3    website; is that right?
        4                MR. SUR:    Objection; assumes facts not in
        5    evidence.
        6                THE WITNESS:     Yeah, so you have summarized
        7    one of the shifts that I noticed in my thesis.
        8         Q.     BY MR. SAUER:      Got you.     And the FBI was
        9    the organization that flagged this for social media
       10    companies as -- the PeaceData site as a
       11    Russian-originating site, correct?
       12         A.     Yes, that is my recollection.
       13         Q.     Okay.   So in that you talked about the
       14    NAEBC site, right?        That's N-A-E-B-C, right?
       15         A.     Correct.
       16         Q.     And that was a more right-wing site that
       17    the Russians originated?
       18         A.     Correct.
       19         Q.     And just turning two pages ahead in your
       20    thesis to Page 63, you have a sentence here about
       21    the NAEBC site that begins "Lastly, Graphika
       22    determined that the IRA used various social media
       23    accounts to engage with real users and convince
       24    them to post on the NAEBC site, which met with some
       25    success," correct?



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        1         A.     Yes, I wrote that, and I was citing the
        2    Graphika team report.
        3         Q.     So it's your understanding that the NAEBC
        4    site also included content drafted and written by
        5    real users that had posted on that site?
        6         A.     Yes, based on the Graphika report.
        7         Q.     So it is a bit like the PeaceData site
        8    where they had hired freelance journalists,
        9    including Americans, to post on the site.              Here
       10    they induced social media users to post their own
       11    thoughts on that site, right?
       12         A.     That is correct, but we do not know the
       13    nationality of the users because it wasn't
       14    mentioned in the source that I used.
       15         Q.     You don't know today whether those were
       16    Americans or foreigners who were posting on that
       17    NAEBC site, right?
       18         A.     I do not.
       19         Q.     But the NAEBC site was designed by the
       20    Russians for Americans to read, right, or Americans
       21    and Europeans; is that right?
       22         A.     That is my assessment.
       23         Q.     In fact, NAEBC stands for Newsroom for
       24    American- and European-Based Citizens, right?
       25         A.     That is correct.



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        1         Q.     Higher on this page you describe these
        2    people who posted on the site as unwitting
        3    co-optees.     Do you see that?
        4         A.     I do see that.
        5         Q.     So you have a situation where there's a
        6    kind of, you know, intermingling or blending of the
        7    inauthentic Russian content with essentially
        8    authentic user-generated content, right?
        9                MR. SUR:    Objection; vague and ambiguous.
       10                THE WITNESS:     Yes, I characterize those
       11    individuals as unwitting co-optees.
       12         Q.     BY MR. SAUER:      And the FBI flagged the
       13    NAEBC site for social media platforms as a kind of
       14    Russian-originated source as well, right?
       15         A.     That is correct.
       16         Q.     Did you also flag social media accounts
       17    that were engaged in directing people -- or
       18    directing people to those sites, both PeaceData and
       19    NAEBC, to the social media platforms?
       20                MR. SUR:    Objection; vague and ambiguous.
       21                THE WITNESS:     No, not to my recollection.
       22    From my recollection, we provided those two
       23    websites to include the URLs and then the companies
       24    were able to discover Russian-controlled accounts
       25    that were used to try to redirect users to those



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        1    websites.
        2         Q.     BY MR. SAUER:      And the social media
        3    companies told you that they had found them.              Did
        4    they say they had taken action against those
        5    accounts?
        6         A.     Yes, they said that they had taken down
        7    those accounts.
        8         Q.     Jumping ahead to Page 70 of your thesis,
        9    which is Page 94 of the PDF, Table 5 here you have
       10    a summary of Facebook takedowns from 2020, right?
       11         A.     Yes.
       12         Q.     And you have a grand total of 825 accounts
       13    taken down from Facebook and Instagram pages -- or
       14    platforms, right?
       15         A.     That is correct.
       16         Q.     So I think part of your thesis points out
       17    that Facebook was much, much more active in the
       18    2020 election cycle in removing
       19    malign-foreign-influence accounts than it had been
       20    in 2016, right?
       21         A.     That is my assessment.
       22         Q.     And in your thesis, you only cite the four
       23    publicly cited in media reports instances where the
       24    FBI had flagged stuff to Facebook and other social
       25    media platforms, right?



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        1         A.     That is correct.      Because that was -- I
        2    was writing the thesis for me personally, and I was
        3    not representing -- you know, if you look at the
        4    caveat in the first place, I was representing my
        5    personal views and not necessarily the views of the
        6    FBI regarding the thesis.
        7         Q.     But in your capacity as an FBI agent,
        8    you're aware of a lot more than four instances
        9    where the FBI had flagged accounts, right?
       10         A.     You are correct.
       11         Q.     In fact, I think you said it was one to
       12    five instances per month in 2018 election cycle --
       13    sorry, one to five instances per month during the
       14    2020 cycle and one to four instances per month in
       15    the 2022 cycle, correct?
       16         A.     That is correct.      And the reason for that
       17    is because that information is not publicly
       18    available.     So I could not use it in my thesis.
       19         Q.     Understood.     And of those 825 accounts
       20    from Facebook, do you have any idea, ballpark, how
       21    many of those were the results of takedowns --
       22    sorry.    How many of those takedowns were the result
       23    of information provided by the FBI?
       24         A.     Unfortunately I do not.         I would love to
       25    have that statistic, but I do not have that.



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        1         Q.     You kind of asked them for that and they
        2    haven't told you, right?
        3         A.     That is correct.
        4         Q.     Okay.   But it's some subset of those
        5    because you have been told on multiple occasions
        6    that they have acted on information that you
        7    provided, right?
        8         A.     That is my assumption.
        9         Q.     Next page you talk about in 2019, Twitter
       10    announced two takedowns of 422 accounts which made
       11    929,000 tweets, right?
       12         A.     That's correct.
       13         Q.     Can you look at the figure on that page?
       14    Looks like the topics relate to the 2018 midterms,
       15    MAGA, ReleaseTheMemo and other subjects; is that
       16    right?
       17         A.     That is correct.
       18         Q.     ReleaseTheMemo is some -- some sort --
       19    some trend that's designed to appear -- to appeal
       20    to conservative voters, right?
       21         A.     Honestly, I can't remember.
       22         Q.     In any event, do you know how many of
       23    these 422 accounts and 929,000 tweets that were
       24    removed were the result of FBI information?
       25         A.     I do not.



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        1          Q.    It is some subset of those, but they
        2    haven't given you the precise numbers; is that fair
        3    to say?
        4          A.    That is -- that would be my assumption.
        5          Q.    And then the next page, again, there's a
        6    reference to Twitter announcing four sets of
        7    takedowns with 1,233 accounts as well.             Same
        8    question:      I take it that some of those are due to
        9    the FBI, but you don't know how many?
       10                MR. SUR:    Objection; calls for
       11    speculation.
       12                THE WITNESS:     I would assume that some
       13    subset of that amount was due to information we
       14    provided, but I do not know the exact number.
       15          Q.    BY MR. SAUER:      And at some level you know
       16    that some are because Twitter's told you on at
       17    least some occasions, "Yes, we acted on your
       18    information and took down problematic accounts,"
       19    right?
       20          A.    That is correct.
       21          Q.    Let's jump ahead to Page 76 of your
       22    thesis.     You have a discussion of some meetings
       23    here at the bottom of the page.             You see where I
       24    am?    On September -- you talk about how the U.S.
       25    government was more engaged ahead of the 2020



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        1    elections, right?
        2         A.     I said the government appeared to be more
        3    engaged with social media companies.
        4         Q.     In fact, based on your actual experience,
        5    were you more engaged?
        6         A.     I would personally characterize it as
        7    being more engaged.        However, I cannot discuss that
        8    in a thesis.
        9         Q.     Got you.    This next sentence you say
       10    "September 4th, 2019, Facebook hosted an election
       11    security meeting with FBI, DHS and ODNI," right?
       12         A.     That's correct.
       13         Q.     Were you at that meeting?
       14         A.     I was at that meeting.
       15         Q.     Who else was at that meeting from the FBI?
       16         A.     I specifically remember two attorneys
       17    being at that meeting, but they are both GS-14
       18    attorneys.
       19         Q.     Don't tell me their names.         Anyone else
       20    from the FBI?
       21         A.     No.   I believe I -- yeah, I was the only
       22    non-FBI -- I'm trying to remember if any FITF
       23    employees came.       Actually, yes, I believe one
       24    employee from FITF came, but I am not completely
       25    sure.



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        1         Q.     Do you know who it was?
        2         A.     Yeah, he's another GS-15.         It would be the
        3    unit chief for the Russian unit.
        4         Q.     How about from DHS, were those CISA
        5    individuals?
        6         A.     I definitely remember Matt Masterson being
        7    there, but I do not remember if Brian Scully was
        8    there.    Oh, I also remember the director of CISA,
        9    Mr. Krebs, was there as well.
       10         Q.     So Krebs, Masterson and possibly Scully
       11    were at that meeting?
       12         A.     Krebs and Masterson for sure, and I can't
       13    remember if Scully was there.
       14         Q.     Okay.   What was discussed at this meeting?
       15         A.     It was just an overall meeting to discuss
       16    election security, and I think in my opinion,
       17    Facebook held the meeting because they wanted all
       18    of the relevant federal government components in
       19    the same room to share what the federal government
       20    agencies intended to do to ensure the safety of the
       21    2020 elections.
       22         Q.     Okay.   And you go on to the next page to
       23    say, "The other companies attending the meeting
       24    included Google, Microsoft, and Twitter," right?
       25         A.     Yeah.   And you can see from the footnote



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        1    those were the only companies who were mentioned in
        2    the article.
        3         Q.     Were there other companies there, since
        4    you attended the meeting?
        5         A.     Yes, there were other companies there.
        6         Q.     Which ones?
        7         A.     I specifically remember Yahoo! was there.
        8         Q.     Any others?
        9         A.     Not from my recollection.
       10         Q.     Were the individuals from the social media
       11    platforms at these -- at this meeting, were these
       12    people from the site integrity or trust and safety
       13    teams?
       14         A.     Yes.
       15         Q.     So those are the people on the social
       16    media side who have responsibility for enforcing
       17    content-modulation decisions and enforcing terms of
       18    service?
       19         A.     That is --
       20                MR. SUR:    Objection; calls for
       21    speculation, lacks foundation.
       22                THE WITNESS:     That is my understanding.
       23         Q.     BY MR. SAUER:      Did you -- what was -- was
       24    content modulation discussed at all?            Was
       25    disinformation discussed at this meeting?



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        1                MR. SUR:    Objection; vague and ambiguous.
        2                THE WITNESS:     From my recollection, the
        3    social media companies were focused on discussing
        4    disinformation, and the FBI was really focused on
        5    the actors who were involved, specifically the
        6    Internet Research Agency.
        7         Q.     BY MR. SAUER:      So this was an information
        8    where disinformation was discussed and removing
        9    disinformation from platforms?
       10         A.     So the social media companies discussed
       11    that.     We, the FBI, did not discuss that.
       12         Q.     What did CISA discuss at this meeting,
       13    Mr. Krebs and Mr. Masterson or Mr. Scully, if he
       14    was there?
       15         A.     From my recollection, CISA just discussed
       16    what their role was and is in securing election
       17    infrastructure and supporting election officials.
       18         Q.     Did they talk about disinformation?
       19         A.     I do not remember them talking about
       20    disinformation.
       21         Q.     How about ODNI, did they talk about
       22    removing disinformation?
       23         A.     No, they did not.       ODNI, from my
       24    recollection, provided an unclassified overview of
       25    three specific nation states that they were



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        1    concerned might try to conduct malign-influence
        2    campaigns against the U.S. elections in 2020.
        3    These include Russia, China and Iran.
        4         Q.     You go on to say, "In August 2020, the New
        5    York Times broke a story revealing that the private
        6    sector companies working with the U.S. government
        7    had expanded to include the Wikimedia Foundation,
        8    Verizon Media, Reddit, Pinterest, and LinkedIn,"
        9    correct?
       10         A.     That is correct.
       11         Q.     So let me ask you this:         Were there other
       12    meetings, other than this one on September 4th,
       13    2019, with these other companies?
       14         A.     I don't remember another -- oh, outside of
       15    the CISA-hosted industry group meetings, I don't
       16    remember another meeting that had all of the
       17    companies together.
       18         Q.     Okay.   So the CISA-hosted meetings, that's
       19    the -- I think we talked about at the very
       20    beginning of the deposition, the industry -- what
       21    does CISA call, the industry-what meeting?
       22         A.     I can't remember, but yes, those were the
       23    meetings I was -- those were the meetings I was
       24    referring to.
       25         Q.     So you believe this -- you believe this



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        1    New York Times story that refers to Wikimedia,
        2    Reddit and Pinterest and so forth is a reference to
        3    the CISA-hosted industry meeting that you just
        4    testified about earlier, correct?
        5         A.     That is only my assumption.
        6         Q.     Okay.   Those meetings you attended some
        7    but not all of them, I think you said?
        8         A.     Yes, that is correct.
        9         Q.     Was disinformation discussed at those
       10    meetings, the CISA-led industry meetings that
       11    included all these social media platforms?
       12         A.     Yes, from -- the disinformation content
       13    was shared by the social media companies.              They
       14    would provide a strategic overview of the type of
       15    disinformation they were seeing on their respective
       16    platforms.
       17         Q.     And then what did the government say in
       18    those meetings?
       19                MR. SUR:    Objection; vague and ambiguous.
       20                THE WITNESS:     As I mentioned before, CISA
       21    primarily discussed actual election logistics to
       22    include the dates of State primaries, the methods
       23    for which ballots were cast.
       24                The FBI, we just provided strategic,
       25    unclassified overviews of the activities that we



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        1    saw the Internet Research Agency doing.
        2                ODNI, to my recollection, did not provide
        3    any substantive overviews at most of the meetings
        4    except for to provide general assessments about
        5    nation-state-level threats.
        6         Q.     BY MR. SAUER:      I am going to jump ahead to
        7    Page 94 of your thesis, and that's on Page 118 of
        8    the PDF.
        9         A.     So where --
       10         Q.     Up here at the top.
       11         A.     Part B, "Recommendations."
       12         Q.     Right above it.
       13         A.     Okay.
       14         Q.     At the top you say, "Many factors are at
       15    play when trying to measure the effects of Russia's
       16    influence operations," right?
       17         A.     Yes.
       18         Q.     You say, "First-order effects include real
       19    users interacting with inauthentic content," right?
       20         A.     Yes.
       21         Q.     Interacting with inauthentic content, that
       22    includes reading it, liking it, commenting on it,
       23    potentially reposting it and reposting it with a
       24    commentary, correct?
       25         A.     Yes.



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        1         Q.     Those are all first-order effects of
        2    Russia's influence operations, right?
        3         A.     That is how I define "first-order
        4    effects."
        5         Q.     Got you.    "Russian-bot amplification of
        6    diverse organic content is what you list in that
        7    list, right?
        8         A.     Yeah, I also define that as a "first-order
        9    effect."
       10         Q.     And that refers to the Russian bots
       11    basically being used to amplify, that is like or
       12    repost or retweet, content that other users have
       13    already posted, right?
       14         A.     That is correct.
       15         Q.     And then a third first-order effect you
       16    identify is "IRA-controlled accounts communicating
       17    directly with real users," right?
       18         A.     That's correct.
       19         Q.     They would be directing messages to those
       20    users, and those users would be responding to these
       21    inauthentic accounts, right?
       22         A.     Correct.
       23         Q.     Jumping ahead to Page 99, you make a
       24    recommendation here for "the U.S. government to
       25    establish a National Counter Information Operations



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        1    Center as an interagency fusion center and focal
        2    point for countering disinformation campaigns,"
        3    right?
        4         A.     That is a personal recommendation that I
        5    made.     If you look at the footnote, this was one of
        6    the recommendations of the U.S. Cyberspace
        7    Solarium.
        8         Q.     Okay.   So you kind of agree with what they
        9    had recommended, right?
       10         A.     That is my personal stance, not
       11    necessarily the stance of the FBI.
       12         Q.     You go on to say, "In April 2021" -- you
       13    talk about how that commission, the one whose
       14    recommendation you agree with, envisioned a center
       15    that would allow the relevant U.S. government
       16    elements to work alongside social media companies
       17    to combat disinformation, right?
       18         A.     That is correct.      But I'm also citing a
       19    report.
       20         Q.     And combatting disinformation here would
       21    include the sort of stuff we're talking about
       22    already today, which is flagging inauthentic
       23    accounts and having them removed, right?
       24                MR. SUR:    Objection; vague and ambiguous,
       25    mischaracterizes the record.



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        1                THE WITNESS:     Yeah.    So my intent was --
        2    and what the commission also envisioned was closer
        3    to realtime sharing of information.            So right now,
        4    you know, we are limited by the declassification
        5    process, the approval process for us to be able to
        6    get information in a form that can be shared with
        7    the social media companies.
        8                However, if some of the social media
        9    company employees were to carry security
       10    clearances, they could be discussed at least on an
       11    informal basis at a high level, a higher
       12    classification.
       13         Q.     BY MR. SAUER:      And I take it that
       14    communication could happen much more quickly under
       15    this recommendation, right?
       16         A.     Yes.
       17         Q.     And that could, therefore, result in
       18    quicker action being taken by the social media
       19    platforms against inauthentic activity on their
       20    platforms?
       21                MR. SUR:    Objection; calls for
       22    speculation.
       23                THE WITNESS:     Yes, that would be my
       24    opinion.
       25         Q.     BY MR. SAUER:      And the next sentence you



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        1    say, "In April of 2021, the" ODNI announced "it was
        2    establishing 'the Foreign Malign Influence
        3    Center'."      Do you know anything about that Foreign
        4    Malign Influence Center other than the public
        5    report that you cite?
        6         A.     Unfortunately I do not.
        7         Q.     So you don't know if they have something
        8    like you're recommending already in place where
        9    people with security clearances on the government
       10    side and the social media side can convey
       11    information to each other more quickly?
       12         A.     So I am not aware of any such sent -- of
       13    any such center being housed at ODNI at this point.
       14         Q.     Jump ahead -- or I'll jump ahead to Page
       15    104.      Here toward the end you commented that
       16    "although the focus of this thesis was Russian
       17    disinformation campaigns, domestic disinformation
       18    operations also featured prominently ahead of the
       19    2020 elections," correct?
       20         A.     Can you tell me what you highlighted
       21    again?
       22         Q.     Oh, sorry.     Here I am.       "Although the
       23    focus of this thesis was Russian disinformation
       24    campaigns, domestic disinformation operations also
       25    featured prominently ahead of the 2020 elections."



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        1         A.     Yes, I wrote that, and I was citing a
        2    report from the Atlantic Council.
        3         Q.     Did you have any involvement in looking
        4    for domestic disinformation campaigns in the 2020
        5    election cycle?
        6                MR. SUR:    Objection; vague,
        7    mischaracterizes the record.
        8                THE WITNESS:     In the context of the FITF
        9    meetings, no.
       10         Q.     BY MR. SAUER:      All right.     How about in
       11    any other context?
       12         A.     During FBI San Francisco's 2020 election
       13    command post, which I believe was held from the
       14    Friday before the election through election night,
       15    that Tuesday at midnight, information would be
       16    provided by other field offices and FBI
       17    headquarters about disinformation, specifically
       18    about the time, place or manner of elections in
       19    various states.
       20                These were passed to FBI San Francisco's
       21    command post, which I mentioned to you before I was
       22    the daytime shift commander, and we would relay
       23    this information to the social media platforms
       24    where these accounts were detected.
       25                So I do not believe we were able to



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        1    determine whether the accounts that were posting
        2    time, place or manner of election disinformation,
        3    whether they were American or foreign.
        4         Q.     But you received reports, I take it, from
        5    all over the country about disinformation about
        6    time, place and manner of voting, right?
        7         A.     That is -- we received them from multiple
        8    field offices, and I can't remember.            But I
        9    remember many field offices, probably around ten to
       10    12 field offices, relayed this type of information
       11    to us.
       12                And because DOJ had informed us that this
       13    type of information was criminal in nature, that it
       14    did not matter where the -- who was the source of
       15    the information, but that it was criminal in nature
       16    and that it should be flagged to the social media
       17    companies.     And then the respective field offices
       18    were expected to follow up with a legal process to
       19    get additional information on the origin and nature
       20    of these communications.
       21         Q.     So the Department of Justice advised you
       22    that it's criminal and there's no First Amendment
       23    right to post false information about time, place
       24    and manner of voting?
       25                MR. SUR:    Objection on the grounds of



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        1    attorney-client privilege --
        2                MR. SAUER:     He just testified --
        3                MR. SUR:    -- and work product issues.
        4                MR. SAUER:     That's waived.      He just told
        5    him what -- he just described what DOJ said, and
        6    I'm asking for specificity.
        7                MR. SUR:    I am putting the objection on
        8    the record.
        9         Q.     BY MR. SAUER:      You may answer.
       10         A.     That was my understanding.
       11         Q.     And did you, in fact, relay -- let me ask
       12    you this.       You say manner of voting.       Were some of
       13    these reports related to voting by mail, which was
       14    a hot topic back then?
       15         A.     From my recollection, some of them did
       16    include voting by mail.         Specifically what I can
       17    remember is erroneous information about when
       18    mail-in ballots could be postmarked because it is
       19    different in different jurisdictions.
       20                So I would be relying on the local field
       21    office to know what were the election laws in their
       22    territory and to only flag information for us.
       23                Actually, let me provide additional
       24    context.       DOJ public integrity attorneys were at
       25    the FBI's election command post and headquarters.



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        1    So I believe that all of those were reviewed before
        2    they got sent to FBI San Francisco.
        3         Q.     So those reports would come to FBI San
        4    Francisco when you were the day commander at this
        5    command post, and then FBI San Francisco would
        6    relay them to the various social media platforms
        7    where the problematic posts had been made, right?
        8         A.     That is correct.
        9         Q.     And then the point there was to alert the
       10    social media platforms and see if they could be
       11    taken down, right?
       12         A.     It was to alert the social media companies
       13    to see if they violated their terms of service.
       14         Q.     And if they did, then they would be taken
       15    down?
       16         A.     If they did, they would follow their own
       17    policies, which may include taking down accounts.
       18         Q.     How about taking down posts as opposed to
       19    the entire account?
       20         A.     I think it depends on how they interpreted
       21    it and what the content was and what the account
       22    was.
       23         Q.     Do you know what the -- do you know
       24    whether some of those posts that you relayed to
       25    them were acted on by their content modulators?



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        1                MR. SUR:    Objection; vague and ambiguous.
        2                THE WITNESS:     So from my recollection, we
        3    would receive some responses from the social media
        4    companies.     I remember in some cases they would
        5    relay that they had taken down the posts.              In other
        6    cases, they would say that this did not violate
        7    their terms of service.
        8           Q.   BY MR. SAUER:      What sort of posts were
        9    flagged by you that they concluded did not violate
       10    their terms of service?
       11         A.     I can't remember off the top of my head.
       12           Q.   I mean, I take it they would all have a
       13    policy against just posting about the wrong time
       14    that the poles opened, right?          Or the wrong date to
       15    mail your ballot?
       16         A.     That would be my assumption, but I do
       17    remember, but I can't remember the specifics as to
       18    why.    But I do remember them saying that certain
       19    information we shared with them did not result in
       20    any actions on their part, but I can't remember the
       21    details of those.       They were not frequent, but I do
       22    remember that they occurred.
       23           Q.   In most cases when you flagged something,
       24    it was taken down?
       25         A.     In most cases -- let me rephrase that.



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        1                In some cases when we shared information
        2    they would provide a response to us that they had
        3    taken them down.
        4         Q.     Got you.    Same as the -- go ahead.
        5         A.     I would not say it was 100 percent success
        6    rate.     If I had to characterize it, I would say it
        7    was like a 50 percent success rate.            But that's
        8    just from my recollection.
        9         Q.     And the success rate would be the number
       10    of times it got taken down based on the number of
       11    instances you reported?
       12         A.     The success rate would be that some action
       13    had been taken because it was a terms-of-service
       14    violation.
       15         Q.     Got you.    Did this command post, this kind
       16    of activity of relaying these reports of
       17    election-related disinformation, did that occur
       18    through these election command posts in 2022 as
       19    well as 2020?
       20         A.     Yes.   So to restate, the election command
       21    post from 2020, from my recollection, occurred the
       22    Friday before the election through Tuesday at
       23    midnight.      Then for the midterm elections, we only
       24    stood at the command post, I believe, from 8:00
       25    a.m. to 10:00 p.m. of election day.



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        1         Q.     So why was it operating longer in 2020?
        2         A.     Based on our experience in the 2018
        3    midterms, where there was a very low volume of
        4    information that needed to be coordinated, we
        5    assessed that we could do with an actual command
        6    post on Tuesday with people on call on Monday and
        7    on Wednesday who, if needed to, could report and
        8    activate a command post.         This is specifically for
        9    FBI San Francisco.
       10         Q.     And this command post was chosen to be --
       11    I mean, it addresses nationwide election-related
       12    information, right?
       13         A.     So every field office, every FBI field
       14    office was mandated by headquarters to stand at a
       15    command post at least on election day.
       16                And FBI San Francisco was responsible for
       17    relaying any time, place or manner disinformation
       18    or malign-foreign-influence information to the
       19    social media companies as well as accepting any
       20    referrals from the social media companies.
       21         Q.     So FBI San Francisco had the special job
       22    of referring concerns to social media companies?
       23                MR. SUR:    Objection; vague and ambiguous.
       24                THE WITNESS:     Yes, and the reason for that
       25    is because the majority of the social media



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        1    companies are headquartered in FBI San Francisco's
        2    territory.
        3         Q.     BY MR. SAUER:      I am going to move to a
        4    different exhibit, I'm sure you'll be happy to
        5    hear.
        6         A.     Well, I spent a lot of time on my thesis.
        7         Q.     Both researching it and testifying about
        8    it today.
        9                Let me -- I am showing you an exhibit --
       10                MR. SUR:    Hang on a second.
       11                   (Reporter marked Exhibit No. 6 for
       12                     identification.)
       13         Q.     BY MR. SAUER:      I am showing you -- can you
       14    see this exhibit --
       15         A.     Yes.
       16         Q.     -- defendants' amended objections and
       17    responses on interrogatories?
       18                MR. SUR:    Counsel, to clarify, this is
       19    Exhibit 6; is that right?
       20                MR. SAUER:     Yeah.    We had to go out of
       21    order, so I am jumping to Exhibit 6 because they
       22    were pre-marked.       I just emailed you this one, but
       23    it ought to look familiar.
       24         Q.     I just want to jump down to Page 37 of
       25    these interrogatory responses.           Down here at the



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        1    bottom of the page under "DHS," do you see this
        2    here, it begins with a bullet point?
        3         A.     I see a sentence starting with "A
        4    recurring meeting usually entitled USG-industry
        5    meeting."
        6         Q.     Yes, yeah, that paragraphs states "A
        7    recurring meeting usually entitled USG-industry
        8    meeting, which has generally had a monthly cadence,
        9    and is between government agencies and private
       10    industry."     Do you see that description?
       11         A.     Yes.
       12         Q.     The CISA-organized meeting that we have
       13    talked about multiple times already, is that
       14    usually entitled USG-industry meeting?
       15         A.     Based on my recollection, yes.
       16         Q.     So this interrogatory response appears to
       17    be referring to meetings that we have already
       18    talked about today?
       19         A.     That is correct, the CISA-facilitated
       20    meeting.
       21         Q.     It says, "Government participants have
       22    included CISA's Election Security and Resilience
       23    team, DHS's Office of Intelligence and Analysis,
       24    the FBI's foreign influence task force."
       25                MR. SUR:    Objection; misstates



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        1    information.
        2         Q.     BY MR. SAUER:      I am asking you if this is
        3    what it says?
        4         A.     This is what it says, and I remember
        5    sharing with you from my memory those were the
        6    participants.      I forgot to mention DOJ National
        7    Security Division, but I do remember that they
        8    sometimes have participants.
        9         Q.     I take it you participated in some of
       10    these meetings but not all of them?
       11         A.     That is correct.
       12         Q.     When did these meetings happen, what
       13    years?    Here it just says these monthly cadence
       14    meetings occurred.        When did they actually happen?
       15                MR. SUR:    Objection; lacks foundation.
       16                THE WITNESS:     I can't remember exactly,
       17    but I believe they started happening before the
       18    2020 election, but I can't remember how far before
       19    the 2020 election.
       20         Q.     BY MR. SAUER:      So they were -- they -- I
       21    guess CISA organized these meetings, I think you
       22    said earlier?
       23         A.     That is correct, and I was just an
       24    attendee.
       25         Q.     CISA organized the meetings gearing up



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        1    toward the 2020 election; is that right?
        2         A.     For these USG-industry meetings, yes.
        3         Q.     Were hack-and-dump operations discussed at
        4    these meetings, or hack-and-leak operations?
        5         A.     Yes, they were.
        6         Q.     Tell me what was discussed about them at
        7    these meetings?
        8         A.     The context of hack and dump is what was
        9    the FBI and CISA doing to prevent hack-and-dump
       10    operations.      So from the FBI side, I think we
       11    already -- I already relayed to you that we had the
       12    protective voices initiative.          I can't remember the
       13    specifics, but CISA also discussed its
       14    cybersecurity awareness efforts as well as grants
       15    efforts with the state-, county- and local-level
       16    election officials.
       17         Q.     Did anyone at these meetings tell the
       18    industry participants to expect a Russian
       19    hack-and-dump operation or hack-and-leak operation
       20    shortly before the 2020 election cycle?
       21                MR. SUR:    Objection; lacks foundation.
       22                THE WITNESS:     From my recollection, I
       23    remember that the FBI warned -- that I or someone
       24    from the FBI warned the social media companies
       25    about the potential for a 2016-style DNC



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        1    hack-and-dump operation.
        2         Q.     BY MR. SAUER:      What exactly did you say to
        3    the social media companies about that?
        4         A.     Essentially what I just told you.
        5         Q.     You said that there might be a Russian
        6    hack-and-dump operation?
        7         A.     So what I said was although we have not
        8    seen any computer intrusions into national-level
        9    political committees or election officials or
       10    presidential candidates at this time, we ask you to
       11    remain vigilant about the potential for
       12    hack-and-dump operations, or something to that
       13    effect.
       14         Q.     Did you specifically refer to the 2016
       15    hack-and-dump operation that targeted the DCCC and
       16    the DNC?
       17         A.     I believe I did.
       18         Q.     Did you provide any basis to the social
       19    media platforms for thinking that such an operation
       20    might be coming?
       21         A.     The basis was -- my basis was it had
       22    happened once, and it could happen again.
       23         Q.     Did you have any other specific
       24    information other than it had happened four years
       25    earlier?



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        1                MR. SUR:    Objection in so far as the
        2    answer calls for the law enforcement privileged
        3    information.
        4                You can answer, if you can, without
        5    divulging the law enforcement privilege as to any
        6    particular investigation.
        7                THE WITNESS:     Through our investigations,
        8    we did not see any similar competing intrusions to
        9    what had happened in 2016.
       10                So although from our standpoint we had not
       11    seen anything, we specifically, in an abundance of
       12    caution, warned the companies in case they saw
       13    something that we did not.
       14         Q.     BY MR. SAUER:      So did you ask the
       15    companies if they had seen any attempts at
       16    intrusions or unauthorized access?
       17         A.     This is something that we -- that I
       18    regularly ask the companies in the course of our
       19    meetings.
       20         Q.     Did you ask them in these meetings?
       21         A.     Not at every meeting, but I believe I
       22    asked them at some meetings.
       23         Q.     And did you repeatedly warn them at these
       24    meetings that you anticipated there might be
       25    hack-and-dump operations, Russian-initiated



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        1    hack-and-dump operations?
        2                MR. SUR:    Objection; vague, assumes facts
        3    not on the record.
        4                THE WITNESS:     So repeatedly I would say --
        5    can you -- can you ask your question like -- what
        6    do you mean by "repeatedly"?          Like 100 times, five
        7    times?
        8         Q.     BY MR. SAUER:      Well, did you do it more
        9    than once?
       10         A.     I did it more -- yes.        I warned the
       11    companies about a potential for hack-and-dump
       12    operations from the Russians and the Iranians on
       13    more than one occasion, although I cannot recollect
       14    how many times.
       15         Q.     Did anybody else at the FBI talk about
       16    hack-and-dump Russian operations?
       17         A.     From my recollection, other senior
       18    officials, to include Section Chief Dehmlow, likely
       19    mentioned the possibility of hack-and-dump
       20    operations.
       21         Q.     Do you remember Section Chief Dehmlow
       22    mentioning it?
       23         A.     I said that I believe she mentioned it on
       24    at least one occasion.
       25         Q.     What did she say?



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        1         A.     Essentially what I said.         We all said
        2    essentially the same thing.
        3         Q.     We --
        4         A.     Which was --
        5         Q.     Go ahead.     Which was?
        6         A.     Which was -- which was because the Russian
        7    government had hacked a political organization in
        8    2016, that if they were able to do so again for the
        9    2020 cycle, they would likely do it.
       10         Q.     So you had -- you told the social media
       11    companies that a hack-and-dump operation was
       12    likely?
       13                MR. SUR:    Objection; misstates the record.
       14                THE WITNESS:     Let me recharacterize it.         I
       15    said potentially as opposed to likely.
       16         Q.     BY MR. SAUER:      Okay.   Did Ms. Dehmlow say
       17    likely?
       18         A.     Not to my recollection.         I think she said
       19    potentially as well.
       20         Q.     You said we all --
       21         A.     We all, meaning myself and Ms. Dehmlow.
       22         Q.     Were there any other FBI agents at the
       23    meeting -- at these meetings?
       24         A.     There were.
       25         Q.     Who?



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        1         A.     They were GS-14 or under grade employees.
        2         Q.     From the San Francisco office or
        3    elsewhere?
        4         A.     Both.
        5         Q.     Both, okay.
        6         A.     During -- I'm sorry, let me be more
        7    precise.       During the quarterly meetings, there were
        8    multiple FBI agents, as I previously mentioned,
        9    from both the FBI San Francisco field office as
       10    well as other field offices at these meetings.
       11         Q.     Okay.   I think we are talking about two
       12    different sets of meetings because we started
       13    talking about the USG-industry meetings, right,
       14    organized by CISA, correct?
       15         A.     Oh, okay.     You are correct.
       16         Q.     But then there were also the monthly --
       17    there's quarterly and then monthly and then weekly
       18    meetings between FBI and social media platforms,
       19    right?
       20         A.     That's correct.
       21         Q.     And which of those sets of meetings were
       22    the potentiality for Russian hack-and-dump
       23    operations discussed?
       24         A.     At the FBI-led meetings with FITF and the
       25    social media companies.



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        1         Q.     Okay.   How about at these USG-industry
        2    meetings that were organized by CISA, were
        3    hack-and-dump operations discussed then?
        4         A.     I would say less frequently, but what was
        5    discussed was the potential for Russian
        6    hack-and-dump-style operations.
        7         Q.     Okay.   And who -- was that raised by FBI
        8    or was that raised by others or both?
        9         A.     I can't recollect, but I would say I know
       10    at least the FBI mentioned this, specifically in
       11    the context of the 2016 DNC hack.
       12         Q.     So the FBI, would it be you and
       13    Ms. Dehmlow, right?
       14         A.     Among others.
       15         Q.     So others would have raised that as well
       16    at these USG-industry meetings?
       17         A.     Others from the FBI attended those
       18    meetings.
       19         Q.     Did those others raise the issue of
       20    Russian hack-and-dump operations?
       21         A.     I can't recollect.
       22         Q.     Do you know whether they did or didn't?
       23         A.     I know that I did.
       24                MR. SAUER:     Later, Mr. Sur, I am going to
       25    ask for the identities of those participants.               I



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        1    can ask him now on the record under oath, or you
        2    can agree to give them to me in a private -- in a
        3    private communication.          Can we agree to do that?
        4                MR. SUR:     Just -- just to be clear, are
        5    you looking for below the SES level?
        6                MR. SAUER:     Yes.    I want the identities of
        7    every FBI official who was at the USG-industry
        8    meetings referred to in this interrogatory response
        9    in 2020.
       10                MR. SUR:    Okay.     I will discuss it with
       11    the clients obviously.
       12                MR. SAUER:     All right.       Then I am asking
       13    him now on the record.
       14         Q.     Who was there?       Name the FBI officials who
       15    were there regardless of their levels?
       16                MR. SUR:    Well, I'm sorry, when you say
       17    regardless of the level, can you -- can we provide
       18    you part of the name on the record and part of the
       19    name off the record?
       20                MR. SAUER:     If you're willing to give me
       21    the information, which you did not just agree to, I
       22    don't have to ask him on the record.            We need the
       23    information.      You don't want it on the record.
       24    Will you agree to give it to me?            You said, "I have
       25    to discuss it with my clients."             I can't reconvene



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        1    this deposition.       I need the information.         You can
        2    agree to give it to me.         I am going to ask him now
        3    because it is not subject to a protective order.
        4                MR. SUR:    Okay.    If anything, Counsel, a
        5    break would be appropriate.
        6                MR. SAUER:     Okay.
        7                MR. SUR:    So I can -- I'm sorry?
        8                MR. SAUER:     We can go off the record.
        9                MR. SUR:    Okay.
       10                THE VIDEOGRAPHER:       Off the record at 2:11
       11    p.m.
       12                   (Whereupon a recess was taken.)
       13                THE VIDEOGRAPHER:       Back on the record at
       14    2:34 p.m.
       15         Q.     BY MR. SAUER:      Back on the record,
       16    Mr. Chan, after some discussions off the record.
       17                You testified earlier that at these 2020
       18    meetings between the FBI and social media platforms
       19    where the risk of a Russian hack-and-leak operation
       20    was discussed, they were attended by you and
       21    Ms. Dehmlow, right?
       22         A.     That is correct, on some occasions.           I
       23    don't think either of us has attended all of the
       24    meetings with the CISA-hosted USG-industry
       25    meetings.



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        1         Q.     And then there were also the quarterly,
        2    monthly, weekly cadence meetings involving just
        3    FITF and the social media platforms, right?
        4         A.     That is correct, and other FBI field
        5    offices to include FBI San Francisco.
        6         Q.     And the risk of hack-and-leak operations
        7    were raised at both sets of meetings, both at
        8    CISA-organized USG-industry meetings and the
        9    FITF-organized direct meetings between the FBI and
       10    social media platforms, right?
       11         A.     Yes.
       12         Q.     Okay.   As to the first set of meetings,
       13    the CISA-organized USG-industry meetings, other FBI
       14    officials besides you and Ms. Dehmlow attended when
       15    Russian hack-and-leak operations were discussed,
       16    right?
       17         A.     That is correct.
       18         Q.     Who?
       19         A.     So from my recollection, and I don't know
       20    who attended which meetings, but I remember being
       21    in meetings with the following people:             Brady
       22    Olson, William Cone, Judy Chock and Luke Giannini.
       23         Q.     Can you say the last name again?
       24         A.     Giannini.
       25         Q.     Spell it, please.



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        1         A.     I am not sure, but I believe it is
        2    G-i-a-n-n-i-n-i.
        3         Q.     And then the second name was William
        4    Cohen, is that C-o-h-e-n?
        5         A.     Cone, C-o-n-e.
        6         Q.     Like the -- like the shake?
        7         A.     Like an ice cream.
        8         Q.     Any other FBI officials at that set of
        9    meetings where Russian hack-and-leak operations
       10    were discussed with social media platforms in 2020?
       11         A.     Those are the only people I can remember.
       12         Q.     Okay.   Then talk about the other set of
       13    meetings, the FITF FBI meetings with social media
       14    platforms in -- with the quarterly, then monthly,
       15    then weekly cadence, what FBI officials attended
       16    those meetings where Russian hack-and-leak
       17    operations were discussed?
       18         A.     So it's the exact same set of names that I
       19    recollect.
       20         Q.     Did anyone --
       21         A.     I cannot remember what days -- or, you
       22    know, which meetings that they attended because
       23    William Cone and Wayne Brady both work in the same
       24    unit, and I can't remember if they both attended or
       25    if one attended or another.          So I can't remember



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        1    when.     I do remember that at some point these
        2    individuals have attended the FBI bilateral
        3    meetings with the social media companies.
        4         Q.     And you said the names are Brady Olson; is
        5    that correct?
        6         A.     Yes.
        7         Q.     Okay.
        8         A.     Olson.
        9         Q.     Is that O-l-s-o-n?
       10         A.     Maybe, or it might be s-e-n.          I can't
       11    remember.      It's one of those spellings.
       12         Q.     William Cone; is that right?
       13         A.     Yes.
       14         Q.     Judy Chock; is that right?
       15         A.     C-o -- I'm sorry, C-h-o-c-k.
       16         Q.     And then someone Giannini, right?           What
       17    was that person's first name?
       18         A.     Luke.
       19         Q.     Luke?
       20         A.     Luke.
       21         Q.     Is that L-u-k-e?
       22         A.     I think his full name might be Lucas,
       23    L-u-c-a-s, but I refer to him as Luke.
       24         Q.     Are all those people from FITF in
       25    Washington, D.C.?



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        1         A.     Yes.
        2         Q.     Okay.   What are their -- what are their
        3    titles, do you know?
        4         A.     I do know.     So I believe -- oh, the first
        5    four are unit chiefs, and then Luke is an assistant
        6    section chief.
        7         Q.     What are they unit chiefs of?          Are they
        8    chiefs of like the Russian unit or --
        9         A.     Yeah, correct.
       10         Q.     Which one is the section chief, did you
       11    say?
       12         A.     Assistant section chief.
       13         Q.     So that's --
       14         A.     Excuse me?
       15         Q.     Is that the number two person under
       16    Ms. Dehmlow?
       17         A.     Yes.
       18         Q.     Okay.
       19                     (Discussion off the record.)
       20                THE WITNESS:     Yes, Mr. Luke Giannini is
       21    the assistant section chief at the Foreign
       22    Influence Task Force.
       23         Q.     BY MR. SAUER:      So at FITF, these meetings
       24    include, in addition to you, the number one person
       25    at FITF, Laura Dehmlow; the number two person at



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        1    FITF, Mr. Giannini; and then at least three section
        2    chiefs at FITF, correct?
        3         A.     No, that's not correct.         Ms. Dehmlow is a
        4    section chief.
        5         Q.     Okay.
        6         A.     Mr. Giannini is an assistant section
        7    chief, and then the other individuals are unit
        8    chiefs.
        9         Q.     Got you.    Did -- did anyone other than you
       10    or Ms. Dehmlow discuss the possibility or prospect
       11    of Russian hack-and-leak operations at these
       12    meetings from the FBI?
       13         A.     I can't recollect if others have said it,
       14    but I know that that is something that I would say
       15    regularly.
       16         Q.     You said that regularly in these meetings?
       17         A.     Yes.    Not every meeting, but some
       18    meetings.
       19         Q.     And does that apply both to the
       20    USG-industry meetings that had many participants?
       21         A.     I would say for the bilateral FITF
       22    meetings, I would have said that because those
       23    would have been one of the types of
       24    malign-influence campaigns that I would have been
       25    focused on.



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        1                For the DHS USG meetings, I was more of an
        2    attendee and not as active as a speaking
        3    participant.
        4         Q.     Did anyone else at those meetings, the
        5    USG-industry meetings organized by CISA, address
        6    the risk or prospect of Russian hack-and-leak
        7    operations?
        8         A.     I believe they did, but I can't remember
        9    who would have said it.
       10         Q.     Would it have been anyone at the FBI?
       11         A.     It may have been.
       12         Q.     Which one of these people is the head of
       13    the Russia unit?
       14         A.     Mr. Olson and then after him, Mr. Cone.
       15         Q.     Did Mr. Olson or Mr. Cone ever address the
       16    risk of a Russian hack-and-leak operation?
       17         A.     I don't recollect.
       18         Q.     How about Ms. Dehmlow?
       19         A.     I don't specifically recollect, but I
       20    believe that is something she would have mentioned.
       21         Q.     Do you think she raised it at some point
       22    in these meetings?
       23         A.     Yes.
       24         Q.     What did she say about it to your
       25    recollection?



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        1         A.     It would have been that the FBI is
        2    concerned about the potential for hack-and-leak or
        3    hack-and-dump operations from foreign
        4    state-sponsored actors, something to that effect.
        5         Q.     Did you discuss within FITF that risk
        6    before you raised it with the social media
        7    platforms?
        8                MR. SUR:    Objection; an internal
        9    deliberation of that sort would be subject to the
       10    deliberative process privilege, attorney-client
       11    privilege and other privileges.
       12         Q.     BY MR. SAUER:      Did anyone at any time
       13    discuss that prospect with you or did you raise it
       14    on your own?
       15                MR. SUR:    Same objection.
       16                You can answer insofar as it doesn't
       17    involve internal discussions within FITF or
       18    discussions with counsel.
       19                THE WITNESS:     I would say in general the
       20    FBI had internal meetings or discussions or at the
       21    very least emails, coordination before the
       22    CISA-hosted meetings.
       23         Q.     BY MR. SAUER:      So there would be internal
       24    discussion within the FBI before the CISA-hosted
       25    meetings?



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        1         A.     Yes, about what agenda items would be
        2    discussed during the meeting.
        3         Q.     In the course of those discussions, did
        4    anyone suggest to you that you should raise the
        5    risk of a Russian hack-and-leak operation?
        6                MR. SUR:    Objection; as I said before, it
        7    calls for internal deliberations which would be
        8    covered by the deliberative process privilege, by
        9    the attorney-client privilege and other privileges,
       10    including law enforcement.
       11                THE WITNESS:     Yeah, I will reiterate in
       12    general, we would have internal discussions about
       13    what would be discussed in the CISA-hosted meeting.
       14         Q.     BY MR. SAUER:      More specifically, did
       15    anyone suggest that -- let me ask you this:              You
       16    raised it at these meetings, right?
       17         A.     I know that I have raised it at the
       18    meetings.
       19         Q.     Did you do that on your own accord or did
       20    anyone else suggest to you that it should be
       21    raised?
       22                MR. SUR:    Objection; as before, it's
       23    covered by multiple privileges, and I am going to
       24    instruct the witness not to answer on grounds of
       25    deliberative process privilege, attorney-client



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        1    privilege, law enforcement privilege, among others.
        2         Q.     BY MR. SAUER:      Are you declining to answer
        3    the question, sir?
        4         A.     I am reiterating that I recollect
        5    mentioning the potential for hack-and-dump
        6    operations during the CISA-hosted USG-industry
        7    meetings.
        8         Q.     Did you do that solely on your own accord?
        9                MR. SUR:     Same objection as before.
       10                MR. SAUER:     That doesn't ask for any
       11    communications.       Did he do it solely on his own
       12    accord?     Are you instructing him not to answer that
       13    question?
       14                THE WITNESS:     I cannot recollect.
       15         Q.     BY MR. SAUER:      Okay.    I think we are going
       16    to make a record on this.
       17                I am asking you, did anyone within the FBI
       18    discuss or suggest with you that you should raise
       19    the prospect of Russian hack-and-leak operations
       20    with social media platforms in 2020?
       21         A.     I do not recollect.        In the context of the
       22    USG-industry CISA-held meetings, I do not
       23    recollect.
       24         Q.     How about in the context of the bilateral
       25    FITF social media platform meetings, in that



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        1    context did anyone suggest it to you?
        2         A.     So in that context, depending on what was
        3    being briefed, without getting into the specific
        4    investigations, certain -- as I mentioned
        5    previously, certain nation state actors the FBI
        6    deemed as potentially being capable of conducting
        7    hack-and-leak operations.
        8                So at the beginning of the meetings, I
        9    would preface and say something to the effect of
       10    "We are going to provide you a briefing on this
       11    group because they have the potential to conduct
       12    hack-and-leak operations like the Russians did in
       13    2016."
       14         Q.     Did anyone suggest to you that you should
       15    raise that concern to the social media platforms at
       16    any time?
       17         A.     In the context of the FITF meetings with
       18    the companies, I flagged that concern because I was
       19    generally responsible in coordination with FITF for
       20    coming up with the agenda for those meetings with
       21    the social media companies.
       22         Q.     So are you saying -- what's your answer to
       23    my question did anyone -- anyone suggest to you in
       24    the context of the FITF social media company
       25    meetings that you should raise the concern about a



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        1    Russian hack-and-leak operation?
        2         A.     I do not recollect.       However, I would have
        3    flagged that comment on my own for the reasons I
        4    just stated to you.
        5         Q.     So it is something that you would have
        6    done on your own, but someone might have also
        7    suggested to you to do it; is that fair to say?
        8         A.     They may have, but I don't recollect at
        9    this time.
       10         Q.     Returning to the -- returning to the
       11    USG-industry CISA-organized meetings, do you recall
       12    anyone discussing with you at any time the prospect
       13    of Russian hack-and-leak operations in connection
       14    with those meetings?
       15         A.     Who do you mean?
       16         Q.     Anybody.    Did anybody on earth talk to you
       17    about raising Russian hack-and-leak operations at
       18    those meetings?
       19         A.     Do you mean from the social media
       20    companies or from the government side?             Because in
       21    either case, I don't recollect.
       22         Q.     Okay.   How about anyone outside the
       23    government, did anyone outside the government
       24    discuss the prospect of Russian hack-and-leak
       25    operations with you?



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        1         A.     I do remember during the CISA-hosted
        2    USG-industry meetings that the social media
        3    companies would ask the FBI if they were aware of
        4    any hack-and-leak operations, and I remember that
        5    we would say ahead of the 2020 elections that we
        6    were not aware of any hack-and-leak operations, but
        7    that there was always the potential for there to be
        8    hack-and-leak operations.
        9         Q.     Did the FBI tell the social media
       10    companies that there would be a specific risk of a
       11    hack-and-leak operation shortly before the election
       12    in 2020?
       13         A.     I believe that we did mention that as a
       14    possibility shortly before the election, perhaps in
       15    the August or October time frame.
       16         Q.     So you mentioned that there -- you
       17    mentioned that there was a risk that a
       18    hack-and-leak operation could happen in October?
       19         A.     So to be specific, what we mentioned was
       20    that there was the general risk of hack-and-leak
       21    operations, especially before the election.
       22                However, we were not aware of any
       23    hack-and-leak operations that were forthcoming or
       24    impending.
       25         Q.     Were you involved in the investigation of



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        1    the 2016 DNC hack-and-leak operation?
        2                MR. SUR:     Objection; vague.
        3                THE WITNESS:     What do you mean by
        4    "involved"?
        5         Q.     BY MR. SAUER:      Well, did you have any --
        6    were you in any way involved in that investigation?
        7         A.     Yes.
        8         Q.     What was your involvement?
        9         A.     I was the supervisor for a squad that had
       10    an investigation associated with the hack of the
       11    DNC and DCCC.
       12         Q.     And what was your role in that
       13    investigation?      What did your squad do?
       14         A.     I was the supervisor for the squad that
       15    ran one of the investigations associated with the
       16    2016 DNC hack.
       17         Q.     What did your squad do in that
       18    investigation?
       19                MR. SUR:    I am going to object on the law
       20    enforcement privilege grounds.           If you can answer
       21    the question without discussing any particular
       22    investigation or files or contents, you can answer.
       23                MR. SAUER:     Before you say that, I am
       24    going to read some case law into the record.              The
       25    investigative -- the law enforcement privilege



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        1    states, quote, investigative files with ongoing
        2    privilege investigation.         That's from Coughlin
        3    against Lee, 946 F.2d 1152, 1159, Fifth Circuit
        4    1991.     The privilege, quote, is bounded by
        5    relevance and time constraints and it lapses either
        6    at the close of an investigation or at a reasonable
        7    time thereafter based on the particularized
        8    assessment of documents.
        9                We are talking about an investigation that
       10    happened six years ago.         Is it your position that
       11    you can assert law enforcement privilege with
       12    respect to that?       Is my first question.
       13                Second one -- I'm not finished yet.
       14    Second one is the documents relating to emails
       15    relating to his involvement in this investigation
       16    are publicly filed in the docket of the case United
       17    States against Sussmann.         So there's been a waiver
       18    of that by those being publicly filed, in any
       19    event.    So now I am going to repeat the question.
       20         Q.     What did your squad do when it came to the
       21    investigation of the DNC hack-and-leak operation?
       22         A.     Can I confer with my counsel before I
       23    answer this question?
       24         Q.     I want an answer to the question.
       25                MR. SUR:    Yeah, so let me just clarify.



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        1    The objection based on law enforcement privilege, I
        2    understand your position about the public
        3    disclosure.      But since you're not limiting your
        4    question to what was in the public record, there
        5    are cases that describe the application of the law
        6    enforcement privilege to techniques that have
        7    future application, including future
        8    investigations.
        9                So I don't think that the mere fact that
       10    your question is about a past investigation will
       11    overcome the law enforcement privilege concern.
       12                MR. SAUER:     Well, why doesn't he answer
       13    the question in general terms, and then we'll get
       14    into specifics about law enforcement techniques?               I
       15    am not really concerned about those.            Can he say it
       16    in general terms?
       17                THE WITNESS:     Based on the case law you
       18    cited, the information I have would be protected
       19    under the first.       Because this is an existing and
       20    pending -- and active investigation.
       21         Q.     BY MR. SAUER:      So you're saying that the
       22    2016 DNC server leak investigation is an active
       23    criminal investigation?
       24         A.     What I am saying is that the investigation
       25    of the individuals associated with the DNC hack of



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        1    2016 is an existing and active investigation.
        2         Q.     I thought they were being indicted on
        3    other charges later.        Are you saying that there's
        4    still an active and pending criminal investigation
        5    of the 2016 DNC hack?
        6         A.     I am not saying there is a pending
        7    investigation of the 2016 hack itself.             However,
        8    there is active investigations on the individuals
        9    involved with the 2016 hack.          That case has not
       10    been adjudicated.       The individuals have been
       11    indicted.      They have not been arrested.         They have
       12    not been going through the judicial process.              This
       13    is an active investigation.
       14                   (Reporter marked Exhibit No. 23 for
       15                     identification.)
       16         Q.     BY MR. SAUER:      I am showing you a
       17    collective exhibit that we have pre-marked as
       18    Exhibit 23.      Do you see this document?
       19         A.     Yes.
       20         Q.     These are some of your emails that are
       21    publicly filed in the case the United States versus
       22    Sussmann.      Do you recognize them?
       23                MR. SUR:    I'm sorry, may I ask, Counsel,
       24    have you sent this to us?
       25                MR. SAUER:     Let me email it to you right



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        1    now.      Obviously it wasn't -- we are getting a bit
        2    out of order here.
        3         Q.      Looking at this email, does this refresh
        4    your recollection about what your involvement was
        5    during that investigation?
        6                MR. SUR:     Counsel, may I ask that I
        7    receive the email first so I can pull it up on the
        8    iPad so Mr. Chan can see the exhibit that you are
        9    talking about?
       10                MR. SAUER:     Can you see it on the screen
       11    share?     The emails were sent to you.
       12                MR. SUR:    Okay.    We have this PDF.       May I
       13    ask which page you're on?
       14                MR. SAUER:     Start on the top page.
       15         Q.      Do you see that, the one on the screen
       16    share?
       17         A.     8:32 a.m. October 4th, yes, I see this
       18    email.
       19         Q.      And you are being copied on emails lower
       20    down from Michael Sussmann at Perkins Coie; is that
       21    fair to say?
       22         A.     Yes, I have been cc'd.          The email is to
       23    another DOJ official.
       24         Q.      And then you forward that along to other
       25    FBI officials, Patricia Rich and Delynn Hammell.



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        1    Do you see that?
        2         A.     Yes, I see that.
        3         Q.     Do you know why Mr. Sussmann was copying
        4    you on an email about sharing information on a
        5    rolling basis?
        6         A.     Because I was involved with -- I oversaw
        7    the squad that was responsible for one of the
        8    investigations of the 2016 hack of the DNC, and
        9    Mr. Sussmann was their legal representative.
       10         Q.     Which squad did you oversee?
       11         A.     I oversaw the Russian cyber squad at FBI
       12    San Francisco.
       13         Q.     And the Russian cyber squad was
       14    involved -- was it involved in trying to analyze
       15    the DNC server to see how it had been hacked?
       16         A.     Yes, that is correct.
       17         Q.     And you oversaw that effort?
       18         A.     Yes.   I managed the squad responsible for
       19    one of the investigations of the DNC hack.
       20         Q.     What did that squad -- did that squad
       21    investigate the server?
       22         A.     We did a triage investigation of the
       23    server and then sent it back to headquarters to do
       24    a more complete investigation of the server.
       25         Q.     What's a triage investigation?



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        1         A.     Triage in cyber -- cybersecurity context
        2    is to try to extract indicators.            As I mentioned
        3    before, indicators can be email accounts, IP
        4    addresses, other types of electronic indicia that
        5    we could serve legal process in order to move our
        6    investigation forward.
        7         Q.     Did you find any indicia of that when you
        8    investigated the server?
        9         A.     I believe we did, but I can't recollect
       10    the specific selectors that we discovered.
       11         Q.     Subsequent to -- subsequent to the 2016
       12    investigation, did you have further communications
       13    with anyone involved in that investigation about
       14    the possibility of a recurrence in 2020?
       15         A.     Can you repeat that question?
       16         Q.     Subsequent to the 2016 investigation of
       17    the hack of the DNC server, did you have any
       18    communications with anyone involved in that
       19    investigation about the possibility that a
       20    hack-and-leak operation could occur before the 2020
       21    election?
       22                MR. SUR:    Objection; vague.       I also object
       23    on the grounds of law enforcement privilege.
       24                You can answer to the extent it doesn't
       25    implicate any particular investigation.



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        1                THE WITNESS:     Yeah, so I do not remember
        2    discussing the potential for a 2020 election with
        3    any of the FBI personnel because they had moved on
        4    to different roles.
        5         Q.     BY MR. SAUER:      How about people outside
        6    the FBI?
        7         A.     Well, Sean Newell, who is the email
        8    recipient on this, is a deputy chief at DOJ
        9    National Security Division.          He would have been one
       10    of the senior officials I would have consulted
       11    with.
       12         Q.     Consulted with about what?
       13         A.     About potential Russian interference in
       14    the 2020 elections.
       15         Q.     Did you consult with Sean Newell about the
       16    potential for a Russian hack-and-leak operation?
       17                MR. SUR:    I am going to renew the
       18    objection based on the law enforcement privilege
       19    and ask that you not answer insofar as that would
       20    disclose the contents of any individual
       21    investigation.
       22                THE WITNESS:     My recollection was that
       23    being the deputy chief at DOJ NSD, Sean Newell
       24    would have overview of multiple FBI investigations
       25    and would have a broader perspective than my



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        1    perspective from the field office.
        2                So I would regularly just ask him in
        3    general how things were going and if they were
        4    seeing anything that would be impactful to us at
        5    FBI San Francisco.
        6         Q.     BY MR. SAUER:      So you -- did these
        7    conversations with Sean Newell occur in the lead-up
        8    to the 2020 election?
        9         A.     I don't remember having many conversations
       10    with Mr. Newell during the lead-up to the 2020
       11    elections.
       12         Q.     When did the conversations with Mr. Newell
       13    occur?
       14         A.     They would have -- I can't recollect
       15    specifically.      I regularly have conversations with
       16    Mr. Newell outside of the context of Russian
       17    disinformation campaigns targeted at the 2020
       18    elections.     Because Mr. Newell, as a deputy chief,
       19    oversaw all of DOJ's national security cyber
       20    investigations.
       21         Q.     Did Mr. Newell ever tell you that he
       22    expected there might be a Russian hack-and-leak
       23    operation before the 2020 election?
       24                MR. SUR:    Objection on the grounds of law
       25    enforcement privilege, also attorney-client



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        1    privilege, given the functions of Mr. Newell in
        2    this context.      I will ask that the witness answer
        3    only without referring to attorney-client
        4    communications.        For everything in this context you
        5    can't, so...
        6                THE WITNESS:     What I can broadly say is
        7    that we discussed national security cyber
        8    investigations in general, sometimes about Russian
        9    matters, sometimes about other nation state
       10    threats.
       11         Q.     BY MR. SAUER:      Let me ask the question
       12    more specifically.        Prior to the 2020 election
       13    cycle, did anyone suggest to you that there would
       14    be -- or that there might be a Russian
       15    hack-and-leak operation prior to the 2020 election?
       16                MR. SUR:    So I am going to object on the
       17    grounds of law enforcement privilege and
       18    attorney-client and all other privileges.
       19                You can answer insofar as it doesn't
       20    disclose the contents of any particular
       21    investigation.
       22         Q.     BY MR. SAUER:      Okay.   I want an answer,
       23    and I want to know whether you're withholding
       24    information in response to your client's
       25    instruction.      He keeps instructing you



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        1    conditionally, and then you keep providing vague
        2    responses.
        3                I want to know are you, in fact,
        4    withholding information from me in response to my
        5    question as a result of that instruction.              Did
        6    anyone discuss that with you?
        7         A.     I am not --
        8         Q.     That is not going to get into the content
        9    of any -- content of any communications.             I just
       10    want to know did anyone discuss with you the
       11    prospect of a Russian hack-and-leak operation
       12    before the 2020 election?
       13         A.     So no, I do not recollect.         The reason for
       14    that is I don't recollect any specific person
       15    discussing that with me.
       16                However, based on both my experience as
       17    well as my knowledge of active investigations, I
       18    would have believed -- as my own assessment, I
       19    believe that there was the potential for
       20    hack-and-leak operations ahead of the 2020
       21    elections.
       22                I believe that there was the potential for
       23    hack-and-leak operations ahead of the 2022
       24    election, and I believe that there is the potential
       25    for Russian hack-and-leak operations ahead of the



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        1    2024 elections.
        2         Q.     In particular, you relayed that belief to
        3    the social media platforms on multiple occasions in
        4    two sets of meetings in 2020, correct?
        5         A.     That is correct.
        6         Q.     And that includes the USG-industry
        7    meetings organized by CISA, correct?
        8         A.     Yes, I believe so.
        9         Q.     And it includes the FITF organized
       10    meetings with the individual social media
       11    platforms, correct?
       12         A.     Yes.
       13         Q.     Did any -- did the social media platforms
       14    respond to that, your communications that indicate
       15    that they were taking any steps with respect to any
       16    Russian hack-and-leak operations?
       17                MR. SUR:    Objection; vague.
       18                THE WITNESS:     So in general, I believe
       19    that the companies were actively looking for
       20    hack-and-leak operations, and I don't know the
       21    types of technology that they use, but I believe
       22    they use -- they tried to use detection methods
       23    that would find whatever hacked materials were put
       24    or uploaded onto their platforms.
       25         Q.     BY MR. SAUER:      Did they ever tell you that



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        1    they were taking any action with respect to any
        2    content posted on social media because of a concern
        3    about a hack-and-leak operation?
        4         A.     So from my recollection, I remember -- I
        5    can't remember which social media companies, but
        6    some social media companies adjusted or updated
        7    their terms of service or their community standards
        8    to say that they would not post any hacked
        9    materials.     I believe the reason would be due to
       10    privacy issues of the victim.          But I can't
       11    recollect which company said that.
       12         Q.     When did those updates occur, do you
       13    recall, before the 2020 election?
       14         A.     Before the 2020 elections, but I can't
       15    remember when.      I believe -- I believe the impetus
       16    was in case there was a 2016-style hack-and-leak
       17    operation.
       18         Q.     So is that -- was that a concern that you
       19    raised to them specifically that there might be a
       20    recurrence of a 2016 style hack-and-leak operation?
       21         A.     So I have raised that concern, but I
       22    believe independently they had similar concerns.
       23         Q.     And in the same time frame that you were
       24    raising that concern, some of them updated their
       25    terms of service to prohibit the posting of hacked



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        1    materials?
        2         A.     I believe so.
        3         Q.     Did you ever discuss updating their terms
        4    of service with them or suggested it to them?
        5         A.     I never suggested it to them.          The only
        6    context we would bring up terms of service is that
        7    we wanted to know if they had changed their terms
        8    of service or modified it, and we wanted to know
        9    what they had changed.
       10         Q.     Did they advise you that they had changed
       11    it to reflect the ability to pull down content that
       12    results from hack operations?
       13         A.     Yes.
       14         Q.     And that occurred at some time after you
       15    had raised these concerns with them?
       16         A.     Some time after 2016, but before 2020.            So
       17    unfortunately I can't remember when they would have
       18    updated it, but I do remember learning about their
       19    terms of service updates.
       20         Q.     During 2020 do you recall anyone at the
       21    FBI discussing with you the prospect of a
       22    hack-and-leak operation?
       23         A.     I believe that we internally discussed the
       24    potential for hack-and-leak operations, and so I
       25    regularly was in communication with the cyber



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        1    division of the FBI as well as with the Foreign
        2    Influence Task Force to see if they had heard of
        3    anything that I had not heard of.
        4                So I would say that the people that I
        5    communicate with, everyone was vigilant, but no
        6    one -- I believe that in general people at the FBI
        7    were concerned about the potential for
        8    hack-and-leak operations, but that we had not seen
        9    any investigations that led in that direction or
       10    that would lead us in that direction.
       11         Q.     Who are the people at the cybersecurity
       12    division that you referred to?
       13         A.     So cyber division -- I can't even remember
       14    the individuals now.        And the reason for that is
       15    they tend to rotate -- they rotate out every 18
       16    months.
       17         Q.     How about FITF, who are the individuals at
       18    FITF that discussed the concern with you?
       19         A.     So it was the three individuals that I
       20    mentioned to you -- I'm sorry, the four individuals
       21    that I have mentioned to you.          Specifically,
       22    Ms. Dehmlow, Mr. Olson, Mr. Cone and then
       23    Mr. Giannini.
       24         Q.     And did all of those people express to you
       25    a concern about the possibility of a Russian



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        1    hack-and-leak operation?
        2                MR. SUR:    Objection; mischaracterizes his
        3    testimony.
        4                THE WITNESS:     From my recollection, we all
        5    shared the same concern for the potential for there
        6    to be a hack-and-leak operation.
        7         Q.     BY MR. SAUER:      Did you have any basis for
        8    that other than the fact that one had occurred in
        9    2016?
       10         A.     My basis for that was the hack-and-dump
       11    operation in 2016 as well as our knowledge of the
       12    skills of the Russian hackers who were involved.
       13         Q.     Any other basis besides that?
       14         A.     No.   Those were the two primary reasons
       15    driving our concern.
       16         Q.     In 2020 did you ever discuss the
       17    possible -- or did anyone discuss with you the
       18    possibility of a Russian hack-and-leak operation
       19    before the 2020 election from outside the FBI other
       20    than legal counsel?
       21         A.     I believe that the companies would
       22    regularly ask if the FBI was aware of any
       23    hack-and-leak operations ahead of the 2020
       24    elections.     We were not aware of any hack-and-leak
       25    operations.



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        1                However, as I mentioned, we would provide
        2    briefings about nation state groups that
        3    potentially had the capability of conducting
        4    hack-and-leak operations.
        5         Q.     Okay.   Other than the social media
        6    platforms, anybody else discuss that with you?
        7         A.     Not to my recollection.         Up.   Not to my
        8    recollection.
        9         Q.     You said "up"?
       10         A.     "Up" because we had already mentioned the
       11    FBI employees.      We mentioned the social media
       12    companies.     The reason I said "up" is because
       13    technically Microsoft is not a social media
       14    company.
       15         Q.     Did Microsoft discuss it with you?
       16         A.     During the -- they discussed their concern
       17    during the CISA-hosted USG-industry meetings.
       18         Q.     What did they say?
       19         A.     I think -- I can't recall exactly, but
       20    they shared the same sentiment about being
       21    concerned for a potential Russian hack-and-leak
       22    operation.
       23         Q.     Who said that?
       24         A.     The individual from Microsoft, his first
       25    name is Jan, J-a-n, but I can't remember his last



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        1    -- I can't remember how to -- his last name, or
        2    even how to spell it.
        3         Q.     Antonaros, something like that?
        4         A.     Maybe.    I definitely remember his first
        5    name was Jan, and he had a last name that I am not
        6    familiar with.
        7         Q.     Does it begin with an A-n-t?
        8         A.     That doesn't sound familiar.          It feels
        9    like it was a Scandinavian name, like Stevrud or
       10    something.     I don't remember why, but for some
       11    reason I thought it sounded Scandinavian.
       12         Q.     Did any other social media platform
       13    discuss these things in the USG-industry meetings?
       14                MR. SUR:     Objection; vague.
       15         Q.     BY MR. SAUER:      Did any other social media
       16    platforms discuss the prospect of having these
       17    operations, or hack-and-dump operations in the
       18    USG-industry meetings?
       19         A.     I would say not to my recollection because
       20    the primary individuals who spoke from the social
       21    media companies were the three companies that I
       22    previously referred to you, which is Facebook,
       23    Google and Twitter and then Microsoft.             Those were,
       24    from my recollection, the four companies that spoke
       25    the most frequently.         If individuals or



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        1    representatives from the other companies spoke, I
        2    don't recall what they said.
        3         Q.     Did Facebook, Twitter or YouTube/Google
        4    representatives address this issue at all of the
        5    prospect of hack-and-leak operations?
        6         A.     So during the CISA USG-industry meetings,
        7    I believe that those companies regularly flagged
        8    this as a concern at each meeting, or at least at
        9    most meetings they would ask if the U.S. government
       10    had any information about potential hack-and-leak
       11    operations.
       12         Q.     How about other government agencies
       13    outside the FBI at these meetings, the USG-industry
       14    meetings, did any of them discuss the risk or
       15    prospect of Russian hack-and-leak or hack-and-dump
       16    operations?
       17         A.     So from my recollection, CISA would
       18    discuss it from the standpoint of cybersecurity.
       19    Namely if an organization or individual has good
       20    cybersecurity, that will minimize the risk of being
       21    hacked.     So that was their standpoint.          So they
       22    were focused on cybersecurity and infrastructure
       23    protection.
       24         Q.     Who is "they"?      What individuals were
       25    saying this?



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        1         A.     So as I mentioned to you before, the only
        2    individuals I remember who regularly spoke at these
        3    meetings were Mr. Masterson and Mr. Scully.
        4         Q.     And those individuals discussed how to
        5    defend against hacking operations?
        6         A.     Yes.
        7         Q.     Did they specifically say that they
        8    anticipated or there was a risk that there might be
        9    Russian hack-and-leak operations before the 2020
       10    election?
       11         A.     I don't specifically recall, but that
       12    sounds like something that they would have the
       13    general -- they would have the same concern or
       14    similar concern that I have.
       15         Q.     They might -- you believe they expressed
       16    that concern in these meetings?
       17         A.     I do not recall any specific situations
       18    where they did, but that, I believe, is something
       19    that they may have discussed.
       20         Q.     And that would include both Mr. Masterson
       21    and Mr. Scully, to your recollection?
       22         A.     Yes.
       23         Q.     Were you aware in 2020 that the FBI had
       24    Hunter Biden's laptop in its possession?
       25                MR. SUR:    Objection; lacks foundation,



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        1    calls for speculation.
        2         Q.     BY MR. SAUER:      Did you know it at the
        3    time?
        4         A.     I was only aware when news media outlets
        5    posted it, or published it.
        6         Q.     Was Hunter Biden referred to in these
        7    meetings in any way?
        8         A.     Hunter Biden was not -- in my
        9    recollection, Hunter Biden was not referred to in
       10    any of the CISA USG-industry meetings.
       11         Q.     How about the FITF social media company
       12    meetings?
       13         A.     From my recollection, one meeting with
       14    Facebook after the regular agenda had been
       15    completed, one of the Facebook analysts asked if
       16    the FBI had any information they could share about
       17    the Hunter Biden investigation.
       18                To that I recall Ms. Dehmlow saying that
       19    the FBI had no comment.
       20         Q.     Would that have been before or after the
       21    big -- the big news story broke on October 14th of
       22    2020?
       23                MR. SUR:    Objection; lacks foundation.
       24                THE WITNESS:     I am not certain, but I
       25    believe that it would have had to have been after



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        1    the news story broke because I don't know if it was
        2    publicly known then.
        3         Q.     BY MR. SAUER:      Do you know that in 20- --
        4    so you remember sometime in 2020 a Facebook analyst
        5    asked the FBI to comment on the status of the
        6    Hunter Biden investigation?
        7         A.     That's correct.
        8         Q.     And you believe that this occurred after
        9    there had been, you know, a New York Post article
       10    about the contents of the laptop that you referred
       11    to -- I think you referred to earlier you finding
       12    out about it that way, right?
       13         A.     Yeah, I only found out through news media.
       14    I have no internal knowledge of that investigation,
       15    and yeah, I believe that it was brought up after
       16    the news story had broke.
       17         Q.     And so the -- what did the Facebook
       18    analyst ask Ms. Dehmlow?         Did they ask, you know,
       19    "Hey, we have the story.         Can you confirm it," or
       20    what did they ask?
       21         A.     Yeah, they just -- I can't remember the
       22    exact question, but I believe the investigator
       23    asked if the FBI could provide any information
       24    about the Hunter Biden investigation.
       25         Q.     Did they refer to the laptop in particular



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        1    that had been the subject of the news stories?
        2         A.     I can't recall.
        3         Q.     And what did Ms. Dehmlow respond?
        4         A.     She said no comment.       She said something
        5    to the effect that the FBI has no comment on this.
        6         Q.     Did she indicate why the FBI declined to
        7    comment?
        8         A.     Yes.   It was because -- at the time I do
        9    not believe that we had confirmed that it was an
       10    active -- we had -- at the time we had not
       11    confirmed that the FBI was actually investigating
       12    Hunter Biden.      So she did not have the authority to
       13    say anything or to comment about it.
       14         Q.     Did she know at the time that the FBI had
       15    the laptop and that the contents had not been
       16    hacked?
       17                MR. SUR:    Objection; calls for speculation
       18    and gets into law enforcement privilege.
       19         Q.     BY MR. SAUER:      To your knowledge?
       20         A.     I have no idea.      I never asked her, and
       21    she never told me.
       22         Q.     Did Hunter Biden come up with any other
       23    social media platforms during 2020?
       24         A.     Not to my knowledge.
       25         Q.     Do you recall any mention of Hunter Biden



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        1    at any meetings with any social media platforms?
        2         A.     No.    It stood out because that Facebook
        3    meeting was the only one where an individual from
        4    one of the companies even asked about it.
        5         Q.     You're confident that Hunter Biden did not
        6    come up at any other meetings between federal
        7    government officials and social media platforms in
        8    2020?
        9         A.     I was confident that I was not a party to
       10    any meeting with social media companies where
       11    Hunter Biden was discussed outside of the one
       12    incident that I told you about.
       13         Q.     That was the one where it was a FITF
       14    Facebook meeting where the analyst asked
       15    Ms. Dehmlow and she refused to comment, correct?
       16         A.     That is correct.      That is correct.
       17                MR. SAUER:     I am going to show you a new
       18    exhibit, Exhibit 8.
       19                Counsel, I just emailed it to you, too.            I
       20    will put it up on screen share, and it will be
       21    familiar to you.
       22                   (Reporter marked Exhibit No. 8 for
       23                      identification.)
       24         Q.     BY MR. SAUER:      Do you see this document
       25    here?



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        1         A.     It says the "Declaration of Yoel Roth."
        2         Q.     Do you know Yoel Roth?
        3         A.     Yes.   I mentioned to you -- mentioned him
        4    to you previously.        He was the head of site
        5    integrity at Twitter.
        6         Q.     And it says that's a trust and safety
        7    department, correct?
        8         A.     Well, it says it is a site integrity team
        9    which assesses content posted to Twitter to
       10    determine whether it violates the company's
       11    policies.      So in general, that would be construed
       12    as a trust and safety role.
       13         Q.     So in other words, he is -- has
       14    responsibility for content modulation at Twitter,
       15    or he at least did at the time of this declaration?
       16         A.     Yes, I believe so.
       17         Q.     In fact, your committee worked with him in
       18    that role, which he had until very, very recently,
       19    right?    Just a couple weeks ago, right?
       20         A.     Until the day after the election.
       21         Q.     I am going to direct your attention to
       22    Paragraph 10 in this declaration.           You see where it
       23    says in Paragraph 10, "Since 2018, I have had
       24    regular meetings with the" ODNI, "the Department of
       25    Homeland Security, the FBI and industry peers



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        1    regarding election security"?          Do you see that?
        2         A.     Yeah, Paragraph 11?
        3         Q.     Paragraph 10.
        4         A.     I'm sorry, Paragraph 10.         Yes, I see that.
        5         Q.     Do you know what regular meetings he's
        6    referring to in that paragraph?             Is that the
        7    CISA-organized USG-industry meetings or is there
        8    other meetings as well?
        9         A.     I am not sure, but from my interpretation
       10    of this document, it would be in the context of the
       11    CISA-hosted USG-industry meeting.            Because I never
       12    hosted a meeting with those U.S. government
       13    components.
       14         Q.     So let me ask you this:         Are you aware of
       15    any meetings involving Twitter with ODNI, DHS and
       16    the FBI and other social media platforms?
       17         A.     Only in the context of the CISA-hosted
       18    USG-industry meetings.
       19         Q.     So the only meetings that you're aware of
       20    that this Paragraph 10 could be referring to are
       21    those USG-industry meetings that we have been
       22    talking about organized by CISA?
       23         A.     That is my belief.
       24         Q.     Paragraph 11, "During these weekly
       25    meetings, the federal law enforcement agencies



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        1    communicated that they expected 'hack-and-leak
        2    operations' by state actors might occur in the
        3    period shortly before the 2020 presidential
        4    election, likely in October."          Do you see that?
        5         A.     Yes.
        6         Q.     Is that consistent with your recollection
        7    that the communications at the 2020 USG-industry
        8    meetings organized by CISA, that state actors, I
        9    take it he means foreign governments, might
       10    perpetrate hack-and-leak operations in a period
       11    shortly before the 2020 presidential election?
       12         A.     Yeah, so the weekly meetings would have
       13    occurred like very shortly before.            Like we did
       14    not switch to a weekly cadence until maybe six
       15    weeks from the election, around then, maybe six or
       16    eight weeks.       It was a very short weekly meeting.
       17                I do believe -- as I mentioned previously,
       18    I don't remember who.        I do remember myself
       19    mentioning a concern for that, but it was mentioned
       20    that there was the potential for hack-and-leak
       21    operations.
       22         Q.     And so that first sentence you agree with
       23    basically that people did say that to Twitter in
       24    these meetings, that foreign state actors might do
       25    a hack-and-leak operation in the period shortly



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        1    before the 2020 presidential election; is that fair
        2    to say?
        3         A.     Yes.    During the CISA USG-industry
        4    meetings.
        5         Q.     You're saying those obtained a weekly
        6    cadence in the six to eight weeks before that
        7    actual election in 2020?
        8         A.     Yes.
        9         Q.     Okay.    In those meetings, I take it likely
       10    in October, was that relayed to Twitter and the
       11    other industry participants?
       12         A.     I can't remember specifically, but it
       13    would have made sense for the meetings to
       14    definitely have occurred on a weekly basis in
       15    October ahead of the elections in November.
       16         Q.     And did the federal officials in those
       17    meetings convey that they expected that
       18    hack-and-leak operations might occur shortly before
       19    the election, likely in October?
       20         A.     So I wouldn't have used the word
       21    "expected."      I would have used the word "concern"
       22    about potential hack-and-leak operations.              The
       23    reason I say that is because we were not aware of
       24    any hack-and-leak operations that were pending.
       25         Q.     Okay.    He goes on to say in the next --



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        1    let me ask you this:        Did you express that concern
        2    would be, quote, likely in October?
        3         A.     I would say possible in October.
        4         Q.     He refers to the federal law enforcement
        5    agencies, plural, in that sentence.            Do you see
        6    that?
        7         A.     Yes.
        8         Q.     And other federal law enforcement agencies
        9    other than the FBI also convey an expectation or
       10    concern that Russian hack-and-leak operations would
       11    occur shortly before the 2020 election?
       12         A.     Not to my -- not to my knowledge.
       13         Q.     So the only agency you recall conveying
       14    that information is the FBI?
       15         A.     The only federal law enforcement agency I
       16    remember conveying our concern was the FBI.
       17         Q.     How about any other agency?
       18         A.     As I mentioned, I believe CISA would have
       19    had the same concern as the FBI.
       20         Q.     And that was relayed through Mr. Masterson
       21    and Mr. Scully, I think you said, correct?
       22         A.     Correct.
       23         Q.     Any other agencies or federal officials
       24    raise those concerns other than you, Ms. Dehmlow,
       25    Mr. Masterson and Mr. Scully?



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        1         A.     I believe that the senior election
        2    official from ODNI would also have flagged that as
        3    a concern.     Because that was a concern across the
        4    entire U.S. government.
        5         Q.     Who is that?
        6         A.     At the time the senior election official
        7    was Shelby Pierson.
        8         Q.     What did Mr. -- is that Mr. or Ms.?
        9         A.     Ms., Ms. Pierson.
       10         Q.     What did Ms. Pierson say about that
       11    concern for the social media platforms in these
       12    meetings?
       13         A.     I don't recall what she exactly said, but
       14    the sentiment would have been similar to what I
       15    already conveyed, which is that I was concerned
       16    about the potential for hack-and-leak operations.
       17    However, we were not aware of any pending
       18    hack-and-leak operations.         I believe she would have
       19    shared the same sentiment.
       20         Q.     Do you remember anything specific about
       21    what she said?
       22         A.     I don't.
       23         Q.     Mr. Roth in the affidavit goes on to say,
       24    "I was told in these meetings that the intelligence
       25    community expected that individuals associated with



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        1    political campaigns would be subject to hacking
        2    attacks and that material obtained through those
        3    hacking attacks would likely be disseminated over
        4    social media platforms, including Twitter."              Do you
        5    see that?
        6         A.     Yes.
        7         Q.     Do you remember that occurring, that --
        8    people in the intelligence community relaying that
        9    they expected attacks on individuals associated
       10    with political campaigns and that the material
       11    obtained would be disseminated over Twitter?
       12         A.     So my recollection is different from
       13    Mr. Roth's.      Not that the intelligence community
       14    expected that individuals associated with political
       15    campaigns would be subject to hacking attacks, but
       16    that there was the potential for individuals
       17    associated with political campaigns.
       18                The reason I say that is because I and the
       19    individuals I work with at FITF, we were not aware
       20    of any successful hacks into any political
       21    organizations or campaigns at the same time of
       22    these meetings.
       23         Q.     How about in the intelligence community?
       24    You know, I take it that may refer to ODNI --
       25         A.     Yeah.



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        1          Q.    -- is Mr. Roth accurately describing what
        2    they said in these meetings?
        3                MR. SUR:    Objection; calls for
        4    speculation.
        5                THE WITNESS:     Yeah, I don't know what
        6    Mr. Roth meant or meant, but what I'm letting you
        7    know is that from my recollection -- I don't
        8    believe we would have worded it so strongly to say
        9    that we expected there to be hacks.            I would have
       10    worded it to say that there was the potential for
       11    hacks, and I believe that is how anyone from our
       12    side would have framed the comment.
       13                And the reason I believe that is because I
       14    and the FBI, for that matter the U.S. intelligence
       15    community, was not aware of any successful hacks
       16    against political organizations or political
       17    campaigns.
       18          Q.    BY MR. SAUER:      You don't think that
       19    intelligence officials described it in the way that
       20    Mr. Roth does here in this sentence in the
       21    affidavit?
       22          A.    Yeah, I would not have -- I do not believe
       23    that the intelligence community would have expected
       24    it.    I said that they would have been concerned
       25    about the potential for it.



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        1         Q.     How about the second half of the sentence
        2    here where he says that he was told in these
        3    meetings that material obtained through those
        4    foreign hacking attacks would likely be
        5    disseminated over social media platforms, including
        6    Twitter, do you recall that being discussed in the
        7    meetings?
        8         A.     Yeah, so if you're going to break it up
        9    into two parts like that, if there were a
       10    successful hack, that is what the intelligence
       11    community and I both think would happen.
       12         Q.     Did you relay that to them, that if there
       13    were a successful hack, they would likely relay the
       14    hacked materials over social media platforms
       15    including Twitter?
       16         A.     I don't remember if I relayed that, but I
       17    do agree with Mr. Roth's statement, that if there
       18    was a hack, that that would be a method to
       19    disseminate the information.
       20         Q.     And that particular concern was relayed to
       21    social media platforms in these meetings?
       22         A.     Yes, you are correct.
       23         Q.     He goes on to say, "These expectations of
       24    these hack-and-leak operations were discussed
       25    throughout 2020."       Do you see that?



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        1         A.     Yes.
        2         Q.     What -- was that, in fact, true that all
        3    throughout 2020 there were discussions of these
        4    concerns about hack-and-leak operations?
        5         A.     So I would not have used the word
        6    "expectation."      As I characterized it to you
        7    before, we regularly discuss the potential for
        8    nation state actors to conduct hack-and-leak
        9    operations.      And we provided briefings on the
       10    specific nation state actors that we believe who
       11    were potentially capable of conducting these types
       12    of operations.
       13         Q.     That would include Russia, I presume?
       14         A.     Yes.
       15         Q.     And you -- so in the briefings you
       16    provided to them, you brief them on your
       17    understanding that Russia was capable of conducting
       18    those hack-and-leak operations?
       19         A.     Yes.
       20         Q.     Do you brief them on your concerns that
       21    those might occur in the 2020 election cycle in
       22    connection with those briefings as well, correct?
       23         A.     Yeah, from my recollection, "might" is a
       24    more appropriate word than "expected."
       25         Q.     So you feel like you said "might," and



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        1    Mr. Roth feels like he was told they were
        2    "expected"; is that fair to say?
        3         A.     Well, he wrote that -- well, in this
        4    deposition he provided, he said "expected," but I
        5    don't remember the language being so strong from --
        6    from me or from any FBI officials.
        7         Q.     I want to direct your sentence to the next
        8    page -- sentence.       He says, "I also learned in
        9    these meetings that there were rumors" of a
       10    hack-and-leak -- "that a hack-and-leak operation
       11    would involve Hunter Biden," right, you see that?
       12         A.     Yes.
       13         Q.     Do you remember -- what's he referring to
       14    there, to your recollection?
       15         A.     So from my recollection, the social media
       16    companies, who include Twitter, would regularly ask
       17    us, "Hey, what kind of content do you think the
       18    nation state actors, the Russians would post," and
       19    then they would provide examples.           Like, "Would it
       20    be X" or "Would it be Y" or "Would it be Z."              And
       21    then we -- I and then the other FBI officials would
       22    say, "We believe that the Russians will take
       23    advantage of any hot-button issue."
       24                And we -- I do not remember us
       25    specifically saying "Hunter Biden" in any meeting



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        1    with Twitter.
        2         Q.     Mr. Roth says in his sworn declaration he
        3    learned in these meetings, and I take it we are
        4    still talking about these weekly meetings, USG
        5    industry CISA-organized meetings, he learned in
        6    these meetings that there were rumors that a
        7    hack-and-leak operation would involve Hunter Biden,
        8    right?     That's what he said in his sworn
        9    declaration, right?
       10         A.     Yes, I see that's what he said.
       11         Q.     And do you have any reason to doubt the
       12    veracity of what he said?
       13         A.     I would interpret what he said
       14    differently.
       15         Q.     How would you interpret what he said when
       16    he says he learned that there were rumors that a
       17    hack-and-leak operation would involve Hunter Biden?
       18    What do you think he's referring to?
       19                MR. SUR:    Objection; calls for
       20    speculation.
       21                THE WITNESS:     Yeah, in my estimation, we
       22    never discussed Hunter Biden specifically with
       23    Twitter.       And so the way I read that is that there
       24    are hack-and-leak operations, and then at the
       25    time -- at the time I believe he flagged one of the



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        1    potential current events that were happening ahead
        2    of the elections.
        3         Q.     BY MR. SAUER:      You believe that he, Yoel
        4    Roth, flagged Hunter Biden in one of these
        5    meetings?
        6         A.     No.   I believe -- I don't believe he
        7    flagged it during one of the meetings.             I just
        8    think that -- so I don't know.           I cannot read his
        9    mind, but my assessment is because I don't remember
       10    discussing Hunter Biden at any of the meetings with
       11    Twitter, that we didn't discuss it.
       12                So this would have been something that he
       13    would have just thought of as a hot-button issue on
       14    his own that happened in October.
       15         Q.     So you think that where he says he learned
       16    in the meetings that there were rumors that a
       17    hack-and-leak operation would involve Hunter Biden,
       18    you don't recall any basis for that actually being
       19    discussed in the meetings?
       20         A.     That is correct.
       21         Q.     Paragraph 12 goes on to say that "On
       22    October 14, 2020, I learned from media coverage
       23    that the New York Post had posted the articles to
       24    its website that morning containing emails and
       25    other personal materials found on a hard drive that



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        1    allegedly belonged to Hunter Biden."            Do you see
        2    that?
        3         A.     Yes, Paragraph 12.
        4         Q.     There's that reference to those articles
        5    that you referred to earlier, correct?
        6         A.     Correct.
        7         Q.     It's your testimony that those news
        8    articles are the first time that you became aware
        9    that -- you became aware of Hunter Biden's laptop
       10    in any connection?
       11         A.     Yes.   I don't remember if it was a New
       12    York Post article or if it was another media
       13    outlet, but it was on multiple media outlets, and I
       14    can't remember which article I read.
       15         Q.     And before that day, October 14th, 2020,
       16    were you aware -- were you aware of Hunter Biden --
       17    had anyone ever mentioned Hunter Biden's laptop to
       18    you?
       19         A.     No.
       20         Q.     The next paragraph Mr. Roth says, "The
       21    site integrity team preliminarily determined that
       22    the information in the articles," the New York Post
       23    articles, "could have been obtained through
       24    hacking, based on, among other things, the type of
       25    material, the sourcing described in the articles,



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        1    and the information security community's initial
        2    reactions."      Do you see that?
        3         A.     Yes.
        4         Q.     Do you know what he's referring to in that
        5    last bit where he talks about the information
        6    security community's initial reactions?
        7                MR. SUR:    Objection; calls for
        8    speculation.
        9                THE WITNESS:     I do not know.
       10         Q.     BY MR. SAUER:      Do you know -- what is the
       11    information security community?
       12         A.     So I don't know specifically that
       13    reference that he's using, but there is -- you
       14    know, I -- my assessment is that he's talking
       15    broadly about the American information security
       16    industry, but I don't know.
       17         Q.     Does that include the FBI?
       18                MR. SUR:    Objection; calls for
       19    speculation.
       20                THE WITNESS:     So I don't know.       However, I
       21    do not believe that involves the FBI.             To me when I
       22    read that, this is the first time I am reading that
       23    paragraph, it sounds like he is talking about the
       24    private sector information security community.
       25         Q.     BY MR. SAUER:      He goes on to talk about



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        1    how Twitter ended up essentially blocking the
        2    articles from being shared on its platform and
        3    suspending the New York Post's Twitter accounts.
        4                Generally without getting into the
        5    details, are you generally familiar with the fact
        6    that Twitter took steps to reduce the distribution
        7    of the Hunter Biden laptop story on its platforms?
        8         A.     Yeah, yeah, the extent of the information
        9    that I learned was exactly what you just described.
       10    I have no other knowledge of that.
       11         Q.     Okay.   So right here at Paragraph 17 he
       12    says, "The Site Integrity Team blocked Twitter
       13    users from sharing links over Twitter to the
       14    applicable New York Post articles and prevented
       15    users who had previously sent tweets sharing those
       16    articles from sending new tweets until they deleted
       17    the tweets violating Twitter's policies," correct?
       18         A.     So that is what he wrote, but I am not
       19    aware of the specific details of the actions that
       20    they took until you just read that paragraph to me
       21    today.
       22         Q.     Do you know if anyone at Twitter reached
       23    out to anyone at the FBI to check or verify
       24    anything about the Hunter Biden story?
       25         A.     I am not aware of any communications



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        1    between Yoel Roth and the FBI about this topic.
        2         Q.     Are you aware of any communications
        3    between anyone at Twitter and anyone in the federal
        4    government about the decision to suppress content
        5    relating to the Hunter Biden laptop story once the
        6    story had broken?
        7                MR. SUR:    Objection; lacks foundation.
        8                THE WITNESS:     I am not aware of Mr. Roth's
        9    discussions with any other federal agency.              As I
       10    mentioned, I am not aware of any discussions with
       11    any FBI employees about this topic as well.              But I
       12    only know who I know.        So I don't -- he may have
       13    had these conversations, but I was not aware of it.
       14         Q.     BY MR. SAUER:      You mentioned Mr. Roth.
       15    How about anyone else at Twitter, did anyone else
       16    at Twitter reach out, to your knowledge, to anyone
       17    else in the federal government?
       18         A.     So I can only answer for the FBI.           To my
       19    knowledge, I am not aware of any Twitter employee
       20    reaching out to any FBI employee regarding this
       21    topic.
       22         Q.     How about Facebook, other than that
       23    meeting you referred to where an analyst asked the
       24    FBI to comment on the Hunter Biden investigation,
       25    are you aware of any communications between anyone



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        1    at Facebook and anyone at the FBI related to the
        2    Hunter Biden laptop story?
        3         A.     No.
        4         Q.     How about any other social media platform?
        5         A.     No.
        6         Q.     How about Apple or Microsoft?
        7         A.     No.
        8                MR. SUR:     Counselor, if you have concluded
        9    with this exhibit, may I ask or may I suggest that
       10    a break would be appropriate?          We have been in this
       11    session now I think for an hour and eight minutes.
       12                MR. SAUER:     I'm okay with that.       Want to
       13    go off the record?
       14                THE VIDEOGRAPHER:       Off the record at 3:43
       15    p.m.
       16                   (Whereupon a recess was taken.)
       17                THE VIDEOGRAPHER:       Back on the record at
       18    3:57 p.m.
       19         Q.     BY MR. SAUER:      Do you know Peter Strzok,
       20    S-t-r-z-o-k?
       21         A.     Yes, I do.
       22         Q.     How do you know him?
       23         A.     I know that he was a deputy assistant
       24    director at counterintelligence division, and the
       25    capacity that I worked with him in was related to



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        1    the Yahoo! hack, which also occurred in 2016, and
        2    our office did the investigation for that hack.
        3         Q.     What was the Yahoo! hack?
        4         A.     At the time the Yahoo! hack was the
        5    largest data breach in American history where 500
        6    million Yahoo! users' credentials were stolen by
        7    Russian intelligence service officers.
        8         Q.     You worked on that investigation with
        9    Peter Strzok?
       10         A.     So I oversaw the squad that ran the
       11    investigation.      So I oversaw the investigation.
       12    Mr. Strzok consulted with me because he was
       13    concerned -- he had counterintelligence concerns
       14    about the investigation.
       15         Q.     What were those concerns generally
       16    speaking?      I am not going to ask specifics.
       17         A.     Broadly speaking, U.S. government
       18    employees, U.S. current government employees as
       19    well as other government officials had used Yahoo!
       20    and still use Yahoo!, and he was concerned that
       21    Russian intelligence officers would be able to
       22    figure out the personal Yahoo! -- Yahoo! and AOL
       23    accounts for current and former U.S. government
       24    officials.
       25         Q.     Did you have multiple interactions with



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        1    him during the course of that investigation?
        2         A.     I would say regular -- like maybe once a
        3    month maybe.
        4         Q.     Over the course of how long?
        5         A.     Over the course of about six months.
        6         Q.     Would these be phone calls or did you have
        7    any in-person meetings with him?
        8         A.     These would be via classified Skype or
        9    Link, if you're familiar with that Microsoft
       10    product.
       11         Q.     So they'd be videoconferences that were in
       12    a secured link?
       13         A.     They would be voice conference -- there
       14    was video capability, but the FBI culture is not to
       15    use videoconference.
       16         Q.     Have you talked to him since then?
       17         A.     I have not.     Yeah, I only spoke to him in
       18    the context of the Yahoo! investigation.             So -- and
       19    he was interested, you know, in the extent of the
       20    damage, you know, like our intrusion investigation
       21    to determine if we could tell if Russians were
       22    aware which accounts belong to which U.S.
       23    government officials.
       24         Q.     These interactions with him occurred in
       25    the year 2016; is that right?



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        1         A.     Yeah, I would say spanning between 2015 to
        2    2016.
        3         Q.     So this would have been the same time
        4    frame that he's involved in the Crossfire Hurricane
        5    investigation?
        6         A.     I do not know when that investigation took
        7    place exactly, but I would say that I had
        8    engagement with him in the late 2015 to early 2016
        9    time frame.
       10         Q.     Do you know anyone associated with the
       11    Crossfire Hurricane investigation?
       12         A.     No, not to my knowledge.
       13         Q.     How about Lisa Page?
       14         A.     So Lisa Page is an attorney, an FBI
       15    attorney for the Office of General Counsel.              She
       16    was on many of the calls.         I don't know if she was
       17    on all of the calls, but she was on at least some
       18    of the, like, once-a-month calls that I had with
       19    Mr. Strzok.
       20         Q.     She was on -- so you would talk to
       21    Mr. Strzok and Ms. Page at the same time as the
       22    Yahoo! investigation?
       23         A.     Yes.   My understanding was that she was --
       24    I don't know this for a fact, but my understanding
       25    was that she was a senior attorney in the



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        1    counterintelligence division and that she would be
        2    privy to the types -- she would need to know about
        3    the types of communications I had with Mr. Strzok
        4    about the extent of the damage.
        5         Q.     Did you have any communications with
        6    Ms. Page after 2016?
        7         A.     Yes, but not while she was working at the
        8    FBI.
        9         Q.     What communications were those?
       10         A.     She currently works for a private sector
       11    company, and I have regular communications focused
       12    on cybersecurity matters with her current company.
       13         Q.     What company is that?
       14         A.     The company is Twilio.
       15         Q.     And you know her now and communicate with
       16    her in her work at Twilio?
       17         A.     Yes.
       18         Q.     And do those communications relate to
       19    hacking?
       20         A.     Cybersecurity in general and potential
       21    hacks against the Twilio platform.
       22         Q.     Have you communicated with her recently?
       23                MR. SUR:    Objection; vague.
       24                THE WITNESS:     I would say the last time I
       25    communicated with her was maybe -- I can't recall



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        1    exactly, but maybe two months ago.
        2         Q.     BY MR. SAUER:      How often do you talk to
        3    her?
        4         A.     Maybe on a quarterly basis.
        5         Q.     Have you ever discussed with Mr. Strzok or
        6    Ms. Page the prospect of a Russian hack-and-leak
        7    operation?
        8         A.     No.    The only investigation that I ever
        9    discussed with either of them was the Yahoo! hack
       10    investigation.
       11         Q.     Do you know anyone else associated with
       12    the Crossfire Hurricane investigation?
       13         A.     No.    But I do want to add during those
       14    meetings that I had with Mr. Strzok, Mr. Jim Baker,
       15    who was our general counsel at the time, would
       16    attend some of those meetings as well.
       17         Q.     Mr. Baker would attend those meetings that
       18    you had with Mr. Strzok about the Yahoo! hack?
       19         A.     Yes.    At least some of them.
       20         Q.     Who else would attend those meetings?
       21         A.     Just the three of them.         It would be the
       22    three of them getting a status update from -- they
       23    would be getting a case update from me.
       24         Q.     A case update about the Yahoo!
       25    investigation?



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        1         A.     Correct.
        2         Q.     Did you ever discuss any hacking issues
        3    with Mr. Baker?
        4         A.     Not outside the context of the Yahoo!
        5    hack.
        6         Q.     Do you believe that Russian
        7    malign-foreign-influence activities affected the
        8    outcome of the 2016 presidential election?
        9                MR. SUR:    Objection; calls for
       10    speculation.
       11                THE WITNESS:     Quite honestly, I don't know
       12    if they had an impact.
       13         Q.     BY MR. SAUER:      In your thesis you talk
       14    about how -- I think on multiple occasions you talk
       15    about how that election was decided by about 78,000
       16    votes in three key swing states; is that right?
       17         A.     That is correct.      So I wanted to highlight
       18    that there was the potential, but unfortunately if
       19    you read my thesis, I could not conclus -- I could
       20    not conclusively say whether it had an impact, but
       21    it potentially could have an impact.
       22         Q.     So your thesis was -- the conclusion was
       23    that potentially Russian malign-foreign-influence
       24    operations may have affected the 2016 presidential
       25    election?



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        1         A.     Yes, but that we would never know
        2    conclusively.
        3         Q.     I think you also cited statistics
        4    suggesting that something like 59 percent of all
        5    Facebook users had been reached by Russian malign
        6    social media content during that election cycle?
        7         A.     Yeah, I cited that from one of the
        8    reports, that is correct.
        9                MR. SAUER:     I am going to show you a new
       10    exhibit.       Just give me a second to email it to your
       11    counsel.
       12                    (Reporter marked Exhibit No. 9 for
       13                      identification.)
       14         Q.     BY MR. SAUER:      Can you see this exhibit
       15    that I have labeled Exhibit 9 that I posted on the
       16    screen share?
       17         A.     I see it on there, but I don't see it on
       18    counsel's iPad yet.
       19         Q.     Just as a preliminary matter, you see that
       20    it is dated October 28, 2020, and it states, "Tech
       21    CEOs Senate Testimony Transcript October 28"?
       22         A.     Yes, I see that.
       23         Q.     And you refer in your thesis to the fact
       24    that tech CEOs were called in to testify before
       25    Congress shortly before the 2020 election, correct?



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        1         A.     Yes, correct.
        2         Q.     I think you refer to this as one of the
        3    instances where pressure was put on them to take
        4    more aggressive action to -- to keep malign foreign
        5    influence off their platforms, right?
        6         A.     Yes, that was my assessment.
        7                MR. SAUER:     I am going to jump ahead to
        8    Page 56 of this document.         So Indraneel, I don't
        9    know if you're following in the PDF.
       10                MR. SUR:    It hasn't arrived yet,
       11    unfortunately.
       12         Q.     BY MR. SAUER:      If you look here at Page
       13    56, there's a question posed to Mark Zuckerberg who
       14    is the CEO of Meta or Facebook, correct?
       15         A.     Can you highlight the question that you
       16    want me to look at?
       17         Q.     I actually -- probably just look at what
       18    he said.       I don't think the question is that
       19    relevant.
       20                MR. SUR:    If I may interrupt, the email
       21    just arrived, so we'll have it on the screen in a
       22    few seconds here.
       23                MR. SAUER:     Great.
       24         Q.     Can you see there --
       25                MR. SUR:    May I ask which page?



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        1                MR. SAUER:     Page 56 of the PDF.
        2         Q.     Do you see there in the middle of the page
        3    it indicates that Mark Zuckerberg is the one
        4    speaking?
        5         A.     I see that at 2:34:35.
        6         Q.     That's the place.       Thanks.    In that answer
        7    he says along the lines of what you mentioned
        8    earlier, "one of the threats the FBI has alerted
        9    our companies and the public to, was the
       10    possibility of a hack and leak operation in the
       11    days or weeks leading up to this election,"
       12    correct?
       13         A.     Yeah, I am reading that.
       14         Q.     Okay.   And then Mr. Zuckerberg went on to
       15    say, "So you had both the public testimony from the
       16    FBI and in private meetings alerts that were given
       17    to at least our company, I assume the others as
       18    well, that suggested that we be on high alert and
       19    sensitivity that if a trove of documents appeared
       20    that we should view that with suspicion, that it
       21    might be part of a foreign manipulation attempt."
       22    Do you see that?
       23         A.     I do see that.
       24         Q.     This testimony is occurring two weeks
       25    after the Hunter Biden stories in the New York



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        1    Post, correct, October 28, 2020?
        2         A.     Yes, that's what it was dated.
        3         Q.     Okay.   Let's go through his account there.
        4    Mr. Zuckerberg said "one of the threats that the
        5    FBI has alerted our companies and the public to,
        6    was the possibility of a hack-and-leak operations
        7    in the days" and/"or weeks leading up to this
        8    election," correct?
        9         A.     Correct.
       10         Q.     Yeah, and he says the FBI has alerted the
       11    public to that.       Do you recall the FBI doing so?
       12         A.     I believe that we much more frequently
       13    than in the 2016 context -- context, "we," meaning
       14    the FBI and CISA, would put out advisories about
       15    concerns that we had about the elections.              These
       16    would be public advisories.
       17         Q.     Would these include public advisories
       18    saying there might be a hack-and-leak operation
       19    shortly before the 2020 election?
       20         A.     I can't recollect.       I know there are
       21    public advisories, and if you show them to me I
       22    would be able to read them and refresh my memory,
       23    but I don't recollect at this time.
       24         Q.     Do you know whether such public advisories
       25    were made, as Mr. Zuckerberg says, relating to



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        1    quote, the possibility of a hack-and-leak operation
        2    in the days or weeks leading up to this election?
        3         A.     I can't remember any specific advisories
        4    at this time.
        5         Q.     Were you involved in preparing public
        6    advisories?
        7         A.     No.
        8         Q.     Did you ever suggest that the FBI should
        9    issue a public advisory about a hack-and-leak
       10    operation?
       11         A.     No, not specifically.        What I did tell our
       12    cyber intelligence section was that we, the FBI,
       13    should try to be as transparent as possible ahead
       14    of the 2020 elections.
       15         Q.     In the next sentence Mr. Zuckerberg says,
       16    "So you had both the public testimony from the FBI
       17    and in private meetings alerts that were given to
       18    at least our company, I assume the others as well,
       19    that suggested we be on high alert and
       20    sensitivity."      Do you see that?
       21         A.     Yes, I see that statement.
       22         Q.     So do you know what he's referring to
       23    about the public testimony from the FBI?
       24                MR. SUR:    Objection; calls for
       25    speculation.



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        1                THE WITNESS:     I don't know about the
        2    public testimony.       I could assume it is from
        3    direct -- the director, Christopher Wray, or
        4    another senior official, but I am not aware of what
        5    testimony he's talking about.
        6         Q.     BY MR. SAUER:      How about "in private
        7    meetings alerts that were given to at least our
        8    company, I assume others as well," do you know what
        9    private meetings alerts he's referring to?
       10                MR. SUR:    Objection; calls for
       11    speculation.
       12                THE WITNESS:     I don't know what private
       13    meetings he meant, but as I've discussed with you,
       14    I've hosted several meetings with Facebook ahead of
       15    the 2020 elections.        So these may be these private
       16    meetings.
       17         Q.     BY MR. SAUER:      You hosted several private
       18    meetings with Facebook where the concern about a
       19    hack-and-leak operation was raised?
       20         A.     Yes.
       21         Q.     Are you aware of any other private
       22    meetings between the FBI and Facebook?
       23         A.     I am not aware of any besides the ones
       24    I've hosted.
       25         Q.     Is it possible that others occurred that



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        1    didn't involve you?
        2         A.     That is possible, but I am not aware of
        3    them.
        4         Q.     And he describes those private meetings
        5    alerts as "suggested that we be on high alert and
        6    sensitivity that if a trove of documents appeared
        7    that we should view that with suspicion, that it
        8    might be part of a foreign manipulation attempt."
        9    Do you see that?
       10         A.     Yes.
       11         Q.     Was that discussed in your alerts, that if
       12    a trove of documents appear, that that should be
       13    something viewed with suspicion?
       14         A.     I don't remember that exact framing of our
       15    discussions with them.
       16         Q.     Do you remember saying -- I know you
       17    talked about, "Hey, there could be another
       18    hack-and-leak operation."         Do you remember saying
       19    something like "If you get a whole bunch of
       20    documents that suddenly appear, that's something
       21    that should be viewed with suspicion"?
       22         A.     No, I don't remember any of us saying
       23    that.     I think -- I don't remember this for a fact,
       24    but I think what we would have said is we would
       25    have asked "If you receive a whole -- if you see a



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        1    trove of potentially hacked materials, what are you
        2    going to do about it?"         Which would be our way of
        3    asking them how their terms of service would handle
        4    a situation like that.
        5         Q.     Do you recall asking them how they would
        6    handle it if potentially hacked materials appeared,
        7    correct?
        8         A.     Yes.
        9         Q.     And what did they say?
       10         A.     So I believe that they would describe what
       11    their policies were for validating the information
       12    and handling the information in general.             I can't
       13    remember what specific company said exactly what,
       14    but in general, I remember the social media
       15    companies having terms-of-service policies to
       16    handle this sort of situation.
       17         Q.     Which social media companies did you ask
       18    that of, Twitter, Facebook and YouTube?
       19         A.     Yes, I believe we would have asked them
       20    that, but I can't recollect when that would have
       21    happened, but I believe we would have asked them
       22    that at some point.
       23         Q.     So you would have cautioned them that
       24    there might be a hack-and-leak operation and ask
       25    them how their terms of service would address it,



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        1    fair to say?
        2         A.     That is fair to say.
        3         Q.     Okay.   You specifically asked them how
        4    their terms of service would address it?             You
        5    wanted to know whether and to what extent the
        6    material would be taken down or blocked if it
        7    appeared, correct?
        8         A.     Yeah, we wanted to know what actions they
        9    would take to include the two actions that you
       10    described.
       11         Q.     Why did you want to know that?          Why did
       12    you want to know whether or not the various social
       13    media platforms would take down hacked materials if
       14    they appeared?
       15         A.     So this is just my personal opinion about
       16    why we wanted to know was because I think
       17    internally we wanted to know what actions that we
       18    would need to take, whether we would need to take a
       19    legal remedy such as like a seizure warrant or
       20    something.     I can't ever recollect discussing this
       21    because it never came up.
       22                In my assessment, why I would be concerned
       23    was -- if there's hacked materials and they stay
       24    up, then -- and if the companies do not believe
       25    they violate their terms of service, what actions



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        1    could the FBI take.
        2                So I mean, these are all hypotheticals.
        3         Q.     And the idea would be the FBI could pursue
        4    a seizure warrant to have -- basically take -- take
        5    the materials down through legal process if the
        6    social media platforms wouldn't do it themselves?
        7         A.     So that was one hypothetical solution.
        8         Q.     And that was one that occurred to you?
        9         A.     Yeah, that was one that occurred to me.              I
       10    don't remember discussing it with anyone else.
       11         Q.     The -- who -- who of the FBI asked them,
       12    the social media platforms, "How are your hacking
       13    materials policies addressing this?"
       14         A.     I would say we take turns asking.           When I
       15    say "we," I mean either myself or the members of
       16    the Foreign Influence Task Force I already
       17    mentioned to you.       Wherever it seemed like an
       18    organic follow-up question, we would ask "How would
       19    your terms of service apply to this situation or
       20    that situation?"       Just so that we would understand
       21    what types of actions that they would take.
       22         Q.     I take it their answers would inform
       23    potential further actions by the FBI, such as
       24    potentially pursuing a seizure warrant to remove
       25    hacked materials?



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        1         A.     I think we were -- we were dealing in
        2    hypotheticals, so there was no concrete plan.               In
        3    my mind, that would be one way to take down
        4    information.
        5                And the reason I say that is because in a
        6    different situation where the FBI became aware of
        7    Iranian fake news sites, we did pursue a seizure
        8    warrant and got an IIFA/FARA-based search or
        9    seizure warrant to take down over 70 Iranian fake
       10    news websites.
       11         Q.     Did they take down hacked materials?
       12         A.     I don't know the specifics.         I oversaw the
       13    squad that executed the seizure warrant.
       14         Q.     Do you recall, did Ms. Dehmlow ever
       15    discuss what actions might be taken if there was a
       16    hack-and-leak operation before the 2020 election to
       17    take down materials?
       18         A.     No.
       19         Q.     Do you recall discussing that with the
       20    FBI -- or anyone at the FBI, that is if we knew
       21    there was a hack-and-leak operation, how do we get
       22    the materials down?
       23                MR. SUR:    Objection; calls for
       24    deliberative process privilege of internal
       25    discussions within the FBI.



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        1                THE WITNESS:     Yeah, we did have internal
        2    discussions.      As I mentioned, the only -- one of
        3    the solutions was potentially to see if we have
        4    enough probable cause to execute a seizure warrant.
        5                Another solution was to ask the company to
        6    consensually take down the information even if it
        7    did not violate their terms of service.             So those
        8    were the two hypothetical solutions that I
        9    remember.
       10         Q.     BY MR. SAUER:      Right.    That second
       11    hypothetical solution about asking them to take it
       12    down even if it didn't violate their terms of
       13    service, did you pursue that with respect to the
       14    Hunter Biden laptop story?
       15         A.     No.
       16         Q.     Did you contact any social media platforms
       17    and say, "Hey, can you take this stuff down because
       18    it looks hacked"?
       19         A.     No.
       20         Q.     When the social media platforms answer,
       21    did Facebook and Twitter indicate that they would
       22    remove hacked materials under their terms of
       23    service when you asked them?
       24         A.     From my recollection, I think both of
       25    those companies said that they would remove hacked



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        1    materials if they were able to validate that it was
        2    hacked.     I don't remember -- I don't remember the
        3    qualifiers that they used to determine whether they
        4    were hacked materials or not.
        5         Q.     When did they tell you that, roughly?
        6         A.     I can't remember, but it was ahead of the
        7    2020 elections.
        8         Q.     That would have been before that Hunter
        9    Biden laptop story broke?
       10         A.     I don't remember.       It would have been --
       11    it might have happened in October.            It could have
       12    happened before.       I think it may have happened
       13    before then, but I can't remember.
       14         Q.     They made that representation to you, both
       15    Twitter and Facebook, in these FITF Facebook
       16    preelection meetings -- sorry.           Let me rephrase
       17    that.
       18                Did they make that representation to you
       19    in the FITF-organized meetings with Facebook and
       20    then Twitter?
       21         A.     I can't remember the specifics, but
       22    generally speaking, the companies provided us with
       23    overview of what their terms of service was and how
       24    hacked materials could be categorized within these
       25    terms of service and then just the types of actions



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        1    that they would potentially take.
        2         Q.     I think you said a minute ago that the
        3    kinds of actions they would potentially take
        4    included taking the materials down?
        5         A.     Yeah, that was -- that was a potential
        6    action.     I think it had to reach a -- you know, it
        7    had -- they had an internal validation process and
        8    it had to clear internal hurdles before they would
        9    take that certain type of content down.             But I
       10    can't remember the specifics of what the internal
       11    hurdles were.
       12         Q.     That information was conveyed to a group
       13    of FBI officials that had included you and
       14    Ms. Dehmlow as well as Mr. Olson, Mr. Cone,
       15    Ms. Chock and Mr. Giannini?
       16         A.     Yeah, I don't know if all of these people
       17    were present during any of those meetings where
       18    they were discussed, but in general, I would say
       19    that at least some subset of them would have been
       20    present.
       21         Q.     Okay.   And then did you guys relay that
       22    information to anyone, "Here's what Facebook and
       23    Twitter will do if they find and receive hacked
       24    materials on their platforms"?
       25         A.     So I did not relay it to anyone else,



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        1    outside of my internal discussions with them.               I do
        2    not know if they relayed it to anyone else.
        3         Q.     Do you know -- you don't know if it was
        4    relayed to anyone else by anyone?
        5         A.     I do not.     I am only privy to what I
        6    discussed with them.
        7         Q.     Do you remember anything else -- turning
        8    back to the screen share, and you see
        9    Mr. Zuckerberg's testimony, he talks about the
       10    information received "suggested that we be on high
       11    alert and sensitivity."         Is that a fair
       12    characterization of the communications from the FBI
       13    to Facebook that you were involved in?
       14         A.     So I would not have framed it like
       15    Mr. Zuckerberg did.        As I mentioned, his language
       16    seems stronger than how I would have framed it, or
       17    how I believe FBI officials would have framed it.
       18                We would have said something to the effect
       19    of "We are concerned about potential hack-and-leak
       20    operations ahead of the 2020 elections and that one
       21    of the methods that we would use is to disseminate
       22    the hacked materials on the social media
       23    platforms."
       24                So I don't know if I -- we would have said
       25    that we should view that with suspicion.             Instead



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        1    of "foreign manipulation attempt," I would have
        2    said "foreign malign influence."
        3         Q.     Did you, in fact, tell them that if a
        4    trove of document appears, it should be viewed with
        5    suspicion?
        6         A.     No.   That's what I'm saying, is I don't
        7    think we would have said that language.
        8         Q.     Did you tell him that if a trove of
        9    documents appeared, it may be part of a foreign
       10    manipulation attempt?
       11         A.     I would -- we would not have used that
       12    language.      As I said before, what we would have
       13    told them and what I recollect saying is that we --
       14    that I was concerned about a potential
       15    hack-and-leak operation, especially right before
       16    the election, and that one of the channels for
       17    disseminating that hacked information would be via
       18    the social media platforms.
       19         Q.     Do you know Timothy Thibault or Thibault,
       20    T-h-i-b-a-u-l-t?
       21                      (Discussion off the record.)
       22                THE WITNESS:     I am not familiar with that
       23    name.
       24         Q.     BY MR. SAUER:      Do you know Brian Auten,
       25    A-u-t-e-n?



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        1         A.     Yes.   I believe he was a supervisory
        2    intelligence analyst in the -- in the special
        3    counsel's office.       That's how I know him.
        4         Q.     So he's an FBI official?
        5         A.     Yeah, he is supervisory intelligence
        6    analyst, I believe is his title.
        7         Q.     What's a supervisory intelligence analyst?
        8         A.     A frontline supervisor position for
        9    analysts within the FBI.
       10         Q.     Do you know -- how do you know him?
       11         A.     I only know him in passing because I
       12    have -- I had engaged with the special counsel's
       13    office -- specifically Robert Mueller's special
       14    counsel's office.       I know there are multiple
       15    special counsel's office, but specifically Robert
       16    Mueller's.     I believe that he was part of the
       17    special counsel's office team.
       18         Q.     What was your engagement with Robert
       19    Mueller's special counsel's office?
       20         A.     So as I previously mentioned, we -- my
       21    squad ran one of the investigations associated with
       22    the hack of the DNC in 2016.          The special counsel's
       23    office consolidated all investigations that had to
       24    do with any Russian interference in the 2016
       25    elections.     So we, specifically my squad and I, had



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        1    to hand off that portion of the investigation to
        2    the special counsel's office.
        3         Q.     So they took over your investigation of
        4    the DNC hack?
        5         A.     Yes, they took over that portion of the
        6    investigation.
        7         Q.     What other portions were there?
        8         A.     The other portion is the continuing active
        9    investigation against the individuals for our
       10    computer intrusions besides the 2016 DNC hack.
       11         Q.     So it involves the same malign actors but
       12    not the same hacking attempt?
       13         A.     Correct, yeah, that is a correct
       14    assessment.
       15                MR. SAUER:     I am going to email you and
       16    your counsel a set of new exhibits.
       17                Indraneel, can you tell me when you get
       18    these?
       19                MR. SUR:    I will.
       20                MR. SAUER:     Has that email come yet?
       21                MR. SUR:    Still waiting.
       22                MR. SAUER:     While you're waiting, I am
       23    going to go ahead and share, just to keep things
       24    moving, Exhibit 13 with you.
       25                   (Reporter marked Exhibit No. 13 for



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        1                     identification.)
        2         Q.     BY MR. SAUER:      Do you see that now, sir,
        3    Exhibit 13?
        4         A.     Yeah, I see the title is "Audio
        5    Transcription of Recording in re: State of
        6    Missouri, et al., versus Joseph R. Biden, Junior."
        7         Q.     It goes on "File:       FBI on Election-There's
        8    Going to be a Lot of Noise," right?
        9                MR. SUR:     I'm sorry, we still don't have
       10    the email.     So is this Exhibit 13?
       11                MR. SAUER:     Yeah.    We may have the court
       12    reporter make a transcription of his publicly
       13    record -- public interviews, the audio of his
       14    public interviews.
       15         Q.     So Mr. -- Agent Chan, on October 28, 2020,
       16    did you give an interview to someone called Tom
       17    Field relating to the upcoming election?
       18         A.     I believe I did.       I give a lot of
       19    interviews, but yeah, I am looking at the
       20    transcript of this one.         Tom Field is associated
       21    with a media outlet called ISMG.
       22         Q.     Interestingly the date of this is October
       23    28, 2020, the same date as the tech CEOs
       24    congressional testimony we just talked about,
       25    right?



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        1         A.     Okay.   Yeah, I didn't remember when the
        2    tech CEOs testified, but you have refreshed my
        3    memory.
        4         Q.     This would be less than a week before the
        5    October 2020 election, right?
        6         A.     Yes.
        7         Q.     And you told him there's going to be a lot
        8    of noise.      Do you know what you were talking about
        9    there?
       10         A.     Can you tell me what page you're on?
       11         Q.     That title "FBI on Election-There's Going
       12    to be a Lot of Noise," did you say that to him?
       13         A.     What line is that?       What page?
       14         Q.     I am highlighting it.        It is the all caps
       15    title on Lines 10 and 11 on Page 1, "FBI on
       16    Election-There's Going to be a Lot of Noise."
       17         A.     So I don't recall making that title.
       18         Q.     Do you remember making that statement,
       19    that there's going to be a lot of noise?
       20         A.     Is it in the transcript anywhere?
       21         Q.     I am just asking do you remember that?
       22         A.     I don't remember it.       That's why I'm
       23    asking if it is in the transcript anywhere.
       24         Q.     Fair enough.     If you don't remember, you
       25    don't remember.



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        1         A.     Yeah.
        2         Q.     Go down to Page 9 of the transcript,
        3    there's a paragraph here starting on Line 3 at Page
        4    9 where you say, "So I am going to ask -- I'm
        5    probably going to say the same thing that I said
        6    the last time, but if you see something, say
        7    something; right?       So if you are seeing any types
        8    of cyber attacks against your companies, let your
        9    local FBI office know; right?"
       10         A.     Yes, I see that.
       11         Q.     Is that -- do you recall saying that to
       12    Tom Field?
       13         A.     I don't specifically remember, but it
       14    appears to be a transcript of an interview I had
       15    with him.      That seems like something I would say.
       16         Q.     And then you go to say, "If you're seeing
       17    something related to the election on your social
       18    media platform, all of them have portals where you
       19    can report that sort of information," correct?
       20         A.     Yes.
       21         Q.     So there you are encouraging the listeners
       22    of the podcast if they see something inaccurate on
       23    their social media platform, to go and report it
       24    directly to the social media platform, correct?
       25         A.     That is correct.



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        1         Q.     Then you go on to say, "They are being
        2    very aggressive in trying to take down any
        3    disinformation or misinformation," right?
        4         A.     Yes.
        5         Q.     And I take it the context here you're
        6    talking about disinformation and misinformation
        7    related to the election, right?
        8         A.     Yes.
        9         Q.     So you're encouraging the listeners of
       10    this podcast to report to social media companies
       11    any election-related speech that they see that they
       12    think is disinformation or misinformation so that
       13    the social media platforms can take it down, right?
       14         A.     So that the social media platforms can
       15    review it and determine if it violates their terms
       16    of service.
       17         Q.     And it was your view at that time that the
       18    social media platforms were being, quote, very
       19    aggressive in trying to take down any
       20    disinformation or misinformation relating to
       21    elections, right?
       22         A.     Yes.
       23         Q.     And you go on to say "if they see anything
       24    on election day or before election day, you can
       25    always report it to FBI.gov or justice.gov, and you



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        1    know, there's a little button you can click to
        2    submit a complaint," correct?
        3         A.     Yes.
        4         Q.     So you're encouraging the listeners to
        5    report any disinformation or misinformation to
        6    FBI.gov or justice.gov, correct?
        7         A.     That is correct.
        8         Q.     FBI.gov is the FBI's website, right?
        9         A.     Yes.
       10         Q.     Justice.gov, is that the Department of
       11    Justice's website?
       12         A.     That is correct.
       13         Q.     Federal Department of Justice, right?
       14         A.     Yes, the U.S. Department of Justice.
       15         Q.     What happens to disinformation complaints
       16    that get submitted to FBI.gov relating to election
       17    misinformation or disinformation?
       18         A.     I believe that all these tips are reviewed
       19    by an intake analyst, either an FBI employee or an
       20    FBI contractor.       And then I believe they have
       21    certain levels of predication where they would keep
       22    sending it higher -- higher up the chain.
       23         Q.     What do you mean by certain levels of
       24    predication where they would keep sending you
       25    higher up the chain?



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        1         A.     So I would say if something is a vague
        2    threat about -- for example, a common type of
        3    threat is "I hate Politician X."            And then someone
        4    sends in a complaint like "I believe this user
        5    wants to kill Politician X," but you know, what
        6    that person said was a vague statement with no
        7    threat in it.
        8                So that is a -- that is like one type of
        9    example.       So in that situation, that type of
       10    complaint would be filed away.
       11                In another situation, for example, a
       12    threat-to-life situation, "I want to kill
       13    Politician X, and I know where he lives."
       14                So then that would be they would -- the
       15    analyst would try to figure out what field office
       16    does Politician X reside in and then forward that
       17    information to the appropriate field office to
       18    conduct an initial assessment.
       19                So that would be an example of how we
       20    would handle two types of complaints.
       21         Q.     Those are complaints about threats.           In
       22    this context you're referring to disinformation and
       23    misinformation, correct?
       24         A.     Yes.
       25         Q.     So if somebody reports not a threat to a



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        1    public official but a disinformation -- someone
        2    reports disinformation or misinformation on social
        3    media to FBI.gov, how would that be processed?
        4         A.     So that would also be reviewed by the
        5    analyst, and then it would be the same situation.
        6                So if I can give you a hypothetical
        7    example, "Political Party A vote on Tuesday.
        8    Political party B vote on Wednesday."             So if
        9    someone submitted something like that, that would
       10    probably be flagged.        Like an analyst would say,
       11    "Oh, this is involving the time, place or manner of
       12    an actual election.        I need to send this up to
       13    someone who is more authoritative that can review
       14    this information."
       15                So they may actually kick this out to the
       16    field office depending on if they can figure out
       17    where the account holder is from.
       18         Q.     What if -- okay.      So if that -- sorry, say
       19    it again.      They send it out to the field office?
       20         A.     In this hypothetical situation, let's say
       21    a social media account user somehow identifies
       22    themselves as being from the state of Missouri, you
       23    know, like it is a handle.          And then they say or
       24    they portray themselves as being from St. Louis,
       25    Missouri and they say, "If you are affiliated with



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        1    Party A, you vote on Tuesday.          If you're affiliated
        2    with Party B, you vote on Wednesday."
        3                So that information would be reviewed by
        4    the analyst that does the intake, and that would
        5    likely revolve -- result in a lead being sent to
        6    the St. Louis field office to work with the U.S.
        7    Attorney's Office to see if, you know, they should
        8    serve a subpoena to get the additional information
        9    or if it, you know, if it rises to the level of an
       10    election requirement.
       11         Q.     Does the FBI also report -- does anyone on
       12    that chain in the FBI report it to the social media
       13    platform to be assessed under their
       14    content-modulation policies?
       15         A.     So that would only -- that -- that type of
       16    process that I'm aware of only happened during the
       17    election command post that I mentioned to you
       18    previously.
       19         Q.     So if somebody went to FBI.gov and said,
       20    "Hey, you know, someone's saying in Missouri
       21    Republicans vote on Tuesday, Democrats vote on
       22    Wednesday," that would be referred to the Missouri
       23    field office for an investigation?
       24         A.     Yeah, that would be referred to the St.
       25    Louis field office for investigation.             And then



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        1    like, the investigators in the St. Louis office
        2    along with the U.S. Attorney's Office would
        3    determine if that is something that should be sent
        4    to FBI headquarters.        And then that would be sent
        5    to FBI headquarters and there would be an FBI OGC
        6    attorney as well as a DOJ public integrity attorney
        7    along with, you know, another FBI official.              They
        8    would all look at it and say, "Yes, we believe that
        9    this should be sent to FBI San Francisco."
       10                So by the time it's reached us, there's
       11    already been what I will characterize as an FBI
       12    headquarter stamp of approval.
       13         Q.     And the FBI San Francisco then would relay
       14    those to social media platforms as you've discussed
       15    earlier --
       16         A.     Yes.
       17         Q.     -- in your testimony, correct?
       18         A.     Yes, correct.
       19         Q.     And there the idea is that the social
       20    media platforms will assess those in connection
       21    with their terms of service, assess them for
       22    compliance with their terms of service, correct?
       23         A.     That is correct.
       24         Q.     What if somebody posts something like
       25    "Voting by mail is unreliable, and your ballot



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        1    probably won't get there so don't vote that way"?
        2                MR. SUR:    Objection; incomplete
        3    hypothetical.
        4         Q.     BY MR. SAUER:      What would happen to a
        5    report like that to FBI.gov?
        6         A.     So I think that would also be reviewed by
        7    the attorneys.      When I mean "the attorneys," I mean
        8    specifically the FBI headquarters attorney as well
        9    as a DOJ public integrity attorney, and they will
       10    determine whether it will get sent to San Francisco
       11    or not.
       12         Q.     And would something like that, in your
       13    experience, get sent to San Francisco?
       14         A.     In my experience, something vague like
       15    that would not get sent to San Francisco.
       16         Q.     How about something specific like "Voting
       17    by mail is rife with fraud and it involves tons of
       18    people cheating and therefore, it should be
       19    abolished," how about that?
       20                MR. SUR:    Objection; hypothetical.
       21                THE WITNESS:     Honestly, I have never saw
       22    that type of complaint being submitted to us
       23    through the command post.         As I mentioned to you
       24    previously, it was, from my recollection, time,
       25    place or manner disinformation or misinformation.



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        1         Q.     BY MR. SAUER:      What do you remember
        2    specifically about those being referred to you?
        3    What kind of things do you remember specifically --
        4         A.     The example I gave you where if you are
        5    registered with Party A, you vote on Tuesday; if
        6    you're registered with Party B, you vote on
        7    Wednesday.     So that was a frequent one.
        8                Another one was, depending on what state,
        9    some states where it has to arrive at the polling
       10    location on election day, whereas other states
       11    allow it -- the ballot -- the mail-in ballot to be
       12    postmarked by election day.          So I remember I would
       13    look, and I was like, "Oh, like, huh, I don't
       14    understand this one."        And then maybe I would
       15    follow up with the field office and they say,
       16    "Elvis, in our state it has to arrive at the
       17    polling location by a certain date."
       18                So that would be the type of different
       19    information that we would provide to the social
       20    media companies.
       21         Q.     And I take it you testified earlier that
       22    posting the wrong information about that, the date
       23    that your ballot has to arrive, is criminal on --
       24    in the government's view; is that right?
       25         A.     It is a potential violation of federal



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        1    election laws.
        2         Q.     What federal election statute does it
        3    violate?
        4                MR. SUR:    Objection; calls for legal
        5    conclusion.
        6                THE WITNESS:     I am not an attorney, but
        7    you hear me saying the words "time, place or manner
        8    disinformation."       So just based on my law
        9    enforcement training where the attorneys tell me
       10    that anything that is related to false information
       11    about the time, place or manner of an election or
       12    about the voting process, that that is a potential
       13    election crime.
       14         Q.     BY MR. SAUER:      You refer to the social
       15    media platforms being very aggressive in trying to
       16    take down any disinformation or misinformation.
       17    What were you talking about?
       18         A.     I was saying in contrast to 2016 when they
       19    took no actions.
       20         Q.     What did they do to be very aggressive?
       21         A.     So as I mentioned to you previously, they
       22    developed technologies to be able to detect
       23    foreign-malign-influence operations, and they also
       24    add just their policies to be able to handle
       25    foreign-malign-influence operations.



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        1                MR. SAUER:     I am going to show you Exhibit
        2    15.    Indraneel, I sent you an email.
        3                MR. SUR:    Okay.    15.
        4                   (Reporter marked Exhibit No. 15 for
        5                     identification.)
        6          Q.    BY MR. SAUER:      Agent Chan, can you see
        7    this on the screen share?
        8          A.    Yes, the title "Preparing for Retaliatory
        9    Attacks from Russia."
       10          Q.    On June 29, 2022?
       11          A.    Yes.
       12          Q.    Again, this is a court reporter-created
       13    transcript of your podcast or interview with Anna
       14    Delaney on that date.        Do you see that?
       15          A.    Yeah, on June 29th, 2022.
       16          Q.    Who is Anna Delaney?
       17          A.    She is now the -- now that I am looking at
       18    the transcript, she is a reporter with ISMG.
       19          Q.    Do you remember giving this interview last
       20    June?
       21          A.    I believe this was in the context of the
       22    RSA conference, but I can't remember specifically.
       23                As I mentioned, I did a lot of public
       24    speaking, and I get interviewed frequently by media
       25    outlets.



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        1         Q.     Going down to Page 8 of this transcript,
        2    starting on Page 7 you see that Ms. Delaney asks
        3    about the midterm elections 2022 and she asked you
        4    what the FBI is doing to prepare, right?             "What's
        5    the FBI doing to prepare," you see that at the
        6    bottom of the page?
        7         A.     Okay.   I see that question.
        8         Q.     And you respond to that, "The good news
        9    is, post 2020, we've never stopped," right?
       10         A.     Yes, I said that.
       11         Q.     You say that you were -- "As soon as
       12    November 3rd happened in 2020, we just pretty much
       13    rolled into preparing for 2022," correct?
       14         A.     Yes.
       15         Q.     And you say -- a little lower down you
       16    say, "From FBI San Francisco's standpoint, we are
       17    also really engaged with the technology companies
       18    out here and represented here at the RSA
       19    conference."       There you go.
       20         A.     Yeah, so yeah, it was at the RSA
       21    conference.
       22         Q.     "So making sure that, you know, any
       23    vulnerabilities we think advanced persistent
       24    threats would be using" and so forth, right?
       25         A.     Yes.



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        1         Q.     I think what you're talking about there is
        2    potential hacking attempts and working with the
        3    social media companies to defend against hacking
        4    attempts; is that right?
        5         A.     I wouldn't say because I mention
        6    technology companies, against all types of
        7    companies, even non-social media companies.
        8         Q.     Got you.    You say, "We're also working
        9    with the social media companies to make sure that
       10    any foreign disinformation that's coming out that,
       11    you know, like, if we can identify them, we can
       12    share that information with them so they can knock
       13    down accounts, knock down disinformation content,"
       14    correct?
       15         A.     Yes, I said that.
       16         Q.     And do you agree with that statement, that
       17    you were working with social media companies in the
       18    2022 election cycle to make sure that foreign
       19    disinformation would be identified and you could
       20    share that information with them so they can knock
       21    down accounts and knock down disinformation
       22    content?
       23         A.     Yeah, so looking at that sentence and from
       24    my recollection, the FBI part of it is the
       25    information sharing portion, and then the social



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        1    media company portion is to decide if it violates
        2    their terms of service.         And if it does violate
        3    their terms of service, one of the actions they
        4    could take is to knock down accounts or to knock
        5    down content.
        6         Q.     And the purpose of the information sharing
        7    is the get them to assess it; and potentially if it
        8    violates the terms of service, to knock down
        9    content, correct, right?
       10                MR. SUR:    Objection; mischaracterizes the
       11    document, calls for speculation.
       12                THE WITNESS:     Our -- my purpose was to
       13    share information with them so that they could
       14    protect their platforms as they deemed appropriate.
       15    I did highlight two of the actions that they could
       16    potentially take, which include knocking down
       17    accounts or knocking down misinformation content.
       18         Q.     BY MR. SAUER:      And you're aware that they
       19    do both of those things in response to your reports
       20    of disinformation on their platforms?
       21         A.     I am aware of that because of the feedback
       22    they have provided me on several occasions.
       23         Q.     Do you know Jen Easterly?
       24         A.     I do know Jen Easterly.
       25         Q.     How do you know Jen Easterly?



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        1         A.     I actually met her at this conference for
        2    the first time.
        3         Q.     Had you been aware of her before that?
        4         A.     I was aware when she was nominated and
        5    confirmed for her role as the director of CISA.
        6         Q.     Were you aware that she's a Star Trek fan?
        7         A.     I am aware that she's a Star Trek fan.
        8         Q.     How do you know that?
        9         A.     From reading news articles about her,
       10    specifically at the Black Hat and DEF CON
       11    conference which had happened previously.
       12         Q.     What is the Black Hat and DEF CON
       13    conference?
       14         A.     That -- those are two conferences which
       15    are back to back in Las Vegas sometime in the
       16    summer, and they are -- next to the RSA
       17    conference -- the leading cybersecurity conferences
       18    in the American industry.
       19         Q.     Did you have any -- have you had any
       20    communications with Jen Easterly about
       21    disinformation on social media?
       22         A.     No, I have not had -- the one time I met
       23    her in person was at the RSA conference.             And
       24    primarily what I recollect us talking about was
       25    that I wanted her to have additional CISA



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        1    personnel, specifically to embed with FBI San
        2    Francisco cyber task force.
        3         Q.     Did she agree to that?
        4         A.     She said that she would work on it.
        5         Q.     Did it happen?
        6         A.     I was told by the CISA official, the
        7    regional CISA officials that I work with that there
        8    are funded bullets to hire people, but they are --
        9    I believe they are still going through the hiring
       10    process.
       11         Q.     Who are the regional CISA officials that
       12    you work with?
       13         A.     There are two regional CISA officials that
       14    I work with.      One individual is based in
       15    Sacramento.      His name is Mario Garcia.         And then
       16    the second individual is based in the Los Angeles
       17    area.     His name is Joseph Oregon.
       18         Q.     How do you -- what do you do to work with
       19    them?
       20         A.     So primarily when I work with them, it is
       21    on cybersecurity matters.         So we coordinate
       22    regularly with CISA on any cyber attacks against
       23    critical infrastructure companies.
       24                For example, a ransomware attack or a data
       25    breach against an energy company or -- yeah,



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        1    specifically an example I can give you is the
        2    ransomware attack against the Colonial Pipeline
        3    Company.
        4         Q.     Do you work with CISA on any
        5    disinformation issues?
        6         A.     I do not work with those two individuals
        7    on disinformation issues.
        8         Q.     Do you work with anyone else at CISA on
        9    any disinformation issues?
       10         A.     Only as we have discussed in the CISA-led
       11    USG-industry working group meetings.
       12         Q.     I am going to open up Exhibit 6 again and
       13    share it with you.        These are the amended
       14    interrogatory responses.         Can you see them on the
       15    screen share now?
       16         A.     Which exhibit is that?
       17                MR. SUR:    This is 6.     This is on the first
       18    page.
       19                THE WITNESS:     Okay.
       20         Q.     BY MR. SAUER:      I am going to scroll back
       21    down to Page 38.
       22         A.     Okay.
       23         Q.     We talked a bit about this USG-industry
       24    meeting that's identified here, correct?
       25         A.     You're on the first bullet on that page,



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        1    is that what you're referring to?
        2         Q.     The first bullet on Page 37.
        3         A.     Okay.   "A recurring meeting usually
        4    entitled USG-industry meeting," yes.
        5         Q.     Okay.   We talked about -- I think we
        6    talked about the participants in this meeting in
        7    detail, and the CISA participants you mentioned are
        8    Matt Masterson and Brian Scully?
        9         A.     That's correct.
       10         Q.     How about DHS's Office of Intelligence and
       11    Analysis, who participated from there?
       12         A.     I can't remember.       I believe whoever was
       13    the head of that organization -- someone from I&A
       14    showed up, but I don't remember the names.
       15         Q.     What does I&A do?       What is it?
       16         A.     So from my knowledge of I&A, they are the
       17    intelligence community agency, or at least one of
       18    them, within the Department of Homeland Security.
       19    What I -- the products that I have seen from them
       20    are all-source products, which means I have seen
       21    them take, you know, intelligence reports from
       22    different government agencies and provide more
       23    strategic overview types of products.             That is what
       24    I have personally seen from I&A.
       25         Q.     Let's scroll down to this next bullet



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        1    point where it talks about a CISA cybersecurity
        2    advisory meeting.       Do you know anything about those
        3    meetings between CISA and social media platforms?
        4          A.    I have never heard of the CISA
        5    cybersecurity advisory committee meetings.              I have
        6    never heard of that organization within CISA.
        7          Q.    How about "ASD-HKS Tech Policy Paper
        8    Series," do you know anything about those meetings?
        9          A.    No, I don't even know what the acronym
       10    stands for.
       11          Q.    How about "DHS/Microsoft Disinformation
       12    Follow Up"?
       13          A.    I have no idea what that is in reference
       14    to.
       15          Q.    Let's scroll down to the CISA response.
       16    See there's an additional response under the
       17    heading here "CISA"; do you see that?
       18          A.    Yes.
       19          Q.    And that's CISA, C-I-S-A, in all caps?
       20          A.    Yes.
       21          Q.    It looks like it is identical to the
       22    bullet point above that we discussed.
       23                There's a reference here in the second
       24    bullet point to "A recurring meeting to prepare for
       25    and set the agenda for the USG-industry meeting,



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        1    and participants have generally included CISA and
        2    Facebook."     Do you see that?
        3         A.     I see that.
        4         Q.     That is a meeting to prepare for the
        5    meeting that we talked about in detail; is that
        6    right?
        7         A.     I see that.
        8         Q.     Were you aware that there were such
        9    meetings?
       10         A.     I was not aware that there was a separate
       11    preparatory meeting between CISA and Facebook ahead
       12    of the broader USG-industry meeting.            I was only
       13    aware of the USG side, you know, where they would
       14    convene us to ask us, specifically the FBI and the
       15    other federal components, what agenda topics we
       16    wanted to talk about.
       17         Q.     So you participated in your own
       18    preparatory meeting with CISA that did not involve
       19    social media platforms, correct?
       20         A.     That is correct.
       21         Q.     During the course of those preparatory
       22    meetings, CISA would ask the FBI, you, Elvis Chan,
       23    what topics it might be useful to discuss at the
       24    USG-industry meeting?
       25         A.     Yes.   They would ask the FBI, and I was a



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        1    part of the contingent.
        2         Q.     Who was on that contingent?
        3         A.     It would typically be Laura -- the
        4    individuals that I mentioned from FITF, Laura
        5    Dehmlow, Luke Giannini, Bill Cone, Brady Olson,
        6    Judy Chock.      It would not necessarily be all of
        7    them, but it would be a subset of them or at least
        8    one of them.      Sometimes the FBI would not have any
        9    agenda items for the CISA-hosted meetings.
       10         Q.     Anyone else from FBI participate in those
       11    meetings?
       12         A.     I can't recollect anyone else.
       13         Q.     How about who from CISA would participate
       14    in those meetings?
       15         A.     As I mentioned to you, the two people I
       16    remember are Mr. Masterson and Mr. Scully.
       17         Q.     The same two who had run the USG-industry
       18    meeting, the big meeting, right?
       19         A.     They were the two ranking officials that I
       20    was aware of from CISA.
       21         Q.     Would those preparatory meetings be just
       22    Mr. Scully and Mr. Masterson and FBI, or would
       23    other agencies be involved with them?
       24         A.     From my recollection, the ODNI, I&A, they
       25    would be involved in them as well.            So we may have



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        1    the preparatory call or we may just have a
        2    coordination email.        I remember both of those
        3    methods happening.
        4         Q.     In either the email or the preparatory
        5    call, did anyone ever discuss raising hack-and-leak
        6    operations or the risk of hack-and-leak operations
        7    in a USG-industry meeting?
        8                MR. SUR:    Objection; falls within the
        9    deliberative process privilege for interagency
       10    discussions and recommendations.
       11                THE WITNESS:     Yeah, I don't recollect that
       12    being a specific topic of discussion.
       13                In my recollection, or in my opinion, this
       14    would be just a general topic of continued
       15    interest.
       16         Q.     BY MR. SAUER:      What else was discussed in
       17    those preparatory meetings, to your recollection?
       18                MR. SUR:    Objection; deliberative process
       19    privilege covers interagency advice and
       20    recommendations before a decision is made.              So I am
       21    going to -- you can respond if you can without
       22    describing the specifics of any proposals or
       23    recommendations.
       24                THE WITNESS:     All I can remember are the
       25    actual agenda items.        So as I mentioned to you



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        1    previously, CISA would talk about state, county,
        2    local election processes and infrastructure and
        3    cybersecurity.
        4                ODNI, when they spoke, substantively would
        5    discuss an unclassified description or overview of
        6    potential nation-state threats.
        7                And then the FBI would discuss any
        8    unclassified information or concerns that we had
        9    related to malign-foreign-influence disinformation
       10    campaigns.
       11         Q.     BY MR. SAUER:      Would that include the kind
       12    of strategic and tactical information you testified
       13    about earlier?
       14         A.     No.   It would be a very condensed or, I'm
       15    sorry, more general version of strategic
       16    information that we would share with the specific
       17    companies, and we would never share tactical
       18    information at the CISA-hosted meetings.
       19         Q.     That would only be on the kind of one
       20    or -- sort of one-on-one meeting, not really
       21    one-on-one, but FBI meeting with a specific social
       22    media platform, correct?
       23         A.     Yes, that is -- that is correct.           And the
       24    reason for that is because we would be providing
       25    law enforcement sensitive information in some



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        1    instances to the companies.
        2         Q.     Next bullet point refers to a CISA
        3    Cybersecurity Advisory Committee meetings on
        4    certain dates in 2021 and 2022.             Do you know what
        5    those meetings are about?
        6         A.     I do not.
        7         Q.     Below that, "CISA CSAC, protecting
        8    critical infrastructure from misinformation and
        9    disinformation subcommittee meetings"?
       10         A.     I have no idea what those are.
       11         Q.     How about this next bullet point,
       12    "Meetings convened by the Election Infrastructure
       13    Subsector Government Coordinating Council
       14    (EIS-GCC)," do you know what the EIS-GCC is?
       15         A.     I do not know what that organization is.
       16         Q.     How about the Election Infrastructure
       17    Subsector Government Coordinating Council Joint MDM
       18    Working Group?
       19         A.     I do not know what that is.
       20         Q.     Do you know what the Joint MDM Working
       21    Group is?
       22         A.     I do not know what that is.
       23         Q.     Slipping back, it had to be recurring
       24    USG-industry meetings, I can't remember if you said
       25    this earlier, these continued throughout 2022,



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        1    correct?
        2         A.     Yeah, they are continuing.
        3         Q.     And they are planned to continue through
        4    2024, right?
        5         A.     I don't know that for a fact, but I would
        6    assume so.
        7         Q.     And disinformation concerns are discussed
        8    at these meetings on a regular basis?
        9         A.     I would say from the companies -- so as I
       10    mentioned to you previously, the federal agencies
       11    discuss the topics that they discuss, and then the
       12    social media companies, they -- they provide an
       13    overview of the content, which is what I would
       14    categorize the disinformation as.
       15                For example, CISA would talk about the
       16    state election process and different states have
       17    different dates for primaries, and, you know, the
       18    ODNI would provide threat actor -- nation-state
       19    threat actor updates, and then the FBI would
       20    provide a broad overview of what we were seeing
       21    from, like, Russian and state-sponsored actors.
       22         Q.     And then the social media platforms, would
       23    they report on what sorts of disinformation they
       24    were seeing on posts on their platforms?
       25         A.     Yes, that is correct.        And from my



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        1    recollection, this primarily came from the three
        2    social media companies, Google, Facebook and
        3    Twitter.
        4         Q.     So in these USG-industry meetings, Google,
        5    Facebook and Twitter would report on what sorts of
        6    election-related disinformation they are seeing on
        7    their platforms?
        8         A.     I would say they would discuss what broad
        9    types of disinformation they received, whether it
       10    was election related or not.          And the example I
       11    want to flag for you is from my thesis where, for
       12    example, you saw like the postings about like Black
       13    Lives Matters or about 2nd Amendment rights, they
       14    would -- they would highlight the current topics
       15    that they saw the Russians were either amplifying
       16    information about or sowing disinformation about.
       17         Q.     And would you take anything -- let me ask
       18    you this:      If they provided that information, would
       19    there be a back-and-forth with the FBI or another
       20    federal agency about how that jibes with the
       21    information the FBI was seeing in its
       22    investigations?
       23         A.     We would not discuss that during the
       24    CISA-hosted USG-industry meetings.
       25         Q.     Would you take what the social media



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        1    platforms had reported, that information, and take
        2    further action based on that generally?
        3         A.     In general -- in general what the social
        4    media companies provided at the CISA-industry USG
        5    working group meetings was just broad, strategic
        6    trends that they were seeing.          So there was no
        7    actionable information from there.
        8                The actionable information shared with the
        9    FBI was one-on-one from the companies with FBI San
       10    Francisco either during the FITF meetings or
       11    outside of the FITF meetings just during the
       12    regular course of work.
       13                MR. SAUER:     Why don't we go off the
       14    record.
       15                THE VIDEOGRAPHER:       Off the record at 5:04
       16    p.m.
       17                   (Whereupon a recess was taken.)
       18                THE VIDEOGRAPHER:       We are back on the
       19    record at 5:15 p.m.
       20                   (Reporter marked Exhibit No. 2 for
       21                     identification.)
       22         Q.     BY MR. SAUER:      Mr. Chan, I am going to
       23    show you Exhibit 2, which I emailed to your counsel
       24    earlier today.      This is the read-through version on
       25    the screen of the LinkedIn emails.



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        1                Mr. Chan, have you actually reviewed this
        2    collection of emails?
        3         A.     I have not.
        4         Q.     Okay.    Are you aware that you're on 121
        5    pages of emails with the social media platform
        6    LinkedIn setting up meetings in 2020 and 2022, as
        7    you talked about today?
        8         A.     So I don't know the exact number, but I
        9    believe that sounds about right.
       10         Q.     And that would be -- what you did with
       11    LinkedIn, you also would have done with about six
       12    or seven other social media platforms as well,
       13    scheduling monthly -- sorry, quarterly then monthly
       14    then weekly meetings that led up to the elections,
       15    right?
       16         A.     That's correct, they would be similar
       17    types of correspondence.
       18         Q.     On the first page here you talk about
       19    "Increased cadence touch point before election"
       20    when you're sending an invite to them.             Why did you
       21    increase cadence before the election?
       22         A.     This was actually at the company's
       23    request.       We said, "Do you think a quarterly
       24    cadence is enough or should we go to a more
       25    frequent cadence?"        I would say -- I can't remember



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        1    which companies, but I would characterize most of
        2    the companies as wanting at least a weekly cadence
        3    just to have a touch point on the calendar in case
        4    they or we wanted to talk about something.
        5         Q.     Typically did you actually meet with them
        6    on a weekly basis in the two months or so before
        7    the election?
        8         A.     I think generally we had a meeting, but
        9    like I don't remember, like, the substance.              You
       10    know, if during this message thread I may have, you
       11    know, put an agenda item or two, then we would have
       12    had substance.      But I can't remember just from
       13    looking at these emails.         I would have documented
       14    any substantive meetings that we had with LinkedIn
       15    or any of the other companies.
       16         Q.     When you say "documented," did you write
       17    up a report of it?
       18         A.     Yes.   So the system of record for the FBI
       19    is called Sentinel.        It is a file management
       20    system, and I would have and I did document every
       21    substantive interaction that I had with social
       22    media companies, or actually any organization, for
       23    that matter.
       24         Q.     Would you have written Sentinel reports
       25    for all of the FITF social media platform meetings?



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        1         A.     Based on my recollection, I wrote almost
        2    all of them, but maybe not all of them.             And the
        3    reason I say that is malign foreign influence is
        4    just one of the issues that I have to deal with in
        5    my role.       The majority of my role is dealing with
        6    cyber investigations.        So maybe on a couple of
        7    occasions I may have asked someone else to write
        8    the meeting summary on my behalf.
        9         Q.     But there would be a Sentinel report for
       10    every meeting that you had with a social media
       11    platform that discussed this information and/or
       12    malign foreign influence?
       13         A.     Yes.   There would be -- in FBI parlance,
       14    they are called electronic communications, ECs.
       15         Q.     So ECs exist that record your
       16    contemporaneous recollection of all of these
       17    meetings we have been talking about?
       18         A.     That is correct.
       19         Q.     And do those ECs exist with respect to the
       20    USG-industry meetings?
       21         A.     I would say that I documented all the
       22    meetings that I attended at those CISA USG-industry
       23    meetings.
       24         Q.     So you -- would you have documented what
       25    discussions that were related to foreign hacking



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        1    attempts?
        2           A.   I think in general, my practice for that
        3    was I would take the agenda from the email provided
        4    by CISA, and then I would cut and paste that or I
        5    would just retype that into my meeting summary.
        6           Q.   So your meeting summary would just be the
        7    agenda that you were given?
        8           A.   Yes.    I would say in the vast majority, if
        9    not all, of the communications.             And the reason for
       10    that is because they were just very broad overviews
       11    or, you know, trends that were being discussed.
       12           Q.   Whereas you'd have more specific detail in
       13    your ECs with respect to the FITF social media
       14    platform bilateral sync meetings?
       15         A.     That is correct.      I believe the reason for
       16    that is because the companies felt more comfortable
       17    or more forthcoming in a bilateral setting as
       18    opposed to in a group setting because these
       19    companies are all competitors at the end of the
       20    day.    That is just my personal opinion.
       21           Q.   On the third page of this document, where
       22    are those -- by the way, where are those ECs
       23    stored, or they are all housed by the FBI?
       24         A.     Yeah.   As I mentioned, they are in an
       25    application called Sentinel.          They would be



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        1    stored -- so as I mentioned, Sentinel is a case
        2    file management system.         So they would be
        3    documented to the appropriate case file.
        4         Q.     And then -- and those reports still exist,
        5    correct?
        6         A.     Yes.
        7         Q.     The third page of this document there's a
        8    response to you from someone at LinkedIn whose
        9    identity is redacted, but they are identified as
       10    "Director of Threat Prevention LinkedIn Trust &
       11    Safety."
       12                     (Discussion off the record.)
       13         Q.     BY MR. SAUER:      Third page of this
       14    document, now do you see it on the screen share?
       15    You are communicating with --
       16         A.     Is it the one -- is it the one dated
       17    September 29, 2020, 11:17 a.m.?
       18         Q.     Yes.   No, 11:39 a.m., third page of the
       19    document.      Just if you look at the -- can you see
       20    it on the screen share?         I am highlighting it.
       21         A.     Yeah, it looks like the email was sent
       22    Tuesday, September 29, 2020, 11:17 a.m.
       23         Q.     Yeah, yeah, you're right.         I'm sorry.     I
       24    was looking at the top.
       25                My only question is:       Is this consistent



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        1    with what you testified earlier, that in these
        2    bilateral meetings between FITF and the social
        3    media platforms, the people that you would be
        4    meeting with would be trust and safety and site
        5    integrity people, correct?
        6         A.     Yes.   Yeah, it would be typically director
        7    level and then their direct reports and, you know,
        8    people from the organizations.
        9         Q.     I am going to jump ahead to this page
       10    which is labeled LinkedIn 86.            It is the seventh
       11    page of the PDF.       Here in your email you see dated
       12    Tuesday, November 17, 2020, which is right after
       13    the 2020 election, you tell LinkedIn folks that you
       14    want to have a, quote, Post Election Hot Wash.
       15    What on earth does that mean, "hot wash"?
       16                MR. SUR:    I am sorry to interrupt.         Can I
       17    ask for you to repeat what page you are on?              This
       18    is a large document.
       19                MR. SAUER:     Seventh page of the PDF.
       20                MR. SUR:    Seventh page of the PDF.
       21                MR. SAUER:     It's got Bates No. 86 at the
       22    bottom.
       23                MR. SUR:    Okay.    Okay.      Mr. Chan, if you
       24    want to read the document.
       25                THE WITNESS:     Is this a document dated



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        1    Tuesday, November 17th, 2020, 12:16:09 p.m.?
        2         Q.     BY MR. SAUER:      Yeah.   And you say --
        3         A.     If you could bear with me while I read my
        4    email.
        5         Q.     Sure.
        6         A.     Oh, yeah, so you said the second agenda
        7    item was "Post Election Hot Wash"?
        8         Q.     Yeah.    What does that mean?
        9         A.     So sorry.     That is a law enforcement term.
       10    A hot wash -- so after the FBI -- when we conduct a
       11    search operation or execute an arrest operation,
       12    after we're done with the operation, then we have a
       13    meeting as closely thereafter the operation as we
       14    can to discuss what we thought went well, what we
       15    thought needs improvement, what we think needs to
       16    change for next time.
       17                So a hot wash is similar to an
       18    after-action meeting.
       19         Q.     Did you discuss with all the social media
       20    platforms what went well, what didn't go well and
       21    what we need to do differently next time?
       22         A.     Yes.    From my recollection, we had hot
       23    wash meetings with all of the social media
       24    companies that I previously listed.
       25         Q.     And what did -- what did you all think



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        1    went well and think didn't go well?
        2         A.     So based on my recollection, this is
        3    specifically during the election command post that
        4    this hot wash occurred.         So after the election
        5    command post.      So my recollection was the hot wash
        6    was specifically about the election command post.
        7                And for that context, what the companies
        8    said worked well was that -- I don't know if I
        9    mentioned this yet, but we used two separate
       10    communication channels to communicate with the
       11    social media companies at the election command
       12    post.     One was called Signal -- I don't know if
       13    you're familiar with that communication
       14    application.      It's an encrypted chat app.
       15                And then the second method is via the
       16    Teleporter application, which I referenced before
       17    is the FBI's secure file transfer application.
       18                So as I mentioned before, the companies
       19    liked knowing that they were getting information in
       20    realtime from the FBI and that they were getting
       21    the same information as all of the other companies
       22    on the Signal chat app.         That was one of the things
       23    I was highlighting as good.
       24                Another thing that was highlighted as good
       25    by the companies who received information from us



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        1    is we would send information about malign foreign
        2    influence to specific companies as we became aware
        3    of it, and then they would review it and determine
        4    if they needed to take action.
        5                So the companies who did receive
        6    one-to-one Teleporter information from us also
        7    liked that.
        8                So those were the two things that I
        9    remember that people liked in general.
       10         Q.     What did they not like?
       11         A.     So I think that -- so I don't remember the
       12    social media companies telling us there wasn't
       13    anything that they did not like.            What I do
       14    remember was I can't remember who, perhaps it was
       15    me, just so you're aware, for the Signal channel,
       16    it was one-way communication.          It was the FBI,
       17    specifically the FBI San Francisco command post,
       18    disseminating information to the companies.
       19                If the companies needed to relay
       20    information back to the FBI, they would contact the
       21    FBI San Francisco election command post either by
       22    telephone or by email and request a Teleporter
       23    link, and then they would share information back to
       24    us in that fashion.
       25         Q.     You think that was a cumbersome process?



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        1         A.     It was not realtime.       I mean, at the end
        2    of the day, I don't remember any specific instance
        3    where the delay caused any harm to anything, but I
        4    think what my preference would have been was for --
        5    if they needed to, to set up direct Signal channels
        6    only with the FBI so that they could get realtime
        7    information as well.
        8                But the social media companies -- or
        9    actually all of the companies who were on the
       10    receiving end, they -- I was told that they all had
       11    an internal discussion and their preference was to
       12    only use Signal for FBI broadcasts.
       13         Q.     You mentioned Signal and Teleporter as two
       14    channels of communication between the FBI and the
       15    social media companies.         Are there any others?
       16         A.     No.   So, I mean -- let me rephrase that.
       17    The only other commun- -- the only other situations
       18    where we relayed information to the companies was
       19    during those quarterly or monthly or weekly FITF
       20    meetings with the social media companies.              So that,
       21    I guess, would be a third method of relaying
       22    information.
       23         Q.     Is Signal a self-deleting app?          Is it an
       24    app where your messages disappear after they are
       25    read?



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        1         A.     So yes, in general, Signal is a
        2    self-deleting app.        But based on guidance from FBI
        3    headquarters, we had to turn that functionality off
        4    because we needed to save all of that information.
        5    So we did.        We took screen shots of all of the
        6    information on the Signal channel.            We burned it to
        7    DVDs, and then we have saved it as evidence.
        8         Q.     So all the -- all the communications on
        9    Signal between FBI and social media platforms from
       10    2022 and 2020 are saved on -- on DVDs or CDs?
       11         A.     No.    Only the information -- only the
       12    Signal information from the 2020 FBI San Francisco
       13    command post was saved.         And the reason for that
       14    was both the social media companies as well as the
       15    FBI assessed that there would not require the need
       16    for the Signal channel because we did not
       17    anticipate a large amount of information being
       18    disseminated from the FBI for the 2022 midterm
       19    elections.
       20         Q.     Did you not use Signal at all in 2022?
       21         A.     No.    It was primarily through Teleporter.
       22         Q.     You did use Teleporter for the 2022
       23    elections to report misinformation concerns to
       24    social media platforms?
       25         A.     That is correct.



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        1         Q.     And then you used both version -- or both
        2    channels in 2020?
        3         A.     That's correct.
        4         Q.     And the Teleporter communication still
        5    exists as well; is that right?
        6         A.     Yes, they currently exist.
        7         Q.     On this same page you talk about "what we
        8    need to do differently for next time."             What did
        9    you -- what did you all decide you need to do
       10    differently next time?
       11                MR. SUR:    Objection; calls for
       12    speculation.
       13                THE WITNESS:     Honestly, I wrote that down,
       14    but I don't remember any things that the companies
       15    wanted to do differently.
       16         Q.     BY MR. SAUER:      I take it one thing you did
       17    do differently was you stopped using Signal, right?
       18         A.     Well, that was for the 2022 elections only
       19    because both the companies and the FBI assessed
       20    that there would not be the same volume of
       21    information that happened in the 2020 cycle.              I
       22    believe that differentiation is, you know, between
       23    a general elections versus a midterm election.
       24                MR. SAUER:     I am going to jump ahead to
       25    the page marked LinkedIn 146.          And Indraneel, it is



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        1    the tenth page of the PDF.
        2                MR. SUR:     Tenth page of the PDF.
        3         Q.     BY MR. SAUER:      If you go up there on the
        4    ninth page, Agent Chan, you see that Tuesday, July
        5    14th, 2020, 11:02 a.m. there's an email from you to
        6    the LinkedIn team?
        7                MR. SUR:     I apologize.       I am not seeing
        8    the date.      Is the date at the bottom of the
        9    previous page?
       10                MR. SAUER:     The date's at the bottom of
       11    Page 9 if you look at the file share.
       12                THE WITNESS:     Did you say July 14, 2020,
       13    11:02 a.m.?
       14         Q.     BY MR. SAUER:      I said that.
       15         A.     Okay.
       16         Q.     If you scroll down, you are talking about
       17    having the next round of FITF bilateral meetings
       18    with LinkedIn scheduled.         Do you see that?
       19         A.     Correct.
       20         Q.     And then at the bottom you say, "Planning
       21    for U.S. elections:        FBI posture, your posture, and
       22    the information sharing" channel and "channels and
       23    methods," correct?
       24         A.     Yes.
       25         Q.     What did you mean by "FBI posture and your



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        1    posture"?
        2         A.     The FBI posture was what the FBI San
        3    Francisco command post would look like, when it
        4    would be active, who it would be staffed by.              And
        5    then the FITF personnel would describe what the FBI
        6    headquarters command post would look like.              That's
        7    what was meant by "FBI posture."
        8         Q.     This is planning --
        9         A.     And then your --
       10         Q.     Go ahead.
       11         A.     And then "Your posture," that's when we
       12    asked the companies how they expected to have
       13    personnel.
       14                Just so you're aware, I think in general,
       15    like FBI -- so FBI headquarters, they just ran 24
       16    hours a day for their command post, I believe from
       17    Friday to Tuesday.        FBI San Francisco ran from, I
       18    believe, 8:00 o'clock in the morning to perhaps
       19    10:00 o'clock at night every day except the
       20    election, when we ran until midnight.
       21                So asking about your posture would be
       22    asking the companies when they intended to have
       23    personnel on what days monitoring their platform
       24    for any threats that they saw.
       25         Q.     And what did you say about information



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        1    sharing channels and methods?
        2          A.    So I think that is when we wanted to
        3    confirm if Signal and Teleporter would be the
        4    accepted communication channels.
        5          Q.    Anything else?
        6          A.    Not that I'm aware of.
        7          Q.    Were the tech companies okay with using
        8    Signal and Teleporter?
        9          A.    So the tech companies were the ones who
       10    suggested Signal as the real -- the, quote/unquote,
       11    realtime communication platform.
       12          Q.    And the FBI continued to use Teleporter as
       13    well?
       14          A.    Yes.    Because that is our secure file
       15    transfer system, and I believe that the companies
       16    were comfortable using that system.
       17          Q.    Jump ahead to LinkedIn 163.
       18                       (Discussion off the record.)
       19                MR. SUR:     May I ask what the SES heading
       20    is?
       21                MR. SAUER:     This is the twenty-first page
       22    of the PDF.
       23          Q.    Agent Chan, you see there on the file
       24    share this is an email from you to the LinkedIn
       25    team dated October 19th, 2020?



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        1                MR. SUR:    Yes, let's just give him a
        2    moment to see it on the screen.
        3                THE WITNESS:     Yes, I see that email.
        4         Q.     BY MR. SAUER:      In this email you say
        5    "LinkedIn folks," says, "Subject:           Additional
        6    information," correct?
        7         A.     Yes.
        8         Q.     There's a gentleman here who you've copied
        9    from -- right there with the initials AF from the
       10    FBI.      Do you see that?
       11         A.     Yes, I do.
       12         Q.     Who is he?
       13         A.     He is a member of the Foreign Influence
       14    Task Force, specifically the global unit.
       15         Q.     What does "CID" stand for next to his
       16    name?
       17         A.     Criminal Investigative Division.           That's a
       18    headquarters component.
       19         Q.     You refer to someone by a nickname here
       20    and in the body of the email.          Is that the same
       21    individual with the initials AF?
       22         A.     That is correct.
       23         Q.     You say, "LinkedIn folks, please see
       24    additional information from FITF-Global Unit.               I
       25    have cc'd" that guy "in case you have any



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        1    questions.      Thanks."
        2                Do you have any idea what the initial
        3    information was you are sending here?
        4         A.     I have -- I have no idea.         I can't
        5    remember.      I sent so much -- you know, it happens
        6    so regularly, I couldn't even speculate.
        7         Q.     It says -- it looks like you cut and
        8    pasted some texts saying, "Named U.S. political
        9    party:    Republicans.      Named U.S. presidential
       10    candidate:      Biden.    The U.S. President:       Trump."
       11    Do you have any idea what that's referring to?
       12         A.     I don't.     I can provide you with my
       13    speculation.
       14         Q.     Go ahead.
       15         A.     I believe that link -- I believe that we
       16    may not have named with specificity the U.S.
       17    political party, the U.S. presidential candidate or
       18    the U.S. president, and that LinkedIn may have
       19    asked for clarifying information.
       20         Q.     About what, clarifying --
       21         A.     About the information that was shared.
       22         Q.     Here there's a reference here to
       23    "Information Sharing 5," right?
       24         A.     Yes.
       25         Q.     What's that mean?



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        1         A.     So to me that would mean I had probably
        2    shared -- I don't know this for a fact, but from my
        3    own speculation, I would believe that at some point
        4    in October I shared five separate documents with --
        5    at least five separate documents with LinkedIn, and
        6    that one of the documents was named "Information
        7    Sharing 5," and that within that document we have
        8    information about a U.S. political party, a U.S.
        9    presidential candidate and a U.S. president.
       10         Q.     What kind of information about the U.S.
       11    political party, presidential candidate, president
       12    would you have shared with LinkedIn?
       13         A.     I have -- I have no idea.         I can't
       14    recollect, unfortunately, without looking at the
       15    actual document.
       16         Q.     Would it be disinformation related?
       17         A.     My guess would be it would be
       18    disinformation related.         And because it's coming
       19    from the global unit, it would be disinformation
       20    information not related to Russia or China.
       21    Because global unit handles Iran and other
       22    countries.
       23         Q.     This would be a potentially
       24    malign-foreign-influence-type activity from
       25    countries other than Russia or China?



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        1         A.     Without seeing the actual document or
        2    remembering at this time, that would be my best
        3    assessment.
        4         Q.     Let me jump ahead to a page marked
        5    LinkedIn 168.      This is the twenty-sixth page of the
        6    PDF.      Are you with me?
        7                MR. SUR:    Yes.    Mr. Chan needs a moment to
        8    review the document.
        9                THE WITNESS:     Is this a document sent on
       10    11/19/2020 9:07:16 a.m.?
       11         Q.     BY MR. SAUER:      Correct.     In this email you
       12    say, "LinkedIn folks, heads up I'll be sending you
       13    a Teleporter link with new indicators, which are
       14    not election related."         Do you know what that
       15    means?
       16         A.     I can't remember, but I would surmise that
       17    it meant it was not related to the election that
       18    just occurred earlier in the month.
       19         Q.     And then indicators I think you testified
       20    earlier refers to URLs or specific accounts or
       21    things of that nature, right?
       22         A.     Yes.   It would be different indicia of
       23    that nature.
       24         Q.     So do you flag disinformation/
       25    misinformation from malign foreign actors to social



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        1    media platforms that doesn't relate to elections?
        2         A.     I don't know why I -- I can't remember why
        3    I flagged that as not being election related.               I
        4    think the only -- I don't recall exactly, but I
        5    would surmise that I would have flagged it as
        6    election -- like, if it was election related, I
        7    believe that all of the companies, including
        8    LinkedIn, would have acted on it quickly.
        9                You know, everyone was very tired from
       10    working very long hours and very long shifts during
       11    the election command posts.
       12                So that would be the only reason -- or
       13    that would be a reason why I believe I would have
       14    flagged it as not election related so that they
       15    wouldn't have to, you know -- like, if they were
       16    taking the day off or taking time off because it
       17    was near Thanksgiving time frame.
       18         Q.     What -- what malign-foreign-influence
       19    activities do you flag for social media companies
       20    that aren't related to elections?           What sort of
       21    content do you flag?
       22         A.     So in general, it would be -- in general,
       23    it would be from our cyber investigations, or from
       24    state-sponsored actors that were -- that we would
       25    not believe were associated with hack-and-dump



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        1    campaigns.     That would be one type of nonelection
        2    related.
        3         Q.     Are there others?
        4         A.     Off the top of my head, that's the one
        5    that's sticking out to me.          That would be a likely
        6    type of information.        It would be related to a
        7    cyber investigation that was not necessarily
        8    related to any disinformation, specifically any
        9    malign foreign influence.
       10                MR. SAUER:     I don't have any further
       11    questions.
       12                     (Discussion off the record.)
       13                       EXAMINATION BY MR. SUR
       14         Q.     Mr. Chan, you testified earlier today
       15    about the 2020 Hunter Biden laptop story in the
       16    questioning with Mr. Sauer.          Do you remember the
       17    question that came from a Facebook analyst at one
       18    of the meetings in 2020?
       19         A.     Yes.
       20         Q.     Okay.    And what was that question, to your
       21    recollection?
       22         A.     To my recollection, the question was,
       23    "What can you share about the Hunter Biden case?"
       24         Q.     And at that meeting you were there with
       25    other FBI officials; is that right?



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        1         A.     Yes, with Foreign Influence Task Force
        2    officials.
        3         Q.     Okay.   And who were they again?
        4         A.     I specifically remember Laura Dehmlow was
        5    present because she was the official who said that
        6    the FBI had no comment.
        7         Q.     Okay.   Did she --
        8                     (Discussion off the record.)
        9         Q.     BY MR. SUR:     So picking up there, did
       10    Ms. Dehmlow say anything else?
       11         A.     Not in response to the Hunter Biden
       12    question.
       13                MR. SUR:    That's all I have.
       14                MR. SAUER:     Nothing further.
       15                     (Discussion off the record.)
       16                THE VIDEOGRAPHER:       Okay.   This concludes
       17    today's deposition of Elvis Chan.           We are off the
       18    record at 5:47 p.m.
       19                   (Whereupon the proceedings were
       20                     concluded at 5:47 p.m.)
       21                               ---o0o---
       22
       23
       24
       25



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        1
                        DEPOSITION OFFICER'S CERTIFICATE
        2    STATE OF CALIFORNIA    )

        3                              ) ss.

        4    COUNTY OF SAN FRANCISCO)

        5

        6              I, Balinda Dunlap, hereby certify:

        7              I am a duly qualified Certified Shorthand

        8    Reporter in the State of California, holder of

        9    Certificate Number CSR 10710 issued by the Certified Court

       10    Reporters' Board of California and which is in full

       11    force and effect.    (Fed. R. Civ. P. 28(a)(1)).

       12              I am authorized to administer oaths or

       13    affirmations pursuant to California Code of Civil

       14    Procedure, Section 2093(b) and prior to being examined,

       15    the witness was first duly sworn by me.        (Fed. R. Civ.

       16    P. 28(a)(a)).

       17              I am not a relative or employee or attorney or

       18    counsel of any of the parties, nor am I a relative or

       19    employee of such attorney or counsel, nor am I

       20    financially interested in this action.       (Fed. R. Civ. P.

       21    28).

       22              I am the deposition officer that

       23    stenographically recorded the testimony in the foregoing

       24    deposition and the foregoing transcript is a true record

       25                                 / / /




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        1     of the testimony given by the witness.        (Fed. R. Civ. P.
        2     30(f)(1)).
        3               Before completion of the deposition, review of
        4     the transcript [     ] was [   ] was not requested.      If
        5     requested, any changes made by the deponent (and
        6     provided to the reporter) during the period allowed, are
        7     appended hereto.     (Fed. R. Civ. P. 30(e)).
        8

        9     Dated:
       10

       11                                ______________________________
       12

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        1                                 LEXITAS LEGAL

        2    December 5, 2022

        3    DEPARTMENT OF JUSTICE
             1100 L Street Northwest
        4    Washington, D.C. 29530
             INDRANEEL SUR, ESQ.
        5
             IN RE: STATE OF MISSOURI, et al. v. JOSEPH R.
        6           BIDEN, JUNIOR, et al.

        7    Dear Mr. Sur,

        8    Please find enclosed your copies of the deposition of
             ELVIS CHAN taken on November 29, 2022 in the
        9    above-referenced case. Also enclosed is the original
       10    signature page and errata sheets.
       11
       12    Please have the witness read your copy of the
       13    transcript, indicate any changes and/or corrections
       14    desired on the errata sheets, and sign the signature
       15    page before a notary public.
       16
       17    Please return the errata sheets and notarized
       18    signature page within 30 days to our office at 711 N
       19    11th Street, St. Louis, MO 63101 for filing.
       20
       21    Sincerely,
       22
       23
       24    LEXITAS LEGAL
       25



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        1                         ERRATA SHEET
             Witness Name: ELVIS CHAN
        2    Case Name: STATE OF MISSOURI, et al. v. JOSEPH R.
                        BIDEN, JUNIOR, et al.
        3    Date Taken: NOVEMBER 29, 2022
        4
        5    Page #_____       Line #_____
        6    Should read:      ____________________________________
        7    Reason for change:        ______________________________
        8
        9    Page #_____       Line #_____
       10    Should read:      ____________________________________
       11    Reason for change:        ______________________________
       12
       13    Page #_____       Line #_____
       14    Should read:      ____________________________________
       15    Reason for change:        ______________________________
       16
       17    Page #_____       Line #_____
       18    Should read:      ____________________________________
       19    Reason for change:        ______________________________
       20
       21    Page #_____       Line #_____
       22    Should read:      ____________________________________
       23    Reason for change:        ______________________________
       24
       25    Witness Signature:        ______________________________



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        1    STATE OF _______________)

        2    COUNTY OF ______________)
        3
        4    I, ELVIS CHAN, do hereby certify:
        5             That I have read the foregoing deposition;
        6             That I have made such changes in form
        7    and/or substance to the within deposition as might
        8    be necessary to render the same true and correct;
        9             That having made such changes thereon, I
       10    hereby subscribe my name to the deposition.
       11             I declare under penalty of perjury that the
       12    foregoing is true and correct.
       13             Executed this _____ day of _______________,
       14    20___, at ___________________________.
       15
       16
       17
       18                                 __________________________
       19                                 ELVIS CHAN
       20
       21                                 __________________________
       22                                 NOTARY PUBLIC
       23    My Commission Expires:
       24    135954
       25



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